      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 1 of 146




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

Steadfast 829 Holdings, Inc.                           §
      Plaintiff                                        §
                                                       §
vs.                                                    §         CIVIL ACTION NO. _______________
                                                       §
                                                       §
2017 Yale Development, LLC,                            §
Jetall Companies, Inc.,                                §
Ali Choudhri, Lloyd Kelley,                            §
Michelle Fraga, et al.                                 §
       Defendants                                      §

  PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT, MOTION TO APPOINT
        RECEIVER, PETITION FOR DECLARATORY JUDGMENT,
  APPLICATION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
             INJUNCTION, AND PERMANENT INJUNCTION


TO THE HONORABLE UNITED STATES DISTRICT COURT:

         COME NOW Plaintiff, Steadfast 829 Holdings, Inc., (referred to herein as “Steadfast”

or the “Steadfast Parties”),1 by their attorney, and file this its Original Verified Complaint,

Motion to Appoint Receiver, Petition for Declaratory Judgment, Application for Temporary




1
  Originally Steadfast Funding, LLC, and multi-state lenders Initram, Inc., RJL Realty, LLC, Eternal Investments,
LLC, Bruce Robinson, Dale Pilgeram Trustee of the Pilgeram Family Trust, Joseph C. Hibbard, Kornelia Peasley-
Brown, Salvador Ballestero, Margaret M. Serrano-Foster, Trustee of the Margaret M. Serranto-Foster Trust Dated
12/02/2005, Richard R. Melter, Trustee of the Richard R. Melter Revocable Living Trust, Liberty Trust Company,
LTD Custodian FBO Vincent Paul Mazzeo, Jr., IRA, Joe Saenz, Patrick Grosse, Trustee of the Grosse Family Trust
Dated 12/31/2004, Eric Verhaeghe, Stephen K. Zupanc, Liberty Trust Company, LTD, Custodian FBO Adam K.
Hruby IRA #TC005383, Vincent Investments, Inc. AKA Vincent Investments, Equity Trust Company Custodian FBO
Stephen (Steven) Krieger IRA, Judy M. Schnars, Joseph Dersham, Joyce Dersham, Walter Kaffenberger, Christel
Kaffenberger, Mike Berris (Berres), Jason Sun, Equity Trust Company Custodian FBO Erica Ross-Krieger IRA, Elm
401K-PSP, Laurel Mead and Edwin A. Mead, Trustees and James T. Smith, Trustee of the James T. Smith Trust, all
having assigned the property, and their claims, rights, obligations and causes of action related to Yale to Plaintiff for
the protection, sale and management of the collateral and claims (hereinafter “Steadfast Parties”). The Steadfast
Parties are residents of numerous states.

                                                           1
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 2 of 146




Restraining Order, Preliminary Injunction, and Permanent Injunction, and would state as

follows:

                                                    I.
                                              INTRODUCTION


1.       The almost unbelievably sordid facts set forth herein are already proven by

undisputed evidence. This Petition includes a case statement, followed by a detailed

timeline, linked to judicially admitted exhibits proving Defendants’ crimes, torts,

conspiracy, intent, and their federal and state felony predicate acts constituting a criminal

Enterprise. The evidence presented herewith also proves Defendants’ tortious conduct as

a matter of law and undisputed fact. 2

2.       Defendants are a multi-state group of real estate “investors”, sham parties, and

attorneys, with a reputation for fraudulent schemes and vexatious litigation.                                    They

identified a distressed multi-million-dollar construction project located at 829 Yale Street

in Houston, and devised a scheme to defraud the construction lenders whose loans were

secured by the property, including Plaintiff. Defendants are altogether referred to herein

as the “Yale Criminal Enterprise” or “Enterprise.”

3.       Steadfast Funding, LLC was the primary loan servicer for Plaintiff, through which

a multi-state group of lenders loaned Defendants six million dollars in principle, secured

by a first lien Deed of Trust. 3 Since receiving Steadfast’s loan money, no Defendant ever


2
  The validity and existence of Steadfast’s loans, the borrower Defendants’ loan defaults, and current title to the
collateral property itself have already been adjudicated. Plaintiffs’ tort claims have not, for reasons set forth below.
Numerous other investigations are also underway regarding this criminal enterprise by various investigatory bodies.
3
  Their note was for up to $8.2 Million in stage-funded construction draws; they actually funded six million before
the Criminal Enterprise defaulted the last time and abandoned the project.

                                                           2
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 3 of 146




paid a single cent for the property or to repay the loans. Steadfast has been damaged in

excess of thirteen million dollars by the Yale Criminal Enterprise.

4.     To accomplish their mutual goals, Defendants conspired to commence a pattern of

criminal and fraudulent transactions, all designed to steal the lenders’ money, as well as

title to Steadfast’s collateral at 829 Yale.       Defendants conspired to commit seventeen

distinct scams set forth below, all designed to steal the money loaned by Plaintiff and title

to Plaintiff’s collateral, on fraudulent pretenses. Defendants tortiously interfered with

Steadfast’s loans. They bribed Steadfast’s original borrower to illegally give them a deed

to Steadfast’s collateral. Their intent was for the Enterprise to tortiously interfere with title

and the valid liens held by the honest, legitimate lenders on the loans. They fraudulently

induced and extorted Steadfast into a loan workout, for more funds. They stole the lenders’

money and invested it to bribe others to participate in additional schemes against the

lenders and property.

5.     Defendants fabricated sham entities to engage in interstate transactions, the

Enterprise secretly owning or controlling all parties to all sides of these fake transactions.

They fabricated fake tax liens to try to foreclose on the legitimate lenders. They recorded

fraudulent releases of Steadfast’s liens, created sham entities to pose as bona fide

purchasers, and made illegal transfers of the collateral, all in furtherance of the Enterprise.

They created fraudulent title abstracts omitting Steadfast’s prior recorded Loan Documents

to attempt insurance fraud and use the abstracts to support frivolous pleadings in vexatious

litigation.



                                               3
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 4 of 146




6.       The attorney Defendants secretly acquired personal ownership of the borrower

entities which owned title to the collateral, caused the borrowers’ loan defaults, and,

pretending to be attorneys rather than the true parties, filed frivolous litigation to obstruct

the lenders’ foreclosures, evict the lenders, and try to quiet title in their sham entities using

perjured testimony, fabricated documents, fraudulent real property instruments, spoliated

and concealed evidence, and fake parties. 4

7.       Three Harris County Judges have already been forced to recuse, disqualified, or

forced to resign from the bench so far. 5                     It appears that the Enterprise recently put

Defendant Fraga on the republican ballot for Harris County Judge as well. She has already

been sued by the incumbent Judge Weems for apparently fraudulent ballot activity, Mr.

Kelley taking a typically aggressive and unrepentant stance on Fraga’s behalf. Defendants

are generally dodging service, and even Judge Weems had to obtain an order for substituted

service on Fraga.            See e.g. https://www.khou.com/article/news/investigations/judge-

candidates-ballots-lawsuit-harris-county/285-f40a1a50-ca7b-42fe-bb09-098e64363f31 .

8.       Defendants bribed witnesses to perjure themselves, bribed landmen, title

companies, and other attorneys to participate in their schemes; bribed witnesses to claim

ownership of fake trusts and sham companies, and pretend to be bona fide purchasers using

fraudulent instruments and perjured testimony.




4
  The Criminal Enterprise ultimately caused twenty-one cause numbers in eight courts, infra, none of which
adjudicated these clams, all of the basis of which was concealed from discovery and all of the courts.
5
  Carter was disqualified, Barnstone forced to resign, and Morris recused in another case with these Defendants, infra.
See e.g. Exhibit 90-91, 184.

                                                          4
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 5 of 146




9.       Defendants filed frivolous suits against Plaintiff to obstruct Steadfast’s foreclosure

for their loan default. Steadfast won its contractual note default counterclaims, eviction

case, and quiet title counterclaim against Defendants’ frivolous lawsuits, at the unnecessary

cost of over two million dollars in legal fees (which fees constitute damages herein as well)

caused by Defendants’ Criminal Enterprise. However, the present crimes and tort claims

were not before those courts, Defendants having fraudulently concealed key information

from discovery in those matters and concealed the true nature of the Enterprise from the

Courts. Perjury, fraudulent evidence and frivolous, vexatious litigation were all a part of

their scheme to abuse those courts as actual vehicles for their criminal Enterprise. 6

10.      It was not until two whistleblowers came forward in 2021 that the extent of

Defendants’ criminal conduct and depth of fraud were able to be proven.                                           The

whistleblower evidence submitted herewith, including extensive audiotape recordings, is

already judicially admitted, and proves the full nature of Defendants’ criminal, fraudulent

Enterprise. It also establishes Defendants’ criminal intent, conspiracy, and use of interstate

commerce to implement their fraudulent schemes and pattern of predicate acts.

11.      Defendants continue to interfere with Steadfast’s prospective sale of the collateral

to this day, filing documents based upon their fraud in the Real Property Records and the

First Court of Appeals, interfering with Steadfast’s efforts to mitigate damages and sell the

property as recently as March of 2022, necessitating urgent injunctive relief.



6
 One reason they have gotten away with so much fraud against so many people for so long is their ability to confuse
courts, create procedural messes, exert influence certain courts, and bury people and judges in paper. This time they
are finally caught red-handed, and this Court finally has the undisputed evidence before it to do justice, and avoid the
procedural quagmire this Criminal Enterprise is sure to try to create, yet again.

                                                           5
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 6 of 146




       All Exhibits referenced herein are being provided to the Court via Thumb Drive

with this Petition, as well as a paper copy for the Court’s reference to follow shortly.

                                          II.
                               JURISDICTION AND VENUE

12.    This Court has jurisdiction under 28 U.S.C. § 1332 as the claims are between citizens

of different states. The matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs.

13.    Further, this Court has subject matter jurisdiction under 18 U.S.C. 1964.

14.    This Court also has independent jurisdiction under 28 U.S.C. § 1331. Under the Smith

rule, a suit can “arise under” federal law, for purpose of conferring federal question

jurisdiction, where the plaintiff's right to relief, based on a state law cause of action, turns on

the construction or application of federal law.

15.    Venue is proper in this Court because the property that is the subject of this suit is

located in the Southern District of Texas and the majority of events occurred in the Southern

District of Texas. Many of the Defendants reside or have their principal places of business in

Harris County, Texas. Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965

and 28 U.S.C. § 1391 because Defendants are subject to personal jurisdiction in this judicial

district and reside in this district, though they may be served nationwide pursuant to 18 U.S.C.

§ 1965(b).




                                                  6
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 7 of 146




                                          III.
                                        PARTIES

Defendants:

1.     829 Yale St., LLC is a Texas limited liability company, now forfeited, and service of

process can be effectuated by and through its former manager member and registered agent

Terry Fisher, wherever he may be found (see below).

2.     Terry Fisher is an individual who resides in Iowa or Texas, and who may be served

at 601 Hayward Avenue, Ames, IA 50014-7366, 111 Tapon Avenue, Galveston, TX 77550-

3131, 12509 Business Hwy. 287, Fort Worth, TX 76179, 1708 Holly Street, Unit B, Houston,

TX 77007, or wherever he may be served.

3.     JETALL Companies, Inc., is a Texas corporation who may be served through its

registered agent Legal Registered Agent Services, Inc, 5900 Balcones Drive, Ste. 100, Austin,

TX 78731, formerly 700 Lavaca, Ste. 1401, Austin, TX 78701.

4.     Ali Choudhri is an individual who resides in Texas and who may be served at 11511

Gallant Lane, Houston, 77082; 1708 River Oaks Blvd., Houston, TX 770019, 2425 West

Loop S., Houston, Texas 77027, 2500 West Loop S. Ste. 255, Houston, TX 77027, 1001 West

Loop S., Ste. 700, Houston, TX 77027, or wherever he may be served.

5.     Brad Parker is an individual who resides in Texas who may be served at 2500 West

Loop S. Ste. 255, Houston, TX 77027, 2127 Bolsover St. Houston, TX 77005, 1911

Westheimer Road, Houston, TX 77098, or wherever he may be served.




                                             7
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 8 of 146




6.     2017 Yale Development, LLC, is a Texas limited liability company who may be

served through its registered agent, Legal Registered Agent Services, Inc. 5900 Balcones Dr.,

Ste. 100, Austin, TX 78731, formerly at 1614 Sidney Baker Street, Kerrville, TX 78028, at

5900 Balcones Dr., Ste. 100, Austin, TX 78731, at 1001 West Loop S., Ste. 700, Houston,

TX 77027.

7.     2017 Yale Development GP, LLC is a Texas limited liability company who may be

served through its registered agent, Legal Registered Agent Services, Inc. 5900 Balcones Dr.,

Ste. 100, Austin, TX 78731, formerly at 1614 Sidney Baker Street, Kerrville, TX 78028, at

5900 Balcones Dr., Ste. 100, Austin, TX 78731, at 1001 West Loop S., Ste. 700, Houston,

TX 77027.

8.     Assurance Home Warranty Group, LLC is a former Texas Limited Liability

Company, now forfeited, and may be served by serving Allen Fisher, at 2802 Morrison St,

Unit 408 Houston, TX 77007 or Terry Fisher, at 601 Hayward Avenue, Ames, IA 50014-

7366, 111 Tapon Avenue, Galveston, TX 77550-3131, 12509 Business Hwy. 287, Fort

Worth, TX 76179, 1708 Holly Street, Unit B, Houston, TX 77007, or wherever he may be

served.

9.     Cityscape Rentals, LLC is a former Texas Limited Liability Company, now forfeited,

and may be served by serving Allen Fisher, at 2802 Morrison St, Unit 408 Houston, TX 77007

or Terry Fisher, at 601 Hayward Avenue, Ames, IA 50014-7366, 111 Tapon Avenue,

Galveston, TX 77550-3131, 12509 Business Hwy. 287, Fort Worth, TX 76179, 1708 Holly

Street, Unit B, Houston, TX 77007, or wherever he may be served.



                                             8
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 9 of 146




10.    KAVAC Holding Company, LLC, is a former Texas Limited Liability Company,

now forfeited, and may be served by serving Allen Fisher, at 2802 Morrison St, Unit 408

Houston, TX 77007 or Terry Fisher, at 601 Hayward Avenue, Ames, IA 50014-7366, 111

Tapon Avenue, Galveston, TX 77550-3131, 12509 Business Hwy. 287, Fort Worth, TX

76179, 1708 Holly Street, Unit B, Houston, TX 77007, or wherever he may be served.

11.    Kavac Holdings, LLC is a former Texas Limited Liability Company, now forfeited,

and may be served by serving Allen Fisher, at 2802 Morrison St, Unit 408 Houston, TX 77007

or Terry Fisher, at 601 Hayward Avenue, Ames, IA 50014-7366, 111 Tapon Avenue,

Galveston, TX 77550-3131, 12509 Business Hwy. 287, Fort Worth, TX 76179, 1708 Holly

Street, Unit B, Houston, TX 77007, or wherever he may be served.

12.    Nicholas Fugedi, individually and as Trustee of the Carb Pura Vida Trust is a

Michigan resident who may be served at 480 Oakwood Beach, Brooklyn, Michigan 49230,

15555 Markese Ave., Allen Park, MI 48101, 33315 Grand River, Farmington, MI 48336,

41701 Sutters Lane, Northville, MI 48168, or wherever he may be served.

13.    Carb Pura Vida, LLC, is a Texas Limited Liability Company, and may be served by

its registered agent, Ed Herman, at 27606 Ossineke Dr., Spring, Texas 77386, or at 5755

Beacon Hill Dr., Frisco, Texas 75036.

14.    TransAct Title, LLC, is a Texas Limited Liability Company, and may be served by

its registered agent, Salima Umatiya, at 245 Commerce Green Blvd., Ste. 151, Sugar Land,

77478, or at 1001 West Loop S. Ste. 100, Houston, TX 77027, or its office at 6117

Richmond Ave, Suite 250, Houston, TX 77057.



                                            9
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 10 of 146




15.     TransAct Holdings, Inc. is a Texas Corporation, and may be served by its registered

agent, Salima Umatiya, at 245 Commerce Green Blvd., Ste. 151, Sugar Land, 77478, or at

1001 West Loop S. Ste. 100, Houston, TX 77027, or its office at 6117 Richmond Ave,

Suite 250, Houston, TX 77057.

16.     Marol Brobisky is a Texas resident, and may be served at TransAct Title, LLC,

1001 West Loop S. Ste. 100, Houston, TX 77027 or at 902 Nashua St., Houston, TX 77008-

6423.

17.     Mansoor Chaudhry is a Texas resident, and may be served at TransAct Title, LLC,

1001 West Loop S. Ste. 100, Houston, TX 77027, or at 5826 New Territory Blvd., Sugar

Land, TX 77479-5948; 1827 Misty Oaks Ln., Sugar Land, TX 77479-5589.

18.     Salima T. Umatiya is a Texas resident, and may be served at TransAct Title, LLC,

1001 West Loop S. Ste. 100, Houston, TX 77027, or at 4712 Old Bryan Rd., Richmond,

TX 77469-8947; or 5429 Schumacher Ln, Houston, TX 77056-6809; or at 221 Merrie Way

Ln., Houston, TX 77024-7407.

19.     Umatiya Law Firm, PLLC, is a Texas Professional Limited Liability Company,

and may be served by serving its registered agent, Salima Umatiya, 245 Commerce Green

Blvd., Ste. 151, Sugar Land, 77478, or at P.O. Box 19278, or at 1001 West Loop S. Ste.

100, Houston, TX 77027.

20.     Donald E. Huebner is a Texas resident and may be served at 5503 Louetta Road,

Suite D, Spring, Texas 77379 or 19522 Brittany Creek Drive, Spring, TX 77388.




                                            10
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 11 of 146




21.     Robert Elberger is a Texas resident and may be served at P.O. Box 131231,

Houston Texas 77219, or at Concorde (USA) Realty Services, Inc. and Concorde (USA)

Realty Services, & Investments, LLC, 9 West Lane, Houston, TX 77019.

22.     Edward Herman is a Texas resident and may be served at 5755 Beacon Hill Dr.,

Frisco, Texas 75034, or at 27606 Ossineke Drive, Spring, TX 77386.

23.     Law Offices of Edward Herman, PLLC, is a Texas Professional Limited Liability

Company and may be served by serving its registered agent, Edward Herman, at 27606

Ossineke Drive, Spring, TX 77386, or 5755 Beacon Hill Dr., Frisco, Texas 75034, or at

28314 Whispering Maple Way, Spring, TX 77386.

24.     Norma Lopez is a Texas resident and may be served at the Law Office of Edward

Herman as office manager, 27606 Ossineke Drive, Spring, TX 77386 or 5733 Beacon Hill

Drive, Frisco, TX 75034.

25.     Allen J. Fisher is a Texas resident and may be served at 1708 Holly Street, Unit B,

Houston, TX 77007.

26.     Michelle M. Fraga, is a Texas resident and may be served at 1411 Woodcrest,

Houston, Texas 77018.

27.     Fraga Law Office, PLLC, is a former Texas Professional Limited Liability

Company, now forfeited, and may be served by serving Michelle Fraga, State Bar No.

24048640, 4001 N. Shepherd Drive, Suite 209, Houston, Texas 77018, by registered Agent

Michelle M. Fraga, at 1411 Woodcrest, Houston, Texas 77018 or 2499 Judiway Street

#4306, Houston, TX 77018.



                                            11
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 12 of 146




28.      Lloyd E. Kelley is a Texas resident and may be served at 2726 Bissonnet, Ste. 240

PMB 12, Houston, Texas 77005; 717 Cowley Ave., East Lansing, MI 48823-3009; 7157

E. Saginaw St., East Lansing, MI 48823-9627; 6514 Buffalo Speedway, Houston, TX

77005; or 517 Collingwood Dr., East Lansing, MI 48823-3414.

29.      BDFI, LLC is a Texas Limited Liability Company, and may be served by its

registered agent, 5900 Balcones Drive, Ste. 100, Austin, TX 78731and has Ali as manager

at 1001 West Loop S. Ste 700, Houston, TX 77027.

30.      Stephanie Alvarez is a Texas resident and may be served at 1001 West Loop S. Ste

700, Houston, TX 77027.

31.      Pabeshan Castle, LLC is a Texas Limited Liability Company, and may be served by

its registered agent, Sonfield & Sonfield, 2500 Wilcrest Drive, Ste. 300, Houston, TX

77042; or at 2776 Bissonnet Street, Ste. 240 c/o Box 12, Houston, TX 77005, 770 S. Post

Lak, Lane, Ste. 435, Houston, TX 77056, or 2500 Wilcrest Drive, Ste. 300, Houston, TX

77042.

32.      First American Title Guaranty Company aka First American Title Company is a

California Limited Liability Company, and may be served by its registered agent,

Corporation Service Company dba CSC – Lawyers Incorporating Service Company, 211

E. 7th Street, Suite 620, Austin, Texas 78701; or at 1500 S. Dairy Ashford St., #300,

Houston, Texas 77007.

33.      Shahnaz Choudhri a/k/a Shanaz Akter is a Texas resident and may be served at

11511 Gallant Lane, Houston, 77082.



                                            12
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 13 of 146




34.     Texas Reit, LLC is a Texas Limited Liability Company, and may be served by its

registered agent, Legal Registered Agent Services, Inc., 5900 Balcones Drive, Ste. 100,

Austin, TX 78731; or at 1001 West Loop S., Ste. 700, Houston, TX 77027

35.     Worldwide Lending Fund LLC is a Texas Limited Liability Company, and may be

served by its registered agent, Legal Registered Agent Services, Inc., 5900 Balcones Drive,

Ste. 100, Austin, TX 78731; or at 1001 West Loop S., Ste. 700, Houston, TX 77027.

36.     Worldwide Lending Organization, LLC is a Texas Limited Liability Company,

and may be served by its registered agent, Legal Registered Agent Services, Inc., 5900

Balcones Drive, Ste. 100, Austin, TX 78731; or at 1001 West Loop S., Ste. 700, Houston,

TX 77027.

37.     Margaret Naeve Parker, individually and as former manager and member of the

forfeited M.Naeve Antiques, LLC, 1911 Westheimer St., Houston, Texas 77098; formerly

registered agent, Margaret Helena Naeve (Parker), at 1926 Bissonnet, Houston, Texas

77005; or at 1201 COWARDS CREEK DR, FRIENDSWOOD, TX 77546-4603.

Plaintiff:

        Plaintiff is Steadfast 829 Yale Holdings, Inc., a New Mexico Corporation.



                                          IV.
                                   CASE STATEMENT

Parties and their roles:

16.     Steadfast Funding, LLC is a small private real estate and construction loan servicing

company owned by Marc Sherrin (together “Steadfast”). The “Steadfast Parties” are

                                             13
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 14 of 146




private individuals, lending their personal retirement or other funds to make secured

construction loans through Steadfast, including the loan in question; a first lien construction

loan secured by real property located at 829 Yale. Exhibit 1, 11(b)(and a-e), 170. Steadfast

funded over six million dollars of loans to the Defendants (first to Defendant 829 Yale St.,

LLC, then to Defendant 2017 Yale Development, LLC), which funds were stolen. Id. Not

one Defendant ever paid a cent of the loans back or for the property. Id. The Steadfast

parties had no significant litigation history until the Yale Criminal Enterprise defrauded

them and interfered with their loan and title to their collateral. Id. The Steadfast Parties

assigned the Property, and all of their claims and causes of action to a single purpose entity,

Plaintiff, Steadfast 829 Holdings, Inc. commencing in May of 2021, before the

whistleblowers came forward. Exhibit 170.

17.     The existence of the Yale Criminal Enterprise, its intent, and the details of its

schemes are proven by whistleblower evidence (the Yale Criminal Enterprise conspired to

commit seventeen distinct scams designed to steal the money and title, infra). See e.g.

Exhibit B, B(a-c), infra. The Yale Criminal Enterprise engaged in a lengthy pattern of

fraudulent and felonious sham transactions and predicate acts over several years and

continuing to this day, all calculated to steal Steadfast’s money and collateral. Id.

18.     Defendant Ali Choudhri allegedly inherited over a hundred million dollars, and has

infamously used that money to fund real estate schemes spawning hundreds of fraud

lawsuits in Harris County. Id. He owns Jetall Companies, Inc., and employed Defendant

Brad Parker and others to engage in rampant fraud, the Choudhri parties generally making

themselves a scourge on the citizens of Harris County. Id; Exhibit 99; See also e.g.:

                                              14
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 15 of 146




https://dolcefino.com/video/
https://www.houstonpress.com/news/a-lawyers-murder-makes-a-weird-houston-divorce-case-a-
lot-weirder-8682209; https://setexasrecord.com/stories/512691948-galleria-area-property-owner-
accused-of-running-scams; https://abovethelaw.com/2016/08/murdered-lawyer-only-the-latest-
bizarre-twist-in-bizarre-divorce-case/; https://dolcefino.com/2016/08/22/assassination-bigamy-
fraud-and-abuse/; https://dolcefino.com/2020/04/19/the-coronavirus-defense/.;
https://dolcefino.com/2016/08/28/the-taliban-and-president-obama-linked-to-houston-divorce-
trial/; https://www.houstonchronicle.com/news/houston-texas/houston/article/Harris-County-
judge-recused-from-civil-case-16242195.php; https://www.houstonchronicle.com/news/houston-
texas/houston/article/Texts-raise-conflict-of-interest-for-Harris-15885846.php;
https://setexasrecord.com/stories/580872228-harris-county-business-owner-allegedly-hid-assets-
from-creditors-suit-states; https://dolcefino.com/2016/08/25/no-gag-order-for-fridays-divorce/;
https://dolcefino.com/2020/12/01/lifestyles-of-the-rich-and-infamous/;
https://dolcefino.com/2021/01/20/a-judicial-embarrassment/;
https://dolcefino.com/2021/01/20/a-judicial-embarrassment/;
https://dolcefino.com/2020/09/14/would-you-do-business-with-this-guy/;
https://dolcefino.com/wp-content/uploads/2020/03/choudhri.jpg;
https://dolcefino.com/2021/01/13/texts-bust-a-houston-judge/;
https://dolcefino.com/2020/11/02/houston-judge-punishes-ali-choudhri/;
https://fbindependent.com/litigant-seeks-mistrial-citing-covid-p13940-1.htm


19.     Choudhri, Parker and Jetall commenced the Yale Criminal Enterprise with Fisher

and the other Defendants by illegally taking title to Steadfast’s collateral in a secret deal to

interfere with Steadfast’s loan, obstruct Steadfast’s lenders’ rights and foreclosure, extort

the lenders, and fraudulently induce a loan workout from Steadfast. Exhibit 3, 4, 4a21,

4a22, infra. They intended to, and did steal those loaned funds, infra. Id. Parker, his wife

and her business all secretly took ‘consulting fees’, stealing their part of the loaned funds,

and was offered a ‘real’ percentage of 2017 Yale along with five hundred thousand dollars

cash to continue to perjure himself after they had a falling out. See e.g., Exhibit 4a22b,

4a22b DOC 475, and B(a-c). infra.

20.     Defendant Terry Fisher (“Fisher”) was a real estate developer with dozens of

projects around Houston, including 829 Yale. Exhibit 170. He sought out and obtained

construction loans from Steadfast and other lenders. Id. Fisher owned or controlled
                                              15
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 16 of 146




borrower Defendants 829 Yale St., LLC, KAVAC, Cityscape, Assurance Home Warranty,

and other relevant companies which stole loan money and otherwise participated in the

Yale Criminal Enterprise. Id. See also Exhibit 55, infra. Allen Fisher is his son and was

participating in numerous schemes. Id. Fisher was secretly having problems with his other

lenders on various projects. Id. Instead of resolving his troubles legally, he made a secret

deal with Choudhri and other conspirators to commence the Yale Criminal Enterprise. Id.

21.      Fisher secretly took a personal bribe of one hundred thousand dollars from

Defendant Jetall to cause Steadfast’s borrower under his control, 829 Yale St., LLC to

illegally give away title to Steadfast’s collateral at 829 Yale to Jetall. Exhibit 4a22, infra.

Fisher, Choudhri and Parker perjured themselves in front of Kelley, Fraga and others about

that bribe, and concealed all relevant documents in discovery, infra. They planned and

commenced a series of scams as part of the Yale Criminal Enterprise, all designed to steal

Steadfast’s loaned funds, as well as title to Steadfast’s collateral, infra. Fisher and his

companies later received additional funds stolen from Steadfast’s loan from the other

conspirators. Exhibit 55, infra.

22.      Defendant Lloyd Kelley is an attorney who made himself a principal conspirator in

the Yale Criminal Enterprise. Exhibit 170, A, B(a-c) (audiotapes and transcripts 7) etc.,

infra. In the past, Kelley repeatedly represented Ali Choudhri in fraudulent real estate

cases, and Choudhri’s divorce. Id; see also Exhibit 99. In this case, he secretly took

ownership of the borrowing entity, Defendant 2017 Yale, before its ultimate loan default,


7
 The three primary whistleblower audio recordings are labeled B(a-c), with both certified transcripts and actual audio
submitted to the Court with this pleading and referenced or quoted herein.

                                                         16
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 17 of 146




though he pretended to be only a lawyer for the Enterprise until recently exposed by the

whistleblowers. Exhibit A; B(a-c), etc., infra. Again, this secret ownership was concealed

from all parties and courts. Id. During their secret ownership Kelley and his conspirators

stole the loan money, abandoned the construction project at Yale, caused the loans to

default, and commenced a pattern of criminal and fraudulent predicate acts, all designed to

steal Steadfast’s loan money and title to the collateral as part of the Enterprise. Id.

23.     Kelley, Michelle Fraga, and other counsel appear in numerous fraud cases for

Choudhri, Parker, and related entities. Exhibit 170, 99, B(a-c). An apparent theme

involves forcing their way into title or fraudulently acquiring a lien on a target property,

then defrauding or extorting the legitimate owners or lienholders using sham transactions,

vexatious litigation, insurance fraud, or other nefarious means. Id. See also e.g. Exhibit

184, infra.

24.     Choudhri and Kelley were defrauding Choudhri’s wife in her divorce case, hiding

assets from the Court, and Choudhri apparently failed to pay Kelley over three million

dollars in legal fees. Exhibit B(A-C), infra. 8               Choudhri was using Brad Parker as the

fraudulent ‘front-man’ purportedly owning 2017 Yale, to defraud his wife and that Court.

Id. 2017 Yale was Steadfast’s borrower entity. Exhibit 170, 11(a-e). Then, Choudhri

secretly gave Lloyd Kelley all of the membership interest in 2017 Yale Development, LLC,

which owned title to the collateral property subject to Steadfast’s lien. Exhibit A, B, B(a-

c) infra. He secretly gave Kelley full ownership of the borrower entity 2017 Yale as


8
 There being no honor among thieves, they have even sued each other claiming each other are frauds, though they
usually resort to confidential arbitration to conceal their fraudulent schemes from the public. Exhibit 103.

                                                       17
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 18 of 146




payment for these delinquent legal fees. Id. Kelley acted as primary counsel in numerous

courts, conceal and perjuring himself about his involvement, infra.

25.     Defendant TransAct Title and its affiliates regularly work with these conspirators in

their schemes. Exhibit 170, 99, B(a-c). Mansoor Chaudhry and Salima Umitaya own or

control TransAct Title, LLC and a law firm participating in the Yale Criminal Enterprise,

along with Elberger, Herman, and other Defendants who all participated in creating fake

entities and prepared fraudulent instruments for the Enterprise to carry out its seventeen

scams. Id. They and First American Title Company issued a fraudulent title insurance

policy to a fake trust based upon fraudulent documents, omitting Steadfast’s liens, and filed

it in federal Court to support frivolous title claims in an attempt to steal the property.

26.     Defendant Don Huebner is a landman who fabricated a fraudulent title abstract and

perjurious affidavit which the Enterprise filed in multiple Courts, omitting Steadfast’s Loan

Documents and liens, which Defendants knew had already been adjudicated to have been

valid, prior recorded, in default, without excuse. Id; see also e.g., Exhibits 94, 115, infra.

27.     Defendant Nicholas Fugedi is a Michigan friend of Lloyd Kelley, bribed to

participate in the fraudulent Yale Criminal Enterprise, posing as a fake trustee and filing

fraudulent documents as a sham “bona fide purchaser” of the collateral. Exhibit 86(a-v),

G, B, 170, infra. Fugedi’s fake transaction was designed to help the Yale Criminal

Enterprise avoid Steadfast’s judgment on the loan default, obstruct Steadfast’s foreclosure

on its collateral, and ultimately try to steal title to the collateral using fake evidence,

fraudulent real property documents, and frivolous litigation. Id.



                                              18
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 19 of 146




28.     Defendant 2017 Yale Development LLC and its Manager 2017 Yale Development

GP, LLC, are sham companies created and owned by Kelley, Parker, Fraga and Choudhri,

to defraud Steadfast, fraudulently induce a loan workout from Steadfast for more funds,

steal Steadfast’s loan money, distribute it to themselves and the Fisher entities pursuant to

the secret “MOU”, steal or extort title to Steadfast’s collateral at 829 Yale Street, and later

give away yet another illegal fraudulent transfer deed to Fugedi’s fake trust. Exhibit 170,

11(a-e), 102, 35, 35c, 14, A, G, 86(o), infra. Kelley, Fraga, and Choudhri bribed Parker to

act as a fake “front man” to pretend he owned the companies, present perjured testimony,

hide assets from Steadfast, Choudhri’s wife, the Courts, and even their own supposed

“clients” such as David Alvarez. Id; see also Exhibit B(a-c) infra.

29.     After secretly acquiring ownership of 2017 Yale, Kelley bribed Fraga and other

attorneys into doing frivolous and vexatious legal work for the Enterprise, all knowingly

using fraudulent documents and perjured testimony. Id. The Enterprise bribed these

attorneys with promises of a percentage of ownership of the company they were pretending

to represent as lawyers (2017 Yale, which owned title to the collateral subject to the liens

they were attempting to destroy). Id. They also bribed Parker to perjure himself, continue

the sham, and participate in fraudulent transactions, also based upon a promised percentage

of actual ownership of 2017 Yale, and accordingly all intended to benefit from their plan

to split of the profits of their fraudulent Criminal Enterprise against Steadfast. Id.

30.     2017 Yale never had any assets of any kind other than Steadfast’s loan money

(which it stole and distributed among the Yale Criminal Enterprise), and the record title to

the collateral at 829 Yale subject to Steadfast’s lien. Exhibit 35, 35c; Exhibit 102 starting

                                              19
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 20 of 146




page 78; Exhibit 109, 110, infra. 2017 Yale later illegally tried to give title to the collateral

away to Kelley’s fake trust using Fugedi and Carb Pura Vida in a fraudulent transfer to

avoid Steadfast’s judgment and foreclosure. Exhibit B(a-c), G, 86(a-v), infra. After

stealing all Steadfast’s (and its own contractors’) funds, 2017 Yale only had $355 dollars

left in its bank account. Exhibit 55, 109, 110.

        ·STEADFAST COUNEL: “…other than funds that were deposited into 2017
        Yale's account that came from the loans, the Steadfast loans, was there ever any
        money contributed into or paid into 2017 Yale? MS. FRAGA:· Objection.· Form.
        PARKER:· If we're going to ignore that small minor deposit that we're talking about
        to open an account, then I don't believe there was additional funds put in.” Exhibit
        35, at pg. 34.


31.     In addition to participating in the bribes, fraudulent documents, fake legal

representation, sham ownership of 2017 Yale, and frivolous litigation, Michelle Fraga also

personally secretly formed and was president of a sham Wyoming company, Tax Relief,

Inc. See e.g. Exhibit G, 81-83, infra. The Enterprise secretly created this sham entity to

fabricate a fraudulent tax lien scam against the collateral as part of the Yale Criminal

Enterprise. Id; see also Exhibit 99(a-c), infra. 9 Kelley and Fraga presented Parker to

perjure himself in deposition about this transaction and other matters, and concealed all

relevant documents from discovery, infra.

32.     David Alvarez is a Dallas businessman making real estate loans through his

company D&A Alvarez Group, LLC. Exhibit 170. D&A also made a loan to Fisher/829

Yale St., LLC as a second lien lender secured by 829 Yale. Id; Exhibit 2. The Yale



9
 e.g. FRAGA:“what does that do with the tax lien because brad transferred it and the Secretary of State still shows
brad parker on it?” Exhibit B(C) 0:19.

                                                         20
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 21 of 146




Criminal Enterprise also defrauded him out of his lien, all of his claims, and into releasing

his debtors and tortfeasors, joining the Criminal Enterprise, and convinced him to file

fraudulent documents on their behalf. See e.g. Exhibit 18, 29, 44-46, G, 86(a-v), infra. He

lost everything as a result. Id; see also Exhibit 92. Alvarez then became a whistleblower

and produced documents relevant to the Yale Criminal Enterprise in 2020 and 2021, which

the conspirators had previously concealed. Exhibit G, 86(a-v).

33.     Chris Wyatt was allegedly employed by Jetall Companies, Inc. as Chief Financial

Officer, reporting to Choudhri. Exhibit B. During Wyatt’s employment, Choudhri asked

Wyatt to record their conversations with Parker, Fraga, and Kelley, to use as leverage so

that Choudhri could swindle more of the profits from the Yale Criminal Enterprise for

himself at the expense of the other conspirators. Id. See also Exhibit B, B(a-c). Wyatt

was (wrongfully) terminated for refusing to perjure himself for the Criminal Enterprise,

became a whistleblower instead, and properly produced authenticated audio tapes and

information relevant to the Yale Criminal Enterprise in 2021, finally shedding full light on

the Enterprise. Id.

Background:

34.     This case arises from a borrower in default (Defendants 829 Yale St., LLC and Terry

Fisher on a personal guaranty) entering into a fraudulent Enterprise (with Defendants Jetall,

2017 Yale, Choudhri, Parker, Kelley, Fraga, Fugedi and the others), to engage in a

persistent pattern of criminal and fraudulent conduct designed to defraud, steal, or extort




                                             21
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 22 of 146




the lenders’ (Steadfast and Alvarez) money and title to the collateral property at 829 Yale

in Houston (the “Yale Criminal Enterprise”). 10

35.      Defendants used the U.S. mail to send original fraudulent instruments to record in

the Harris County Real Property records, used interstate electronic communications to

electronically file fraudulent instruments in the real property records and state and federal

courts, 11 sent perjurious affidavits and transcripts via interstate email, conspired and

committed numerous predicate acts via interstate cellular communications, wired bribe

money using vehicles of interstate commerce and national bank accounts, illegally wired

Steadfast’s loaned funds from 2017 Yale’s bank account to the other members of the

Enterprise, created a fake Wyoming company and fake Michigan trust to enter into sham

transactions, and generally used interstate emails and cell phone communications to

commence plan, and execute the Yale Criminal Enterprise and the criminal and fraudulent

predicate acts against the Steadfast parties in multiple states. Id.

FIRST PREDICATE ACT: The Yale Criminal Enterprise secretly forms and commits
its first Scam: The Fisher/Jetall fraudulent title transfer, tortious interference, and
extortion scam.

36.      Steadfast loaned its money to 829 Yale St., LLC (and later to 2017 Yale

Development, LLC), 12 subject to a valid, prior recorded first lien deed of trust. Exhibit 1.



10
   The Allegations in this Petition are verified by Declaration of Marc Sherrin, Exhibit 170, but generally all
corroborated with additional undisputed evidence and judicial admissions. More detailed evidentiary citations are
contained in the timeline below. All Exhibits are provided to the Court by paper copy, and via thumb drive,
concurrently with the filing hereof. Those few Defendants who do not already possess copies of the Exhibits will be
provided them after appearance.
11
   Even the Harris County District Clerk’s website was illegally altered at one point. See e.g. Exhibits 90-91, infra.
12
   Brad Parker, the CFO of Ali Choudhri’s infamous company, Jetall Companies, Inc., claimed to own 2017 Yale.
They fraudulently induced and extorted Steadfast into doing a loan workout to 2017 Yale using the leverage of a
frivolous suit by Jetall to enjoin Steadfast’s foreclosure due to 829 Yale’s fraudulent transfer of collateral to Jetall.

                                                          22
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 23 of 146




Fisher secretly caused 829 Yale St., LLC to illegally 13 give away title to Steadfast’s

collateral to Jetall (Exhibit 3, 4, 4a21, 4a22).                Jetall used its fake title to defraud (by

promises of quick loan repayment, among other things) and extort (by threat of endless

litigation if they didn’t loan more ‘short term’ money) Steadfast into agreeing to a loan

workout. See e.g. Exhibit 170. The Enterprise threatened to litigate against foreclosure

forever, but in the alternative promised to use their ‘hundreds of millions of dollars’ to

repay the loans quickly ‘if Steadfast would just continue some bridge funding while they

gathered the funds.’ Id. Choudhri had Parker created the sham entity 2017 Yale, and Jetall

conveyed title to 2017 Yale as part of that scheme. Exhibits 11(a-e).                         Steadfast funded

more loan money to the Enterprise, six million dollars in total principle. Id.

37.     Later, to avoid Steadfast’s impending final judgment on the loan defaults against

2017 Yale, 2017 Yale illegally gave title to the collateral away again, this time to a fake a

trust, (the ‘Carb Pura Vida Trust’, Fugedi supposedly being the trustee), for no

consideration other than the sham party bribes. See e.g. Exhibits B(a-c), G, 86(a-v), infra.

38.     Not one of the Defendants ever paid a single cent for the property or to repay

Steadfast’s loans since the start of the Enterprise: Id. Exhibit 92, 170.

        “Neither the Carb Pura Vida Trust nor 2017 Yale ever paid anything for the
        property or to Steadfast” “Kelley and Fraga, told me they had devised a stratagem
        … to prevent Steadfast from being able to foreclose on the Property.” Exhibit G;
        See also Sherrin Declaration (Exhibit 170); See also Exhibit 35, 35c. 102 starting
        page 78. 14 See also Exhibits 55, 109, 110.


13
   See e.g., Texas Penal Code § 32.33; Deed of Trust and CTNL, Exhibits 1, 11b and 20e, respectively. See Exhibit
4, 4a22, and 3 for the secret deed and “MOU” deal to extort Steadfast and other lenders, infra.
14
   The only payment was Kelley’s bribe to Alvarez to get him to sign the fraudulent, ineffective release. Exhibit G.
The fake illusory note was never signed. Exhibit G; 86a,d,g. The fake trust agreement was never signed, though the


                                                        23
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 24 of 146




        STEADFAST COUNSEL: Where did the money come from and who all is involved
        in this transaction?...PARKER: …outside of draws from the lender [Steadfast],
        that no meaningful funds were contributed [by the Yale Criminal Enterprise] to
        this.” Id; Exhibit 35, at Pg. 104-5.

        THE 190th CIVIL DISTRICT COURT, JUDGE MILLER QUESTIONING: You made
        a deal with somebody for it [Steadfast’s collateral] to be transferred? PARKER: I
        did --THE COURT: And you don't know who you did that with? PARKER: I don't
        know the specifics, no. THE COURT: How much money did you get for it?
        PARKER: Cash mutual[neutral], no money.” Exhibit 102 (all with Kelley and
        Fraga presenting Parker).

        STEADFAST COUNSEL: “there's no disputing that you failed to make your
        interest payment …. right? A. That's --- [PARKER]: -- a true fact, yes.” Exhibit
        35, at Pg. 104-5.


39.     Fisher, 829 Yale St., LLC, Jetall, Choudhri and Parker initially defrauded Steadfast

by Jetall illegally taking title to Steadfast’s collateral and conspiring to defraud Steadfast

and tortiously interfere with Steadfast’s original loan.15 Exhibits 4, 3, 151a21; compare

Exhibit 1 and Texas Penal Code 32.33, infra. Choudhri owns Jetall, and employed Brad

Parker (and Chris Wyatt). Fisher took a personal bribe of $100,000.00 from Jetall, to have

his company, 829 Yale St., LLC secretly and illegally give away title to Steadfast’s

collateral and have Choudhri and Kelley interfere with the loan and extort funds and title

from Steadfast. Exhibit 4, 3, 4a22. 16 The Enterprise failed to inform the lenders of their


fraudulent lien release and the fraudulent transfer deed were recorded. Id. There was no fully formed real trust, no
consideration, and no closing on July 22, 2019, the date of the deed. Id; Exhibit G, 86R. There was never any
consideration for the transfer to Fugedi. Id; Exhibit 102 (ROA.3227); see also Exhibit 35 at pgs. 34, 206.
15
   Including Cause No. 2016-64847. The 190th denied Steadfast’s joinder of these claims, creating the mess on appeal
in other cause numbers relating to the Disqualification of the 125th.
16
   Fisher perjured himself about this and other matters in deposition:

“…why would you release Jetall and Ali Choudhri from claims or causes of action related to this property?... there's
no particular reason for that? A. Nothing. And what did you receive for that? A. Well, I wouldn't have received
anything…What did he receive? A. The same smile back that -- he gave me. So as far as you know, no one paid
anything to anyone for this agreement? A. Looks like we paid $10.00. Hand paid…. And a smile. And nothing else?
A. Nothing else. You actually quit claimed 829 Yale property to 2017 Yale Development? A. If that's what it


                                                        24
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 25 of 146




fraudulent transaction, which is a felony and a Loan Default. Exhibit 170, 1, 11(a-e). The

Enterprise concealed the bribe, check, and signed agreement throughout the entire

litigation. Id. The Enterprise never produced any significant documents, and never

testified truthfully in any of the litigation.

The Second scam: The 2017 Yale fraudulently induced loan workout scam, and using
the 190th District Court as a tool to extort and defraud the lenders.

40.      The Conspirators filed frivolous suits to enjoin Steadfast and Alvarez’ foreclosure,

which the lenders immediately posted once they discovered the fraudulent conveyance to

Jetall, infra. 17 The Enterprise then created 2017 Yale to fraudulently induce and coerce a

loan workout from Steadfast, 2017 Yale acquiring title to the collateral subject to

Steadfast’s liens, secured by the property at 829 Yale Street. Id. See also Exhibits 14, 8,

11a-e.

41.      The conspirators told every Court, and every party, that Brad Parker owned 2017

Yale, and that he would pay off the loans quickly, ‘he just needed some temporary bridge

funds from Steadfast.’ Exhibit 170. They also threatened Steadfast with endless frivolous

litigation if Steadfast refused a loan workout. Id.

42.      However, Choudhri secretly owned 2017 Yale, and Parker was a ‘front man.’ Then

they secretly gave Lloyd Kelley all of the membership interest in 2017 Yale on October 9,

2017. 18 Id. See Secret Assignment, Exhibit A, with authenticating declaration Exhibit B,


says…The undersigned Fisher Parties, for your $10.00, paid by 2017 Yale, and other good and valuable
consideration, which there is none, right?...Nothing else? A. That's it. The same smile I'm giving you.”
Exhibit 185. Pg. 317-319
17
   Fisher was trying to scam more money on his own, which prompted a lender title search.
18
   Kelley used “Pabeshan LLC,” to front for him. However, it was Kelley all along: KELLEY: “Pabeshan? You’re
crazy. Pabeshan is not involved in that at all. It’s just not involved.” CHOUDHRI: “before me and you went to
Pakistan, I transf…” KELLEY: “you transferred 2017 to me” CHOUDHRI: “yes” B(C) 16:20. Exhibit B.

                                                     25
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 26 of 146




and Exhibit 106. 19         Kelley took a secret assignment signed by Parker and Choudhri in

2017, and then fraudulently transferred title to the collateral again during Steadfast’s trial

in 2019 to Kelley’s fake “Carb Pura Vida” trust. See Exhibit A; 86; G, 102. Kelley bribed

Fraga, Parker, and others with secret ownership interests in 2017 Yale, all conspiring

together to extort cash and title to the property from Steadfast.                              See whistleblower

audiotapes, Exhibit A, B, B(a-c), infra. 20

43.      Choudhri had his conversations with Fraga, Parker and Kelley recorded by Jetall’s

employee, Chris Wyatt, intending to blackmail Kelley, Parker and Fraga into giving 2017

Yale back to him by using the audio in a confidential arbitration and/or threatening their

law licenses. Id. All of the conspirators were planning together on stealing Steadfast’s

loan money and the title to the property. Id. The audiotapes reflect their arguments about

which of them would benefit the most from their fraudulent Yale Criminal Enterprise

against Steadfast. Id. These tapes are not privileged; Kelley didn’t represent Choudhri,

Jetall or any party at the time of the recording, the topics involve no Jetall business, and

they are scheming to commit ongoing crimes and fraud throughout the conversations. Id.

They have already been judicially admitted without controversion or dispute in other



19
   Choudhri secretly gave Kelley 2017 Yale in exchange for three million dollars Choudhri owed Kelley, apparently
for defrauding Choudhri’s wife in the divorce: Kelley: “you wanted to exchange that for some shit on yale which I've
now spent two and a half years of my life on, it's always a fucking mess with you Ali, I just wanted the cash, just
wanted the cash that you owe me, and then you wanted to sell me a condo, and then you wanted to sell me the whole
building” Exhibit B(A) 17:16. “you know none of it is ever going to be delivered, you know that.” B(A) 17:41. “You
gave it to me because it’s a piece of shit going that was going into litigation. That's the truth. You sold me something
you knew you couldn’t even hold onto.” B(A) 17:45. All of these Defendants concealed this document, transaction,
and evidence, and perjured themselves regarding this issue, infra.
20
   Due to time constraints, these lengthy audio tape transcripts were initially submitted with in-house created
summaries, referenced by tape time; later transcribed by Court reporter, with later citations using traditional page-line
references. In the upcoming Summary Judgment pleadings, all references will be trued up to page line references.
The Court also has the actual audio files for review.

                                                          26
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 27 of 146




Courts (the conspirators essentially “pleading the 5th”). Id. 21 See also Memorandum on

Admissibility of Wyatt Audio filed in conjunction herewith and with Exhibit B.


Kelley:                   “I've got paperwork that shows you signed that said Brad [Parker] owns it
                         and he's selling it to me.” Exhibit B, A, and B(A) 27:50.
Ali Choudhri:            “you knew because of my divorce, who owned 2017 Yale from the outset…
                         24:09…. I had Brad as my proxy in front.” B(A) 24:24.
Lloyd Kelley:            “I OWN 2017 Yale! B(A) 5:13.
Ali Choudhri:            “why did you have Brad testify that he owns and controls?” B(A) 22:24.
Kelley:                  “I don’t give a fuck what Brad testified to!” B(A) 22:28. “because its
                         MINE! Because 2017 Yale was mine, not yours!” B(A) 33:17.
Kelley:                  “Brad was a front guy” B(A) 31:03.

44.       2017 Yale filed false Certificates of Formation with the Secretary of State

concealing 2017 Yale’s true ownership. Exhibit 14. 22                    Transferring the membership

interest of 2017 Yale to Choudhri or Kelley and the other Conspirators also constituted

another loan default, as Steadfast’s Deeds of Trust and other Loan Documents precluded

not only transferring the collateral away, but also transferring any membership interest of

2017 Yale, the borrower, away. Exhibit 11b,d. The Enterprise concealed all this evidence

during the loan default case and trial, all the way through the title case, and to the present,

until the whistleblowers came forward in 2021.

45.       Kelley had secretly acquired 2017 Yale before it abandoned the Yale construction

project and missed its loan payments due Steadfast, defaulting in November of 2017. Id.

See e.g., Exhibit 35, 35c, 10, 32, 10, 17, A. Kelley and Choudhri caused 2017 Yale to



21
   See Motions to Dismiss Appeals and for Just Damages filed in the 5th Circuit and First Court of Appeals of
Texas, infra.
22
   2017 Yale never produced any relevant documents, such as 2017 Yale’s company documents, and the 190th denied
Steadfast’s Motions to Compel, even after mandamus. The SOS records show circular management and membership
– i.e., the manager LLC is the manager of 2017 Yale, and 2017 Yale is the manager of the manager LLC, to avoid
accountability and hide ownership.

                                                      27
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 28 of 146




default, stop construction, and steal the loan money. Id. See also Exhibit 13a22, infra. 23

As such, Kelley, Fraga, Parker and Choudhri each personally caused the defaults that

resulted in the 190th’s Judgment on the contractual loan default in favor of Steadfast,

against 2017 Yale, for $8.4 million dollars. Exhibit 92. It is now known from the

whistleblower evidence that they secretly personally caused the default. Id. 24

46.       Parker pretended to own 2017 Yale the entire time, and all of these lawyers and

parties perjured themselves to that effect. See Exhibits 10, 35, 35c, 102, 53, 32, 10, 17. It

turns out that Choudhri personally ordered 2017 Yale to not pay its construction contractors

and abandon the project, during the time Kelley owned the company. Id. Kelley and

Choudhri each secretly held the project up to make their own fantasy changes to the

construction plans, despite their scheme to defraud the lenders and the fact that neither of

them ever paid a single cent for the property. Id. See also Exhibit 13, 13a22, 85 and B.

Choudhri, Parker, and Kelley all personally caused the loan defaults and are personally

responsible for the loan default final judgment, as well as for their torts and other causes

of action set forth herein. Id.

47.       Parker’s fake ownership of 2017 Yale was critical to all of the scams from start to

finish:

          KELLEY: “I told you this is no good if Brad's out of the picture, no good…. if Brad
          doesn’t have ownership, these claims are worthless.” Exhibit B(c), Pg. 3-5.




23
  Another document concealed by the Enterprise until the whistleblowers came forward.
24
  The 190th Final Judgment only adjudicated the loan default, none of the crimes and torts. The Yale Criminal
Enterprise fraudulently concealed all of those facts from Steadfast and the Court.

                                                     28
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 29 of 146




        FRAGA: “What does that have to do with the tax lien because that was Brad that
        transferred it and the Secretary of State still shows Brad Parker on it?” Id.

        KELLEY: “Ali, you need to talk to Brad. You need to get him over here or you’re
        gonna have a real problem.” [Parker then joins the call]. Id.

48.     This sham wasn’t just the key to their fraudulent inducement of Steadfast’s loans,

or to allow Lloyd Kelley to drive all of their frivolous litigation posing as chief counsel

instead of the owner. It was critical to every scam. Without Parker, Choudhri’s wife would

have a claim to whatever they took from Yale. Thereafter, they would all be sanctioned

and disbarred if anyone proved that fraud.      Parker’s involvement was a felony for them

all from the start, so they could never back off. The title policy they planned to recover on

if the frivolous title claim failed was fraudulently procured by Parker for 2017 Yale. They

could never have duped Alvarez, infra, into hiring them, releasing his liens and claims

against them, and ‘flipping sides’ if Alvarez had known Kelley and Fraga owned 2017

Yale. The fake tax lien was assigned to Fraga’s fake Wyoming company by Parker for

2017 Yale. The void fraudulent transfer deed to the fake Fugedi trust was prepared by

Parker for 2017 Yale. Kelley and Fraga ran the frivolous litigation posing as lawyers.

They had Parker sign a perjured supersedeas bond affidavit and perjure himself in

deposition, at trial, and on appeal. Fake trustee Fugedi’s title policy was founded upon

Parker’s executed documents for 2017 Yale. They had also attempted to procure other

loans using Parker as a front for 2017 Yale. Using Parker as a front for the original loan

was a loan default justifying Steadfast’s foreclosure all by itself, so none of the claims or

property instruments could hold up at all if his perjury was exposed. Everything flowed

from that fraud. The assignment to Kelley was itself a loan default, justifying foreclosure

                                              29
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 30 of 146




all by itself. That’s why even after Ali and Parker had their falling out, they had to bribe

him to continue perjuring himself, infra. Almost all of the attorneys filed their frivolous

claims and pleadings and worked on the fraudulent cases based upon promised percentage

interest in 2017 Yale, all founded upon Parker’s fake ownership and perjured testimony to

that effect. As Lloyd said, everything would unravel but for the Parker ‘front.’ Now it

has all been proven to be a fraud by judicial admission. All of the litigation completely

frivolous by judicial admission. All of the transfers and fraudulent releases felonious, by

judicial admission.


49.     As Choudhri ironically stated at the end of his 2020 call with Kelley, Fraga, and

Parker, Exhibit B(c), “These guys are f**king crooks.”


The Third Scam: Stealing Steadfast’s Loan Money.

50.     2017 Yale stole Steadfast’s construction loan money remaining in 2017 Yale’s bank

account, instead of paying their own construction contractors as required by Steadfast’s

loan. See Exhibits 11e, 17, 35, 35c, 55, 15, B.

51.     The new whistleblower evidence proves that Choudhri and Parker stole 2017 Yale’s

bank account funds and quit paying its workers because they had already secretly conveyed

2017 Yale to Lloyd Kelley. Exhibit A, B. Kelley and all Defendants knew about

Steadfast’s valid lien but did nothing to pay them or prevent any of the defaults. Id. The

money went to Fisher, Choudhri, and their companies and conspirators, and was later used

to bribe other conspirators to participate as fake trustees, fraudulent lien releasors,

fabricators of fraudulent abstracts and documents, etc., infra. Even Parker and his wife,

                                            30
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 31 of 146




and her company M.Naeve Antiques cut a secret $40,000 deal with Fisher for ‘consulting’

at Yale pursuant to the MOU, infra. None of this was never disclosed to Steadfast, nor

were these agreements or the emails circulating them produced in response to discovery,

or in depositions. Exhibit 4a22b, 4a22b DOC 475.

52.      Instead, Kelley bribed Fraga and others to join Choudhri, Fisher and Parker’s

scheme to defraud and split the lenders, try to wipe out legitimate liens by fabricating

fraudulent evidence and frivolous litigation, obstruct foreclosure, and steal the money

loaned and the property itself. Exhibit A, B, 19, 18. 25

The Fourth Scam: A Three Million Dollar Debt, Hidden Assets In A Divorce, And A
Secret Deal Between Ali Choudhri And Lloyd Kelley Exposed By A Whistleblower.

53.      It turns out that Choudhri owed Lloyd Kelley over three million dollars in legal fees,

as he was helping Choudhri assets from Choudhri’s wife and the divorce court; so, they cut

a secret deal. Choudhri and Parker secretly gave the entire membership interest in 2017

Yale to Lloyd Kelley on October 9, 2017, in exchange for extinguishing the debts of

Choudhri, his mother Shanaz, and all of their entities. Exhibit A.26

54.      2017 Yale’s first loan payment was due in November of 2017. Exhibit 11(a-d), 35,

35c. The Enterprise emptied 2017 Yale’s bank account and sent Steadfast’s loan money




25
   They tried to split the lenders, buy Steadfast’s first lien at a discount, without paying the second, and then fabricate
a sham default to foreclose on the subordinate second lien; they tried Fraga’s tax lien fraud scam, to have her straw
man company foreclose and wipe out the liens; they tried to bury the lenders with thousands of pages of pleadings,
and extort them into settling; they tried the fake trust fraudulent conveyance scam during trial; they tried a frivolous
eviction suit; they obtained a seven million dollar baseless sanctions award against Steadfast, resulting in the
disqualification and recusal of the 125th voiding that absurd abuse; they filed a fake title abstract in a frivolous federal
quiet title suit; they obtained a wrongful possession order from a J.P. Court; this list goes on, infra.
26
   That transfer constitutes yet another newly discovered Loan Default, as the borrower cannot convey away its
ownership without lender consent under the Loan Documents, Exhibit 11b, 20e, infra.

                                                            31
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 32 of 146




to Choudhri and the developer’s entities, as per their extortion scheme and MOU. Exhibit

4, 55. 27 2017 Yale never paid a cent for the property or on the loan. Exhibit 35, 35c.

55.      Despite receiving loan money from Steadfast earmarked to pay their contractors,

they stole the money, and their unpaid contractors ultimately stopped work and filed M&M

liens against Steadfast’s collateral. Exhibits 15, 17, 35, 35c, 170. Fisher skipped town with

his portion of the bribe and the stolen loan money, and he and 2017 Yale abandoned the

property and the loans. Id. 2017 Yale and the conspirators tried, unsuccessfully this time,

to swindle another loan workout from Steadfast, and then tried to acquire Steadfast’s first

lien without paying the second lien, so they could wipe out Alvarez and take the property

on the cheap that way. Id. See also Exhibit 19. 28

56.      Steadfast and Alvarez refused to participate in that scam against Alvarez, refused

another loan workout, and the lenders moved to foreclose again, so Kelley offered Fraga a

percentage interest in 2017 Yale to help him with the Enterprise’s frivolous litigation.

Exhibit B(a-c). They kept Parker as their ‘front man’ and filed frivolous suit pretending to

be lawyers instead of principles in the 190th 29, to enjoin foreclosure by Steadfast and

Alvarez. Id. They tried to bury their fraud under tens of thousands of pages of baseless




27
   KAVAC, CityScape, Assurance Home Warranty were all sham Fisher companies secretly getting funds from the
criminal enterprise pursuant to the secret MOU, rather than using them for construction, infra.
28
   The conspirator’s first plan was to extort a purchase of the first lien from Steadfast on the cheap, fabricate grounds
to use the first lien to foreclose and wipe out Alvarez’ second lien, and get the property nearly free that way. See e.g.,
Exhibit 19. Fisher allegedly had some equity in the property, prior lenders had supposedly taken a loss, and Alvarez’
$2.25m lien was going to be wiped out, so the conspirators would have acquired the property unburdened by over five
million dollars of equity or debt. However, Steadfast refused to betray Alvarez or participate in the conspirator’s
scheme.       Thereafter, the conspirators moved to Alvarez instead and tricked him into turning on Steadfast with
frivolous claims to obscure the truth and prolong the extortive litigation, and then fabricate new sham transactions to
try to steal the property, infra.
29
   See e,g, Exhibit 101, 111 – complete outright fabrications.

                                                           32
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 33 of 146




allegations and tried numerous scams out of court to try to destroy the liens against the

property they secretly owned.30

57.     Shahnaz Choudhri a/k/a Shanaz Akter, Texas REIT, LLC, North Office Tower, LP,

Worldwide Lending Fund LLC all agreed to this scam and endorsed the secret assignment

to benefit from the fraud on Steadfast and secretly extinguish their debts to Kelley. Exhibit

A, B(a-c).



The Fifth Scam: Attempted acquisition of the first lien by extortion, use it to wipe out
the second lien and acquire the property.

58.     Originally, the Enterprise wanted to acquire the first lien from Steadfast on the

cheap and use it to wipe out the other liens through a fabricated foreclosure. Exhibit 19.

When Steadfast refused to participate in their scam, they switched tactics again, infra.



The Sixth Scam: Contacting the Steadfast Lenders directly, to defraud them behind their
attorneys’ backs and dupe them into turning on the other Steadfast lenders

59.     Kelley and Fraga knew that the Steadfast Lenders were represented by counsel.

Kelley and Fraga secretly owned Steadfast’s borrower, 2017 Yale, supra, and were

pretending to be counsel for 2017 Yale suing the Steadfast Lenders. Exhibit 18. Despite

all that, Fraga sent the represented Steadfast Lenders a secret letter, without copying their


30
  The Enterprise caused frivolous litigation, mandamuses, attempted recusals, and appeals including the following,
none of which ever adjudicated any tort claims raised herein on the merits, as the Enterprise concealed evidence and
argued successfully against joinder of any such tort claims against them: 01-19-00463-CV; 01-19-00499-CV; 01-19-
00555-CV; 01-19-00726-CV; 01-19-00793-CV; 01-20-00027-CV; 01-20-00133-CV; 01-20-00134-CV; 01-20-135-
CV; 01-20-00188-CV; 01-20-00189-CV; 01-20-00190-CV; 01-20-00480-CV; 01-20-00481-CV; 01-20-00482-CV;
2016-64847, in the 190th Civil District Court of Harris County; 2019-23950, 2019-59191; 2019-51432 in the 125th;
03-19-CV-00249 in the Southern District, Galveston Division; 21-40365 in the Fifth Circuit; 119110044885 in Harris
County Justice Court 115005 in Harris County Court at Law.

                                                        33
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 34 of 146




counsel, trying to get some of the lenders to fall for their deceptions, ‘flip sides’ and turn

on the other lenders and Steadfast. Exhibit 19b. This is what they later did to Alvarez, a

disastrous decision for him, infra. They typically use such tactics create so much confusion

and corruption in their cases that they get away with fraud all the time. This time, the

Steadfast lenders could not be duped or corrupted, and had the grit to fight through to

ultimately prove the truth.

The Seventh Scam: The Alvarez Deception

60.     When they couldn’t get Steadfast to participate in their scam against second lien

holder Alvarez, the Yale Criminal Enterprise instead tricked Alvarez into a massive, almost

unbelievable disaster. They tricked Alvarez into ceasing communications with Steadfast

and his own attorneys, ceasing prosecuting his foreclosure against the Enterprise, and

dropping his lawsuit against his borrowers. They tricked him into hiring Kelley and Fraga

as his lawyers (without disclosing that Kelley and Fraga secretly owned and controlled his

collateral and debtors; without disclosing that they had a secret deal with Fisher to defraud

Alvarez; and without disclosing that they had first tried to get Steadfast to sell Alvarez

out). 31 They tricked Alvarez into releasing his two and a quarter million-dollar lien against

the Property they secretly owned, and releasing the personal guaranty against Fisher, their

other client. They tricked him into releasing all of his claims against Kelley, Fraga, Parker,

Jetall, Choudhri, 2017 Yale, 829 Yale and Fisher, the people who defrauded him and

defaulted on his loan. They tricked Alvarez into quitclaiming his interest in the property to


31
  Kelley tricked Alvarez into signing an arbitration agreement, so presumably they are now engaged in that forum,
together with likely bar and judicial complaints.

                                                       34
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 35 of 146




their secretly owned entity, 2017 Yale, without even telling their own client that he was

actually giving the property to them. They tricked him into flipping sides in the suit, and

suing Steadfast and his prior lawyer on baseless claims instead (subject of course, to a 45%

contingent fee). See Exhibits 18, 19, 29, 44, 45, 46, G. They induced Alvarez into

defaulting on his own obligations to Steadfast. Id. They tricked him into doing this all for

no consideration. Id. Their trickery and his releases precluded causation of any damages

by Steadfast or Alvarez’ prior attorney (Aycock) as a matter of law, even if Steadfast had

ever done anything wrong. See e.g. Exhibit 174. Of course, they lost all of those frivolous

and fraudulent claims for Alvarez, exposed Alvarez to criminal liability for the fraudulent

lien releasees and other documents they induced him to sign, and subjected him to a civil

judgment of over eight million dollars against his company D&A Alvarez, See e.g. Exhibit

92, infra.   However, this deception relieved the Yale Criminal Enterprise of over two

million dollars of debt, and from tort and debt claims by Alvarez. This deception caused

massive confusion in the Courts.

The Eighth Scam: The Tax Lien Scam.

61.     The Yale Criminal Enterprise secretly formed another sham company (‘Tax Relief,

Inc.” in Wyoming) as a straw man. Exhibit 81-83, infra. Fraga incorporated it and was its

president. Id. They declined to authorize the sham company to do business in Texas to

keep its identity secret and confuse it with the real “Tax Relief, Inc.” which knew nothing

about it. Id. Exhibit 170. Fraga and Kelley tricked their new client, Alvarez, into giving

them another two hundred plus thousand dollars to pay delinquent Harris County property

taxes owed by 2017 Yale on the collateral. Id. However, instead of extinguishing the tax

                                            35
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 36 of 146




lien as legally required, by having 2017 Yale use the money to pay the taxes directly, they

instead had Tax Relief, Inc. secretly pay the taxes using Alvarez’ money. This sham

arguably created an assignable (though fraudulent) tax lien instead of extinguishing the

lien. Id. 32 But for fraud, which they felt no one could prove, the tax lien would be superior

to Steadfast’s lien. They caused 2017 Yale (using Parker again) to assign the fake tax lien

to the fake Tax Relief, Inc., which they then intended to use to secretly foreclose the

fraudulent but legally superior tax lien held by Fraga’s sham company. This scam would

arguably wipe out Steadfast’s first lien, giving the Yale Criminal Enterprise title to and

possession of the property. 33 Id.               They would have then quickly found or fabricated a

“bona fide purchaser” before Steadfast or the Courts learned of the fraud, and denuded the

funds, the liens, and rendered Steadfast’s remedies useless. Id. Steadfast discovered the

scam and prevented that scam from being consummated. Id. Ultimately, when Alvarez

became a whistleblower and fired Kelley and Fraga as his lawyers, his new counsel

released the fake tax lien. Id.

The Ninth Scam: The Tort Severance/TCPA sanctions scam.

62.      During the litigation, Steadfast became aware that the Jetall deed transfer and some

of the early defaults were also likely tortious, even though the Enterprise concealed or

spoliated all of their documents, refused to produce any documents, convinced the court to



32
   Kelley, Fraga and Parker perjured themselves on this point too, claiming that 2017 Yale took a loan and
extinguished the tax liens in deposition, infra.
33
   In theory, a superior lienholder owes a subordinate no notice of foreclosure. Steadfast busted that scheme, but the
190th refused any of Steadfast’s related relief requested. Steadfast sleuthed out the scam and shed light on it,
preventing it from going forward. When Alvarez finally figured out how badly he had been defrauded, he fired Kelley
and Fraga, gained control of Tax Relief, Inc., and released the fraudulent tax lien to avoid civil and criminal liability
as he became a whistleblower.

                                                          36
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 37 of 146




deny Steadfast’s motions to compel, and perjured themselves to cover up the truth. Exhibit

170. The Steadfast Parties attempted to assert the tort claims they had become aware of

in 2019 as counter and third-party claims in the frivolous suit by the Criminal Enterprise.

Id. See also the massive trial court record in the 190th, Cause No. 64847. However, the

Enterprise convinced the 190th to force Steadfast’s tort counter and third-party claims into

the 125th District Court of Harris County, Texas, instead of being heard together with the

note default counterclaims, and the baseless tort claims the Yale Criminal Enterprise had

fabricated against Steadfast to obstruct foreclosure and bury their fraudulent conduct. Id.

The Enterprise ‘somehow’ “convinced” the 125th to arbitrarily and ex parte award them

nearly seven million dollars in absurd sanctions and fees, mere three weeks into that case,

in the middle of trial preparations for the 190th, in spite of clear and convincing undisputed

evidence proving Steadfast’s claims, and without any supporting pleadings or evidence of

their own.    Id.   The Enterprise and 125th accomplished this farce through proven

misconduct ultimately resulting in the proper disqualification and recusal of the Judge of

the 125th after a lengthy trial by the Honorable Judge Susan Brown. Exhibits 90,91,170.

That disqualification order renders that judgment void. Id. Carter is one of the three judges

already disqualified, forced to recuse, or forced to resign so far, supra.

The Tenth Scam: The Fraudulent Transfer of Collateral to Kelley’s Fake Trust.

63.     After causing Steadfast over a million dollars in unnecessary legal fees, the Yale

Criminal Enterprise lost summary judgments on the contractual debt default, and all of

their fake tort claims and defenses against Steadfast in the 190th.          During Steadfast’s

damages trial on 2017 Yale’s liability for the contractual note defaults, the conspirators

                                              37
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 38 of 146




caused 2017 Yale to secretly fraudulently transfer its only asset (Steadfast’s collateral, the

property at Yale), again, this time to a fake “trust,” which they attempted to paint as a ‘bona

fide’ purchaser. Exhibit G, 86(a-v), audiotapes B(a-c), infra. Still concealing the true

ownership of 2017 Yale, the fake grantor, they bribed Defendant Fugedi to join the

Enterprise as a fake Michigan trustee, to be a fake grantee. Elberger, Herman, Lopez all

created or participated in fake beneficiaries and settlors of this fake trust and the Transact

Title Defendants deliberately circulated the fraudulent documents, obtained the fraudulent

title policy, and prepared a fake closing. Id. Steadfast regularly reviewed the real property

records for new scams committed by the Enterprise, and thus discovered the secret transfer

during trial. Exhibit 86(o), 102, starting page 78, infra. Kelley, Fraga, and Parker perjured

themselves in the 190th, claiming that they had nothing to do with that secret transaction.

Id. They also bribed and defrauded Alvarez into executing a fraudulent release of

Steadfast’s lien, and used that ineffectual fake document to try to spring the entire fake

transaction, attempting to make the fake trust a bona fide purchaser free of Steadfast’s lien.

Exhibit G, 86(a-v), infra. The Enterprise fraudulently obtained a title insurance policy with

Transact Title and First American and used that together with a fraudulent title abstract by

Huebner to fabricate a quiet title claim in federal court in Galveston. Id. See e.g. Exhibit

86(a-v), 95, 94 v. 115, infra.

64.      The Enterprise had 2017 Yale secretly give away a deed to its only remaining asset,

the property at 829 Yale, to Kelley’s fake trust, with Fugedi posing as the fake trustee. 34


34
  This transfer is also a felony by Kelley, Choudhri, Parker, 2017 Yale, Fugedi, the fake trustee, and numerous others.
See Penal Code § 32.33, infra. See also Exhibits 11b, 20e, 88, 89, G, 102.

                                                         38
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 39 of 146




CHOUDHRI: “how is the trust, the pura vida or whatever it is, gonna deed the property back to
          me? How is that going to happen?
KELLEY:   “it’s not…”

CHOUDHRI: “but I thought we were moving it to protect it and it would be deeded back”

KELLEY:       “we moved it so that [Steadfast] couldn’t get it.” B(B) 11:18; Pg. 19-20. Exhibit
              B authenticating.


        Criminal and fraudulent intent confirmed.

65.     The trust scam was more than just a fraud on Steadfast, Alvarez, and the Courts.

When the Enterprise lost the loan default summary judgments and all of their fake tort

claims and defenses, Kelley began arguing with Choudhri about the secret assignment of

2017 Yale in exchange for canceling Choudhri’s prior debt to Kelley. Exhibits B, B(a-c).

Obviously, the Yale Criminal Enterprise had only been successful in defrauding Steadfast

and causing Steadfast damages, but had not been able to steal title to the collateral.

Suddenly, Kelley didn’t like that crooked deal anymore, and regretted extinguishing $3

million in debt to Choudhri and his family and companies, in exchange for Yale. Id. By

(illegally) putting the property into his “fake trust” during trial, Kelley was also gaining

leverage against Choudhri. Id. This was Kelley’s attempt to benefit the most from the

Yale Criminal Enterprise, if the Enterprise was ultimately successful in stealing the

collateral or extorting a settlement. Id.

66.     The new whistleblower evidence filed herewith exists because Choudhri was having

his conversations with Kelley taped, for use against Kelley to threaten his law license, after




                                             39
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 40 of 146




they stole title to Steadfast’s collateral. 35 Id. They were fighting over which of them would

benefit the most from the Criminal Enterprise’s fraud on Steadfast. Id.

The Eleventh Scam: Perjury and fraudulent documents to fabricate a claim of bona fide
purchaser by the fake trust.

67.      Still being defrauded as to the extent of the Criminal Enterprise, Steadfast

discovered the fraudulent transfer of Steadfast’s collateral during the 190th note damages

trial. See Exhibit 102, starting at pg. 78. Parker maintained the fiction that he owned Yale

under oath again. Id. Kelley and Fraga claimed on the record that they were not involved,

and that the fake trust was a bona fide purchaser. See Exhibit 102, 88. That argument was

frivolous on its face, because the transfer was expressly prohibited by Steadfast’s prior

recorded Loan Documents, which had just been adjudicated to be valid, binding, in default

by 2017 Yale, without excuse. See Exhibit 11b, 20e, 88, 92. Steadfast’s Deed of Trust and

Collateral Transfer Loan Documents precluded any of these transactions, all of which are

felonies. Basic title law precluded “bfp” status to Fugedi. 36 Id. However, the fraudulent

lien releases they induced and bribed Alvarez to sign, together with the fraudulent title

abstract, formed the basis of their subsequent frivolous litigation to cloud Steadfast’s title

and preclude Steadfast from mitigating its damages, even to this day. Exhibit G, 86(a-v),

94.




35
   The 190th declined Steadfast’s motions to compel discovery, limited Steadfast’s requested deposition time, and
Choudhri, Parker, Appellee, Kelley and Fraga concealed all relevant evidence from Steadfast and the Courts in every
case involving this Property, even after mandamus. The Enterprise also violated a Restraining Order requiring them
to produce such documents. Exhibit 98. Choudhri repeatedly blames Kelley on tape for having Parker perjure himself
and repeating that the fake trust scam was Kelley’s idea, through Choudhri admits participating in the scam.
36
   As ultimately confirmed by the Federal Court in Fugedi, Kelley’s fake trustee’s frivolous federal quiet title action.
See Exhibits 88, 89. See also Exhibits 11b, 20e.

                                                          40
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 41 of 146




68.     On discovering the fake trust transfer, the 190th took Parker under oath, and also

questioned Kelley and Fraga about that transfer, on the spot. See Exhibit 102, starting at

pg. 78. Kelley told the 190th:

        “I did not handle the transaction.” Id at pg.80.

        That was an outright lie.

69.     The 190th had already adjudicated that 2017 Yale borrowed six million dollars, and

never paid a cent back. See e.g., 190th MSJ Number 6 and Order, 92. 37 The 190th had

already adjudicated that 2017 Yale defaulted by abandoning the Property, failing to make

its payment, failing to use loan money for construction, failing to pay its vendors, property

taxes or insurance, and other defaults. Id. The 190th already adjudicated that the defaults

by 2017 Yale were without excuse. See Summary Judgment pleadings, and Final Judgment,

Exhibit 92. The 190th had already adjudicated all of the Yale Criminal Enterprises’ tort

claims and contract defenses against Steadfast were baseless as a matter of law and

undisputed fact. Id. Steadfast had already proven that the only assets 2017 Yale ever had

were the (fraudulently induced) title to the collateral at 829 Yale, and the money that

Steadfast loaned it. Id. See also Exhibit 35,35c, 102. 38 This was all known by the Yale

Criminal Enterprise by the time 2017 Yale fraudulently transferred Steadfast’s collateral

to their fake trust during the damages trial. 39



37
   The Enterprise also stole funds from its own construction contractors. Question: Have you ever made any effort to
pay any of those mechanic’s and material lien vendors on this property? Parker: That wouldn’t make business
sense, so no.” Exhibit 35c, pg. 89
38
   See Exhibits 11e, 55, 15, 17, 35.
39
   Though the 190th declined to allow Steadfast’s tort counter and third-party claims in that cause number, the
undisputed evidence was of record. However, due to the total lack of honesty by the Criminal Enterprise, most of the
evidence was concealed until the recent whistleblowers came forward.

                                                        41
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 42 of 146




70.      Brad Parker, standing right beside Kelley and Fraga in the 190th, admitted that the

property at 829 Yale was 2017 Yale’s only remaining asset and that it received no

consideration for the transfer. Exhibit 102, infra. All of the elements of fraudulent transfer

are judicially admitted, though not allowed to be adjudicated. 40

71.      In fact, Kelley had personally drafted and circulated the void fraudulent transfer

deed to his sham trust. See Exhibit 86(a-v), Exhibit G. Kelley personally drafted and

circulated the illusory fake note and assignment to his purported client, Alvarez (which

was never signed, honored, or paid). Id. Kelley personally drafted and circulated the fake

real estate sales contract. Id. He personally drafted and circulated the fraudulent Alvarez

release of lien. 41 Id. He personally drafted and circulated the fake assignment. Id. He

personally arranged for his friends, Robert Elberger, Ed Herman, and Norma Lopez to help

set up a sham LLC to be the secret settlor and beneficiary of his sham trust. Id. Kelley

personally selected and bribed Fugedi, who was a friend of his from Michigan, to be the

fake Trustee, presumably to manufacture diversity to get into federal court to try to enjoin

Steadfast’s foreclosure again. Id. He personally attended the meeting inducing Alvarez




40
   Exhibit 102, the trial transcript, proved that 2017 Yale received no consideration, did it to avoid judgment, and the
transfer rendered it insolvent. The federal case thereafter proved all the elements again as part of the quiet title defense,
and adjudicated that Steadfast’s lien was superior. See Federal Judgment quieting title in Steadfast, Exhibit 88, 89.
41
   The Enterprise needed something to support the “bona fide purchaser” argument for his fake trust. Alvarez had
conditionally acquired Steadfast’s first lien subject to Steadfast’s superior rights, but defaulted due to Kelley and
Fraga. He had no right to release Steadfast’s lien (Exhibit 11b, 20e, 88, 89), but Kelley bribed and induced Alvarez to
execute and record a fraudulent lien release anyway. The Enterprise claimed that fraudulent release functioned to
make Fugedi and the fake trust a bona fide purchaser, and justified the fraudulent title policy. That release is also a
felony under Penal Code 32.33. They also used this fraudulent lien release with the help of the title company in issuing
a policy. They filed a fraudulent title abstract, in two courts, deliberately omitting the valid, prior recorded loan
documents that were just adjudicated herein, to try to make that “bfp” argument. See Exhibits 88, 99.

                                                            42
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 43 of 146




to enter into this transaction with his other conspirators, right before the 190th damages

trial. Id.

72.        Kelley still did not disclose to his own client at the time (Alvarez), whom he was

swindling yet again, that Kelley secretly owned the property. Id. Choudhri knew about

the entire fraud, participated in it, and perjured himself about it. Exhibit B, 120. Choudhri,

Parker, Fugedi, and others also participated in it and perjured themselves in furtherance of

the conspiracy in Kelley and Fraga’s presence, because he was bribed to do so. Id. See

also e.g. 35, 35c, 121, 122, infra.

73.        The fraudulent transfer not only operated as a fraud on Steadfast, it was also a fraud

on the Court (the Court thought it was adjudicating the liens such that the collateral could

be foreclosed; Alvarez was expressly enjoined from selling the property, and the Court had

verbally ordered the conspirators to preserve the property status quo). 42

 74.       After lying about his involvement to the 190th, Kelley said that he was not even

familiar with the details, when in fact, he had just held meetings and drafted the documents

himself and paid the bribes not two days before. Id. Kelley responded to the Court’s

question as to who took the title with: “it’s called Caribbean or Carribe something trust…

Carribe carribbita trust holds it for a company who’s owned by a gentleman named Robert

Elbert who is in Costa Rica.” Exhibit 102 at pg.80, 84.

75.        After telling the 190th that: “I did not handle the transaction,” Exhibit 102 at pg.

80, Kelley lied again when the 190th asked him: “Were you part of forming this entity?



42
     See Exhibit 21, versus 88; The 190th otherwise denied all of Steadfast’s motions to try to protect the property.

                                                            43
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 44 of 146




Mr. Kelley: No.” Id. The Court asked “are any of you part of that entity? Kelley and

Fraga both answered: “No sir.” Id at pg. 79. The Court again asked Mr. Kelley if he was

the lawyer, and Kelley misled the Court again: And are you the lawyer, Mr. Kelley? Mr.

Kelley: “I’m the lawyer for David Alvarez,” omitting the truth. Id at 83.

76.       Kelley’s fake trust didn’t pay 2017 Yale or Parker anything for the fraudulent

transfer. See Exhibits 88, 89, 102. Kelley and Fraga were the ones in the courtroom who

knew those answers, but they lied:

Ali Choudhri:         “you knew because of my divorce, who owned 2017 Yale from the outset…
                      24:09…. I had Brad as my proxy in front.” B(A) 24:24; Pg. 36, 43-5.
Lloyd Kelley:         “I OWN 2017 Yale! B(A) 5:13, Pg. 3, 8-9.
Ali Choudhri:         “why did you have Brad testify that he owns and controls?” B(A) 22:24.
Kelley:               “I don’t give a fuck what Brad testified to!” B(A) 22:28.Pg. 33. “because
                      its MINE! Because 2017 Yale was mine, not yours!” B(A) 33:17; Pg. 49.
Kelley:               “Brad was a front guy” B(A) 31:03. Pg. 45.
Choudhri:             “You knew that all along” B(A) 31.04. “Why did you let brad testify the
                      next day?” B(A) 29:57.
Kelley:               “He just testified that he was the authorized rep, that’s all he testified to.”
                      B(A) 5:40. “He didn’t testify he owns it, he said I’m an authorized agent”
Choudhri:             “That’s not what he said, Kelley, you told him to say that he owns it and
                      he manages it, that’s what you told…” B(A) 31:03.
Kelley:               “He never said the word owns” B(A) 24:24; Pg. 36, 43-5.
Choudhri:             “Yes he did, you told him to say that he owns it and he manages it. He
                      said he’s the only … You told him to say that. Lloyd, I’m telling you, you
                      said that” B(A) 31:14, Id. Exhibit B.

77.       In fact, Brad Parker, with Kelley and Fraga present and making objections and

instructing him throughout the deposition, did testify under oath that he owned 100% of

2017 Yale in 2019:

“How is 2017 Yale affiliated with Jetall?
I'm affiliated with Jetall, and I own the company. Exhibit 35 at Pg. 35-6.

“Who is Yale development GP llc?
It’s an affiliated company. 2017 Yale development has – record owner…one is tied to the other.
I own both entities. Id at Pg. 234.


                                                44
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 45 of 146




Are there any other members of either LLC?
No. I'm -- I'm the sole member of both.    Id.

78.       Kelley and Fraga objected for Parker immediately before and after this testimony,

at pgs. 232 and 235, and throughout the case, without clarification.

79.       Parker perjured himself because he was bribed by Kelley, Fraga and Choudhri, who

promised to actually give Parker some of the membership interest:

Choudhri:                 “you wanted Brad to testify that to be representative for 2017, you did not
                          want 2017 Yale to show….” Exhibit B(A) 5:25.

Kelley:                   “Brad didn’t want to show up, and you talked about giving Brad 5% or 10%
                          which I thought was a great idea, so he's getting his 5 or 10%, so he stays
                          in. ” Exhibit B(A) 3:41. Pg. 7-8.

KELLEY:                   “… I told you this is no good if Brad's out of the picture. No good. if Brad
                          doesn’t have ownership, these claims are worthless. Exhibit B(c), Pg. 3-5.

CHOUDHRI:                 “brad never had ownership” Exhibit B(c) 0:19.

FRAGA:                    “what does that do with the tax lien because brad transferred it and the
                          secretary of state still shows brad parker on it?” Id.

80.       Choudhri also perjured himself in Kelley and Fraga’s presence:

          Q. You're affiliated with 2017 -- MS. FRAGA: Objection. Form. - Yale
          A. CHOUDHRI: No.
          Deposition of Ali Choudhri, Pg. 209, ln 5-8; Exhibit 120.

          Q. (STEADFAST COUNEL): Do you have any right to control anyone that's
          associated with 2017 Yale Development LLC?
          A. No. MR. KELLEY: Objection Form…. MS. FRAGA: Objection Form.

          Deposition of Ali Choudhri, Pg. 210, Ln 3-7,9; Exhibit 120. 43




43
  Just as Fisher made a farce out of his deposition, so did Choudhri. See Exhibit 120, including some example video
excerpts attached. Choudhri couldn’t be bothered not to check his phone on the record, and found the whole case
uncontrollably funny, despite his having ruined dozens of lives in this case alone.

                                                        45
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 46 of 146




The Twelfth Scam: The Fraudulent Title Abstract and Frivolous Federal Suit.

81.        After notice of their frivolous appeal in the 190th, supported by another fraudulent

affidavit by Parker, Kelley and Fraga had their fake Trustee Fugedi file a frivolous Petition

to quiet title against Steadfast in the Southern District of Texas, Galveston Division,

seeking to enjoin Steadfast’s foreclosure again, and quiet title in the fake trust. Exhibit

170. Quieting title was the only claim and counterclaim in that Court, the conspirators still

concealing all of their crimes, torts and the true ownership of the parties. Id. The 190th

had just adjudicated that Steadfast’s lien was valid, in default, without excuse, and the

Enterprise admits on the whistleblower tapes that the whole case was a fraud, infra.

82.        That Court properly declined the Criminal Enterprise’s restraining order, despite the

Enterprise hiring thirteen lawyers to present the case and attend hearings, and ultimately

adjudicated title to the collateral in favor of Steadfast after much delay, confusion, and

expense. Exhibit 88, 89.                However, that suit remains a cloud on title due to the Yale

Criminal Enterprise’s frivolous appeal and fraud on the Fifth Circuit, and has prevented

Steadfast from selling the collateral for value, causing further millions of dollars in

additional damages to date, in excess of the stolen principle, including interest,

maintenance, security, legal fees, insurance, broker’s fees, and other costs. Exhibit 170.

The delay and additional damages were caused in part by conspirators filing a fraudulent

title abstract, fraudulent lien releases, and making clearly frivolous claims, which

deliberately omitted Steadfast’s key valid, prior recorded Loan Documents. 44 Id. Their



44
     See Exhibits 88, 94, 115, 20e, G, infra.

                                                       46
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 47 of 146




abstract deliberately omitted Steadfast’s liens, which Kelley, counsel, and the fake Trustee,

all knew were properly recorded and rendered the clearly fraudulent transfer void, supra.

They also knew the 190th had just adjudicated them to be valid, in default, without excuse,

supra. They knew that Steadfast had already foreclosed on the collateral, and yet told the

Federal Court that no liens existed, using a fraudulent abstract, infra. Id. All of their

evidence submitted was fraudulent and perjurious.

The Thirteenth Scam: The frivolous Eviction Case, also based on the fraudulent title
abstract.

83.      The Yale Criminal Conspiracy also filed a frivolous forcible entry and detainer

action against Steadfast’s security guard company protecting the property. Id. They filed

that suit in the Justice Court presided over by the brother of the disqualified Judge Carter

in the 125th. 45 Id. The fake Trustee, Plaintiff in that fraudulent case, never had any landlord

relationship or any other rights in the property, clearly had no standing or grounds for a

writ of possession. Id. That Court clearly lacked jurisdiction, as a Justice Court cannot

award possession while a federal Court is adjudicating title.                           Id.    Nonetheless, the

conspirators obtained a groundless writ of possession, which they would use to obstruct

any attempted sale by Steadfast, show to law enforcement to allow them wrongful access

onto the property, and to generally harass Steadfast and delay Steadfast’s proper recovery.

Steadfast had to post bond and appeal. Id.

84.      The Enterprise filed the fraudulent title abstract omitting Steadfast’s recorded Loan



45
  Judge Carter in the 125th had to be properly recused and disqualified for arbitrarily and ex parte granting baseless
sanctions and rulings, and other misconduct or appearances of impropriety associated with the cases in the 125th. See
Exhibit 90, 91.

                                                         47
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 48 of 146




Documents in the County Court appeal of that writ of possession as well. Id. That county

court, presided over by the now disgraced former Judge Barnstone, also clearly lacked

jurisdiction, but nonetheless forced a sham trial, issued an absurd order sanctioning

Steadfast without due process in what appeared to be another ex parte “setup,” and

Steadfast was required to mandamus and file an interlocutory appeal in that Court as well. 46

Id. The First Court of Appeals recently ruled that Carter and Barnstone lacked jurisdiction,

the disgraced former Judge Barnstone’s attempted sanctions against Steadfast void, and

affirmed Steadfast’s appeal. Id. See Exhibit 180. The conspirators were again abusing

another Court as a tool to help commit their fraudulent schemes. 47 Id. Just days ago, the

Enterprise filed a dilatory motion to extend their deadline to file a frivolous motion to

reconsider that clearly proper decision, for the sole purpose of obstructing and hindering

Steadfast’s ability to sell the collateral property and mitigate its damages. Id.

85.      The new whistleblower evidence also reveals judicial admissions that the Yale

Criminal Enterprise knew that 2017 Yale’s and Conspirators’ claims and defenses in all of

the courts were frivolous. Conspirators’ cases all stood upon the fraudulent testimony of

Choudhri and Brad Parker, as presented by Kelley, Hill, and Fraga, as well as the fraudulent

affidavits of Parker, Huebner and Fugedi. The entire suite of litigation was a fraud, based

solely on fraudulent lien releases, deeds, and title abstracts. All of the parties to all of the

transactions were Defendants, members of the Yale Criminal Enterprise.

Choudhri:                  “transferring the property to the trust was stupid. I did it because you
                           forced me to do it.” Exhibit B(A), P.49 Ln. 1-5.

46
  Neither Steadfast nor Counsel has ever been involved in a mandamus before these cases.
47
  It must be noted that the conspirators filed all these suits, chose all these venues, and argued against consolidation
by Steadfast every time.

                                                          48
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 49 of 146




Kelley:                      “Because 2017 Yale was mine!” Id.

Choudhri:                     “You don’t own 2017 Yale, I didn’t agree to even transfer the interest
                              that you told me to transfer to the fucking trust, I thought that was a
                              stupid idea, in the middle of trial, transfer the property.” B(A) 7:20.

Kelley:                      “it was a brilliant idea!” B(A) 7:23.

Choudhri:                     “You knew because of my divorce 48, who owned 2017 Yale from the
                              outset, you knew that Lloyd, so don’t go there… B(A) 24:09…. because
                              of the divorce I had Brad [Parker] as my proxy in front. You know that.”
                              B(A) 24:24. “why did you have Brad testify that he owns and controls?”
                              B(A) 22:24.

Kelley:                      “I don’t give a fuck what Brad testified to!” B(A) 22:28, Pg. 12.

Kelley:                      “[Parker] was the front guy” Id at 43, Ln. 4. 31:03.

Choudhri:                    “I thought we were moving it to protect it and it would be deeded back.”

Kelley:                      “we moved it so that [Steadfast] couldn’t get it.” Exhibit B(B)11:18 Pg.
                             20, Ln 11-14.


See certified transcripts, Supplemental Exhibits B(a-c) to the audio, and Appendix attached as
Exhibits B(a-c); Declaration of Wyatt, Exhibit B.; Secret Kelley Assignment, Exhibit A; Pabeshan
Certificate proving Kelley’s ownership, Exhibit 106. This evidence was not discovered until 2021
after all of the trials, due to fraud, discovery abuse, and spoliation by Conspirators and Counsel.


86.        They knew that they had no right to the property. They knew the eviction Court had

no jurisdiction. They knew they had no legitimate claim to title:

                    KELLEY: “…Ramey [Steadfast] owns the whole thing and we're done… I'm
                    spinning my wheels with a whole lot of lawyers and it's over. Exhibit B(c)
                    Pg.13, Ln.10-14. 49

87.        The Yale Criminal Enterprise asserted throughout the cases that Brad Parker owned

all of the membership interest in 2017 Yale at all relevant times. They also claimed that



48
     Choudhri initially bribed Parker to front for 2017 Yale because he was defrauding his wife in divorce court.
49
     This admission predates the final rulings by a year and another million dollars in fees and expenses.

                                                           49
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 50 of 146




Fugedi was a real trustee and bona fide purchaser, when in reality they bribed him with

five thousand dollars to act as Kelley’s sham Trustee. 50 Lloyd Kelley secretly owned and

had Elberger and Herman form Carb Pura Vida, LLC, posing Norma Lopez as the fake

owner, pretending to be the settlor and beneficiary of the Enterprise’s fake trust. Id. Lloyd

Kelley secretly owned 2017 Yale, Steadfast’s borrower, which defaulted on Steadfast’s

loans. 51 Kelley, Choudhri, Parker, 2017 Yale and Counsel misrepresented to Steadfast, the

Secretary of State, and Courts, under oath, that 2017 Yale was owned by Parker, in order

to perpetrate fraud. 2017 Yale is Fugedi and the fake trust’s grantor.

88.        Kelley acted as counsel against Steadfast, representing Fisher, 2017 Yale, Alvarez,

and Choudhri whenever convenient for the Enterprise. 52 When 2017 Yale lost 53 in the

190th District Court, Kelley secretly created the fake “Carb Pura Vida Trust”; formed a

sham “Carb Pura Vida, LLC” as fake beneficiary; and bribed Fugedi as fake trustee, to

avoid judgment and manufacture diversity to delay foreclosure further. 54 Kelley and


50
  Exhibits G, 86(a-v).
51
  Exhibit A: “Whereas Parker desires to assign 100% ownership interest to PaBeShan Castle, LLC in 2017 Yale
Development, LLC…. Which own a property known as 829 Yale Street…” [signed by Parker and Choudhri
individually and for 2017 Yale, and Kelley individually and for Pabeshan]. Pabeshan was just another front;
“Pabeshan? You’re crazy. Pabeshan is not involved in that at all.” CHOUDHRI: “before me and you went to
Pakistan, I transf…” KELLEY: “you transferred 2017 Yale to me” CHOUDHRI: “yes” B(C) 16:20. Exhibit B(c)
Pg. 28, Ln 1-4.
52
  None of the conspirators had any respect for any Court’s ability to administer justice, nor concern that they were
robbing Steadfast and their construction contractors. They’ve even sued each other claiming fraud. Exhibit 103.
These lawyers generally played a shell game on who they represented when, going back and forth, etc.
53
     Exhibit 102, pg. 78; Exhibit 92; Exhibits 90-91.
54
  Exhibit 86a “Lloyd, I did not compare the trust that you sent… Lloyd, I have attached the… Trust agreement…”
86b:”Lloyd – Here is the…acknowledgment that CARB pura vida, LLC is in existence…”; 86C:”Carb Pura Vida
Trust, is one of Lloyd’s friends.”; 86d:”These are the final docs Lloyd reviewed.” Exhibit G. “Neither the Carb
Pura Vida Trust nor 2017 Yale ever paid anything for the property or to Steadfast”; Kelley and Fraga, told me they
had devised a stratagem … to prevent Steadfast from being able to foreclose on the Property. They began working
together … to avoid the judgment … by transferring the Property to the “Carb Pura Vida Trust…and …handle


                                                        50
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 51 of 146




Counsel fabricated frivolous claims, attempting to paint the scam as a bona fide transaction.

Kelley secretly controlled both sides of the transaction by which Kelley’s fake trust took
the void deed.

89.     Just as Jetall never paid a cent of the loans or for the property, other than the Fisher

bribe, 2017 Yale never paid a cent for the property, nor to repay the millions it borrowed

and stole from Steadfast. Similarly, Kelley’s fake trustee also never paid a cent for the

property, to satisfy Steadfast’s valid lien, or for the secret void fraudulent transfer deed into

the fake trust. Exhibit 86a-v; B, B(a-c), 102, C, G. It was a conveyance from one sham

entity to another under the Enterprise’s secret common control, without consideration,

rendering the sham grantor insolvent. Id. The transfer was made upon judgment against

2017 Yale, to avoid collection and delay foreclosure – a textbook fraudulent transfer.

The Fourteenth Scam: Bribing attorneys to file frivolous litigation based on fraudulent
documents and perjured testimony.

KELLEY:          “All of that is being held together because of me. All these lawyers are working
                 for me.” B(B) 14:00; B(B) Pg.23, Ln.18-20.

                 “I want to send a trust -- a piece of this case -- a piece of the company so those
                 lawyers can get paid.” B(A) Pg.42, Ln.20-22.

                 “…Ramey owns the whole thing and we're done… I'm spinning my wheels with a
                 whole lot of lawyers and it's over. B(c) Pg.13, Ln.10-14.

                 I can just focus on…2017 Yale, which I've got [Fraga]in…You haven't spent a
                 fucking dime, Ali. B(A) Pg.31, Ln.13-19.

                 This is coming down to me paying…and it's always been me. B(A) Pg.6, Ln.23-24.

                 “Marc Hill…is actually getting paid…because I paid him….” B(B) Pg.6,Ln.17-18.
Choudhri:        “I just want to have clarity on what we are doing” B(B) 3:00.
Kelley:          “Johnny Patterson, Michelle, me, Marc Hill. Marc is actually getting paid.”

the transaction from both sides.”; 86v: All conspirators received the fraudulent closing documents.


                                                        51
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 52 of 146




Choudhri:        “I thought marc is getting paid from the tcpa.”
Kelley:          “… he's getting paid because I paid him some money.” Id.



90.     Note: “the tcpa” referenced in this quote is the Ninth Scam, supra, using Judge

Carter in the 125th to grant fraudulent sanctions against Steadfast. Investigation is

underway.


91.     Neither 2017 Yale and Kelley’s fake trust, nor anyone in the Enterprise, ever owned

any legitimate interest, never hired Counsel, never paid fees, or anything else. Their

conduct reveals exactly how much respect they have for Courts to discern the truth and

administer justice. All Counsel should be disqualified and sanctioned for their misconduct



Conspirators and Counsel knew their litigation was frivolous; violated bar rules,
F.R.C.P., F.R.A.P., and criminal statutes. 55

92.     The Yale Criminal Enterprise knew their 190th litigation and all claims therein were

frivolous and based solely upon fraud. Their entire original case to enjoin Steadfast’s

foreclosure was founded upon frivolous allegations that Steadfast had made promises to

extend two notes, when the parties only closed one loan modification. The other main

fabricated claim and defense against the notes was that they were defrauded into thinking

the second lien was getting its maturity date extended. The tapes prove that they knew that



55
   2017 Yale’s defenses and claims alleged “failure to renew both notes” in the loan workout, trying to cover up the
fact that 2017 Yale simply stole the loan money and abandoned the property and loan. They claimed that Steadfast
quit funding loan draws, when actually, their own workers abandoned them and filed M&M liens because 2017 Yale
stole the loan money instead of paying them. This was a legally irrelevant argument, because legally the closing
eliminated any such claims by merger; and the undisputed facts proved them false in any event. However, now we
have judicial admission that the Enterprise knew they were false. See audiotapes and MSJ’s in the 190th.

                                                        52
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 53 of 146




both arguments were a joke from the start (along with the whole premise of the loan of

course):

Choudhri:        “they were supposed to extend the loan, they were supposed to extend the second
                 lien and the first lien…” B(A) 18:19. Pg. 27 e.g.
Kelley:          “ the problem is you didn’t have workers out there, they weren’t working on it,
                 you sat there.” B(A) 18:26.
Choudhri:        “you were making changes!” B(A) 18:32.
Kelley:          “I didn’t make changes you were! I didn’t tell people to stop working” B(A) 18:33.
                 “Brad just sat there and twiddled his thumbs for 4-5months and didn’t even pay
                 attention to the paperwork. Who doesn’t get a deal that says they're both extended?
                 Who doesn’t do that? In writing? It was in the closing documents!” B(B) 25:20.
                 Pg. 39.

Kelley:          “all of that is being held together because of me.” B(B) 14:00. Exhibit B.



93.       In fact, we now know that during that time period, the Enterprise was secretly trying

to defraud even more prospective lenders. While hiding Kelley’s ownership from the

existing lenders, they secretly told CBRE that Lloyd Kelley owned the property to try to

obtain more loans. The last fabricated claim and defense against Steadfast’s notes was the

claim that Steadfast couldn’t keep funding loan draws, which was legally irrelevant and

also proven false as a matter of undisputed evidence. However, in their emails to CBRE,

they also admitted that Steadfast was willing to continue funding loan draws but for the

Enterprise’s defaults, that Kelley was the one delaying construction to make penthouse

design changes to the property. These and other incredible facts only came to light after

the whistleblowers came forward. See e.g. Exhibit 13a22, infra.




                                                 53
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 54 of 146




94.       All of their litigation was a complete sham. 56

95.       The Enterprise knew their quiet title and forcible entry cases were frivolous as well,

all a part of the pattern of extortion, theft, and fraud:

Kelley:          “he [Ramey] got the property in November, because apparently, we screwed up on
                 the transfer to the trust and he's got case law that says we can’t put it in a trust[ee]”

Choudhri:        “why did we screw up?

Kelley:          “the title company screwed up 57…if that wouldn’t have happened he would have
                 already foreclosed on it…” B(B) 0:21. “… the property was transferred and was
                 transferred to a trust, and in Texas you can’t transfer property to a trust, and that’s
                 an issue of Texas trust law, and can’t get around it, and if it’s not, then the trust
                 never had the property, it was in 2017 Yale and it was foreclosed on, and it’s over.”
                 B(B) 20:24.

Choudhri:        “at the end of the day, how do we get the property back?

Kelley:          “I don’t know that you ever get it back. You have a damage claim against the
                 insurance company, you have a title policy from April 4th, what's your title policy
                 worth eight million dollars? You're going to get cash.” B(B) 2:27. 58

Kelley:          “Galveston? He [Judge Edison] wasn’t giving us crap, he’s got a judgment from
                 Miller, had a state court judgment that flat out says you don’t get it, so I don’t know
                 what you think something different would have happened or where you criticize
                 what we've done.” B(B) 22:20. Exhibit B. 59


96.       Defrauding the Courts and using them to further their Criminal Enterprise was

clearly part of the plan.

97.       In other words, Kelley knew that 2017 Yale’s transfer of title to his fake trust, and

fake trustee, Fugedi, was void from the start, making their fraudulent federal litigation even


56
   See certified transcripts, Supplemental Exhibits B(a-c) to the audio, and Appendix attached as Exhibits B(a-c);
Declaration of Wyatt, Exhibit B.; Secret Kelley Assignment, Exhibit A; Pabeshan Certificate proving Kelley’s
ownership, Exhibit 106. This evidence was not discovered until June and July of 2021 due to fraud and spoliation by
Conspirators and Counsel. It was disclosed by whistleblowers and admissible under F.R.A.P. 27(b) and the F.R.E.
57
   Actually, Kelley and Transact personally drafted the void deed and screwed it up, see Exhibit 86, G.
58
   They filed a suit against the title company too, Cause No. 2021-19648 in Harris County.
59
   They filed their frivolous federal suit in the Trial Court in the Galveston Division. This tape was made a year
before Galveston granted Summary Judgment on the title. Yet they knew their case was ‘crap.’

                                                        54
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 55 of 146




more obviously frivolous. Kelley also admits that the 190th’s Judgment flat out said the

trust doesn’t get the property; a position they frivolously argued against in the other cases

after these tapes. See Exhibit 88, 89. Kelley admits that the Conspirators’ case would have

been frivolous even if the whole transaction had not been a fraud, with Kelley owning both

sides of the transaction in which no money changed hands.


Choudhri:        “I thought we were moving it [the Property to Kelley’s fake trust] to protect it
                 and it would be deeded back.”

KELLEY:          “we moved it so that [Steadfast] couldn’t get it.” Exhibit B(B) 11:18. Pg.20,
                 Ln.11-14.
KELLEY:          “…we screwed up on the transfer to the trust and he's got case law that says we
                 can’t put it in a trust” Exhibit B(B) Pg.2, Ln.14-17.

Choudhri:        “… how do we get the property back?

Kelley:          “I don’t know that you ever get it back.” B(B)2:27. Exhibit B(B) Pg.5, Ln.1-7.



98.       Everyone knew Steadfast had a valid superior recorded Deed of Trust, Collateral

Transfer of Note and Lien (“CTNL”), held the original Promissory Note – and that

Steadfast retained superior right, title and interest to Fugedi, and the right to foreclose

against Fugedi and 2017 Yale. They knew the law and the documents precluded Alvarez

from releasing Steadfast’s lien, and precluded 2017 Yale from transferring the collateral to

Fugedi. They all knew that Steadfast could foreclose against 2017 Yale, and Fugedi.

Exhibits 88-9, 94, 115, 20e, 11b, G:

          “[2017 Yale] may not sell, transfer, or otherwise dispose of any Property [10] …
          this…lien will terminate only if [Steadfast] releases this deed of trust..” Exhibit
          11(b).



                                                  55
      Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 56 of 146




        “[D&A Alvarez] agrees to: Preserve the liability of all obligors on the Collateral
        and preserve the priority of all security for the Collateral… [D.7]” Exhibit 20(e).

        “[Steadfast] is the original Lender…and shall maintain possession of the original
        Collateral Note... [G.1] …This agreement binds…all successors” [H.3]. Id.

        “[D&A Alvarez] agrees not to… modify the Collateral Note nor grant releases of
        any part of the Property [E.1] [E.2]” Exhibits 11b, 20e.


99.     These State Bar loan forms were proven valid, previously recorded, in default,

without excuse, Exhibit 92, leading Kelley to admit that the Trial Court in Galveston,

“wasn’t giving us crap” in a secret acknowledgement that the whole claim was frivolous.

100.    The only basis to argue against these obvious conclusions were the fraudulent lien

releases, lis pendens, deeds, and title abstracts which the Enterprise fabricated, and filed

and argued vexatiously for years.



The Fifteenth Scam: The fake title abstract to fabricate a title claim.




101.    In addition to using the fraudulent Alvarez releases, Conspirators defrauded these

Courts claiming: “Fugedi’s Abstract traced title from the sovereign to Fugedi…” Huebner

filed his perjurious affidavit and abstract, omitting the dispositive CTNL:




                                                56
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 57 of 146



         Doc. # Instrument#:   Type:    Inst. Date:   Filing Date:            Grantor:                   Grantee:              Inst. Type:

          79                   RP       4/4/2017       4/11/2017            2017 Yale              Benjamin K. Williams,      Deed of Trust
                  RP-2017-                                                                        Trustee fbo Steadfast
                   153161                                              Development LLC, a
                                                                                                  Funding, LLC, Bruce L.
                                                                        Texas limited liability
                                                                     company                      Robinson, lnitram, Inc,
                                                                                                                               General
          80      RP-2017-     RP       4/4/2017      4/10/2017       Jetall Companies, Inc        2017 Yale                 Warranty Deed
                   151659                                                                          Developoment LLC



               Appellant’s fraudulent abstract knowingly omits Exhibit 20e, ROA 3106-3117, the
               prior recorded Collateral Transfer of Note and Lien, which expressly precludes
               D&A Alvarez from releasing Steadfast's lien, and precludes either 2017 Yale or D&A
               Alvarez, both borrowers subject to Steadfast's lien, from transferring title to Fugedi's
               trust. Appellant’s own lien release, which they defrauded Alvarez into filing, identifies
               this Document by RP number as a prior instrument in the chain of title.
               Specifically, 20e, recorded on 1-31-18 at RP- 2018-65405, expressly precludes the
               fraudulent release induced by Kelley which Appellant and counsel recorded at RP-
               2019-317071 below. The inducement and filing of that release is also a felony, and a
               fraud on this Court.




            RP -2018-                   RP      7/14/2018     7/18/2018      D&A Alvarez Group , LLC        829 Yale St , LLC, a       Release of
                                                                                                                                          Lien
            324056                                                                                        Texas limited liability
                                                                                                          company in favor of
                                                                                                         Williams,

                                       RP                                                                2017 Yale Development
              RP- 2019-                       7/22/2019     7/23/2019       D&A Alvarez Group, LLC               LLC in        Release of Lien
            317071
                                                                                                          favor of Benhjamin K.
                                                                                                            Williams as Trustee

            RP- 2019-                  RP     7/22/2019     7/23/2019       2017 Yale                     CARB Pura Vida Trust      General
            317072                                                          Development LLC, a                                      Warranty Deed
                                                                               Texas limited liability



102.   Compare Exhibit 94 to Exhibit 115, Steadfast’s non-fraudulent actual abstract,

which accurately reflects the recorded CTNL:




                                                             57
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 58 of 146




103.     TransAct, Mansoor, Salima, Marol all worked with First American to fabricate a

fraudulent title insurance policy, and the Enterprise filed that as an Exhibit to try to prove

their title.

104.     Cursory review of the Collateral Transfer of Note and Lien (“CTNL” Exhibit 20e)

and basic hornbook law was completely dispositive of that case in Steadfast’s favor, and

the Yale Criminal Enterprise knew it. That is why Conspirators and Counsel filed the

fraudulent abstract with the federal Trial Court and this Court, omitting it. See Exhibits

94, 115. 60 The CTNL is a conveyance, 61 an “instrument affecting title,” legally putting

Fugedi on irrebuttable presumptive notice of Steadfast’s superior lien and title. 62 The

CTNL expressly preserved Steadfast’s valid first lien and right to foreclose on Fugedi’s in

interest the Property, period, regardless of any other issues.                          The CTNL precluded

Conspirators from relying on any release by Alvarez. It puts the world on notice that

Steadfast maintained the original note and first lien, and the right to foreclose on the

property. The CTNL and Deed of Trust preclude 2017 Yale from transferring the property

to Fugedi. 63




60
   Conspirators also defrauded these Courts by arguing that they had a judgment against Steadfast on the fraud claims
signed by Judge Carter, who had to be disqualified for that egregious misconduct, Conspirators and Counsel knowing
that this absurd farce of a judgment was void as a matter of law. See e.g., Exhibits 90. 91.
61
   It even contains words of present grant. ROA.3106, at top of pg. 6.
62
   The CTNL is a standard State Bar of Texas Commercial Loan Document, used in this case for its traditional purpose.
If Conspirators can ignore it, then we are all going to be very famous, because every lender that has financed an
assignment of a real estate loan or mortgage in Texas – which happens all the time - will never be able to foreclose on
their lien.
63
  It turns out that the Enterprise secretly had a prior WFG title commitment, which they knew excepted the Steadfast
Deed of Trust, Lien, and CTNL, infra. They didn’t pay for a policy; only the fraudulent First American Policy omitting
the lien. They hid that policy from the Courts.

                                                         58
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 59 of 146




105.    Despite all that, Kelley induced Alvarez into recording fraudulent lien releases, then

argued that they released Steadfast’s lien, which they could never do. Exhibit G; Exhibit

86m. They and Transact Title issued a fraudulent First American Title Company title

insurance policy, No. 5825548-0022684e, from First American Title using the fake release

as well, and then filed that fraudulent policy as further fake evidence to argue that they had

superior title to Steadfast. Exhibit 95.

106.    Their use of this release, policy, and abstract is felonious and a fraud. 64 Id. Fugedi

took only subject to Steadfast’s prior recorded lien, and all terms of the CTNL and Loan

Documents, as a matter of basic law. TEX. PROP. CODE §13.002; Regold Mfg Co. v.

Maccabees, 348 S.W.2d 864 (Tex.Civ.App.—Fort Worth 1961); Westland Oil Dev. Corp.

v. Gulf Oil Corp., 637 S.W.2d 903, 908 (Tex.1982). Steadfast ultimately foreclosed and

owns the property. Exhibit 97. Nothing can change that. 65 However, the Yale Criminal

Conspiracy has continued to tortiously interfere with sales and title, deliberately continuing

to file fraudulent instruments, including “correction deeds,” and lis pendens, into 2022.

The Yale Criminal Conspiracy apparently expects to get away with their fraud based upon

who they think they are and their perceived personal influence over the courts, despite clear

and undisputed abuse, and the fact that this matter now gaining significant public interest.




64
   Texas Penal Code §§ 37.10; 33.33; 32.49; 32.46; 32.32; and 18 U.S.C. §§ 1341, 1343, 1346; 2326-7; and 18 U.S.C.
§ 1512:
65
   The Enterprise tried to salvage their defective void fraudulent transfer fake trust deed by filing fraudulent
‘correction’ deeds. However, under TEX. PROP. CODE § 5.030 (c) A correction instrument is subject to the property
interest of a creditor or subsequent purchaser. Steadfast filed lis pendens and foreclosed after the void deed, and
before the corrections. Steadfast purchased the Property at a valid foreclosure sale on November 4, 2019. Fugedi and
Conspirators remained subject to Steadfast’s prior lien and foreclosure. They have no claim to title. Hooks v. Neill,
21 S.W.2d 532 (Tex. Civ. App.—Galveston, 1929, writ ref’d).

                                                        59
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 60 of 146




The Sixteenth Scam: Conspirators, Counsel and Kelley continue to defraud these Courts
and deliberately cloud title with false allegations and arguments and fraudulent real
property filings.

107.   A deed or release procured by fraud is void. A void deed or instrument is an absolute

nullity and cannot be cured or revived. Parham Family Ltd. P'ship v. Morgan, 434 S.W.3d

774, 787(Tex. App.–Houston[14th Dist.]2014, no pet.)(citing Lighthouse Church of

Cloverleaf v. Tex. Bank, 889 S.W.2d 595, 600 (Tex.App.–Houston[14th Dist.]1994));

Wofford v. McKinna,23 Tex., 36, 46 (1859); Sanchez v. Telles, 960 S.W.2d 762, 768

(Tex.App.—El Paso, 1997); Lasater v. Jamison, 203 S.W. 1151, 1154 (Tex.Civ.App.—

San Antonio 1918, writ ref'd);TEX. PROP. CODE §5.030. The Yale Criminal Enterprise

attempted to cure their void deed by filing additional fraudulent “correction deeds” in 2021

in an effort to continue to cloud title, fabricate frivolous litigation claims, and obstruct any

sale of the property for market value by Steadfast. Exhibit 171. These cases and instruments

remain a cloud on Steadfast’s title and obstacle to the sale of the Property, and continue to

cause Steadfast damages. Exhibit 170.

The Seventeenth Scam: The 2022 Fraudulent Lis Pendens, another crime and tortious
interference, fitting right into the pattern of the Yale Criminal Enterprise.
108. After years of trying to sell the property privately, all of which efforts were

unsuccessful due to the Yale Criminal Enterprise, the Steadfast Parties listed the property

publicly to sell it at a dramatically reduced price, to avoid it becoming a worthless tear-

down property due to dilapidation. The Enterprise sent a spy to the showing, concealing

their identity, and attempted to entrap the Sellers, spy on proceedings, and submit a

fraudulent bid. See Exhibit 170. All best and final bids were due from prospective buyers


                                              60
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 61 of 146




by February 25, 2022. Id. In order to tortiously interfere with any sale, and preclude

Steadfast from proper recovery and mitigation of their damages, the conspirators filed a

fraudulent lis pendens, yet again, on February 25, 2022. Exhibit 163. This lis pendens is

based solely on their fraudulent lawsuit and title abstract on appeal.

109.     This long-standing conspiracy to commit a lengthy pattern of related fraudulent and

criminal title transfers, fraud, stolen loan money, extortion, frivolous litigation, fraudulent

real property document filings, fraudulent court exhibits, all calculated to steal Steadfast’s

loan money and title to Steadfast’s collateral, continues to this day, and continues to cause

Steadfast millions of dollars in damages.

                                                    V.
                                            DETAILED TIMELINE:

07/07/2016         Steadfast Parties loan $4.2million for construction funds to Terry Fisher/829 Yale
                   St., LLC secured by a First Lien. As construction progressed, Steadfast fully funded
                   this loan through December of 2016, and the property was essentially built to its
                   present state before the Yale Criminal Enterprise formed. Exhibit 1,7. Compare
                   photos in Exhibit 7, before the fraudulent Enterprise formed, to Exhibit 12, after
                   abandonment of the project by 2017 Yale, after millions in additional funds.
                   Compare Exhibit 172, current pictures of dilapidation caused by the Yale Criminal
                   Conspiracy. The first lien Deed of Trust in favor of Steadfast, executed by the
                   borrower, 829 Yale St., LLC, was recorded at RP-2016-430945. Exhibit 1. That
                   deed of trust clearly precluded 829 Yale or Terry Fisher, its owner, from conveying
                   the collateral to Jetall, Inc., or conveying any ownership interest in 829 Yale St.,
                   LLC to any third party without prior written consent of Steadfast. Id.

Fisher making False Statements to Obtain Property or Credit - § 32.32 66 First Degree Felony.
§31.01. 67

66
   § 32.32. False Statement to Obtain Property or Credit
(b) A person commits an offense if he intentionally or knowingly makes a materially false or misleading written
statement to obtain property or credit, including a mortgage loan. (c) An offense under this section is: (7) a felony of
the first degree if the value of the property or the amount of credit is $300,000 or more.
67
    § 31.01 Deceive means: creating or confirming by words or conduct a false impression of law or fact that is likely
to affect the judgment of another in the transaction, and that the actor does not believe to be true.
(B) failing to correct a false impression of law or fact that is likely to affect the judgment of another in the transaction,
that the actor previously created or confirmed by words or conduct, and that the actor does not now believe to be true.


                                                            61
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 62 of 146




07/14/16          Fisher requests more money; Alvarez loans $2.25m to Fisher/829 Yale in Second
                  Lien position, subordinate to Steadfast’s lien. Alvarez fully funds at closing.
                  Exhibit 2.

09/23/16 68       Fisher/Kavac’s real estate “empire” begins collapsing for numerous defaults with
                  other lenders on other properties; Fisher hides this from Steadfast, and instead
                  secretly engages with Choudhri, Jetall and Parker to cut a secret extortion deal.
                  Commencing the Enterprise, Fisher illegally has his company, 829 Yale,
                  Steadfast’s borrower, convey a secret deed to Steadfast’s’ 829 Yale collateral (and
                  other lender’s collateral on other property loans) to Choudhri’s company, Jetall, in
                  exchange for one hundred thousand dollars plus Jetall’s promise to tortiously
                  interfere with Fisher’s Lenders, including the Steadfast Parties. This formed the
                  Yale Criminal Enterprise, and began their scheme to delay or obstruct the lenders’
                  valid foreclosures. They agreed to split profits from this fraud and extortion
                  scheme. Choudhri files the first T.R.O. on the same day against other lenders (Paul
                  & Partners) and they begin their extortion scheme. This is the case they eventually
                  brought Steadfast into with yet another frivolous ex parte T.R.O. in 2017 (2016-
                  64847 in the 190th, eventually resulting in Steadfast’s Judgment on the contract
                  default for over eight million dollars). Exhibit 1, 3, 107, 4, 4a21, 4a22, 6, 160, 92.
Inducing Fisher into signing fraudulent documents – § 32.46 69 First Degree Felony.



(C) preventing another from acquiring information likely to affect his judgment in the transaction.
(D) selling or otherwise transferring or encumbering property without disclosing a lien, security interest, adverse
claim, or other legal impediment to the enjoyment of the property, whether the lien, security interest, claim, or
impediment is or is not valid, or is or is not a matter of official record; or
(E) promising performance that is likely to affect the judgment of another in the transaction and that the actor does
not intend to perform or knows will not be performed, except that failure to perform the promise in issue without other
evidence of intent or knowledge is not sufficient proof that the actor did not intend to perform or knew the promise
would not be performed.
(2) “Deprive” means: (A) to withhold property from the owner permanently or for so extended a period of time that a
major portion of the value or enjoyment of the property is lost to the owner.
(3) “Effective consent” includes consent by a person legally authorized to act for the owner. Consent is not effective
if:
(A) induced by deception or coercion; (B) given by a person the actor knows is not legally authorized to act for the
owner.
68
   Even if the four-year limitations periods for all causes of action were not obviously tolled by deliberate fraud,
spoliation of evidence, and discovery abuse, a plaintiff may sue for any injury he discovers or should have discovered
within four years of the commencement of his suit, regardless when the RICO violation causing such injury occurred.
Love v. National Medical Enterprises, 230 F.3d 765, 773 (5th Cir.), reh'g denied, 239 F.3d 367 (5th Cir. 2000) (quoting
Bankers Trust v. Rhoades, 859 F.2d 1096, 1102 (2d Cir. 1988), cert. denied, 490 U.S. 1007 (1989)). Further, only the
first few scams were committed more than four years ago, and none were discovered so as to render any of the
seventeen scams untimely hereunder.
69
   § 32.46 - Defendants Choudhri, Parker, Kelley, Fraga, Fisher
A person commits an offense if with the intent to defraud or harm any person, he, by deception:
(1) causes another to sign or execute any document affecting property or service or the pecuniary interest of any
person; (7) felony of the first degree if the value of the property, service, or pecuniary interest is $300,000 or more.


                                                          62
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 63 of 146




18 U.S.C. §§ 1341, 1343, Mail and Wire fraud, recording fraudulent instruments, issuing a check
to bribe Fisher, emailing a secret MOU to interfere with lenders’ rights. 70, 18 U.S.C. § 1346; §§
2326-7 adds another 10 years and full mandatory restitution, as many of the Steadfast Parties were
over 55 years old.

Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, at least 5 counts, intent
presumed.

Theft of Loaned funds – § 31.03, 71 First Degree Felony, proven by bank records and recorded
documents.

Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.

Fisher illegally secretly gave Steadfast and Alvarez’ multi-million-dollar collateral to Jetall in
exchange for a secret $100k check. Neither ever paid for the property or to repay the loans, and
they executed a secret MOU agreeing to obstruct the lenders’ foreclosure, extort the lenders and
split the illicit profits. This transfer was clearly precluded by the Loan Documents and by Texas
civil and criminal law. More than 10 of Steadfast’s lenders are over 55.


110.     Defendants Fisher, Choudhri, Parker, 829 Yale St., LLC, and Jetall Companies, Inc.

commenced the fraudulent Enterprise, conspiring to steal Steadfast’s loaned funds, title to

the property, and interfere with Steadfast’s lien and property rights, by circulating a secret

agreement. Exhibit 4, 107. This secret agreement was circulated by email and the

fraudulent deed to Steadfast’s collateral, circulated by email, and recorded by mail and

circulated electronically in the Harris County real property records. Id. Exhibit 3. Such a


70
  Whoever, having devised or intending to devise any scheme or artifice to defraud, or for obtaining money or property
by means of false or fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means
of wire, radio, or television communication in interstate or foreign commerce, any writings, signs, signals, pictures,
or sounds for the purpose of executing such scheme or artifice, shall be fined under this title or imprisoned not more
than twenty years, or both.
71
   § 31.03 (a) A person commits an offense if he unlawfully appropriates property with intent to deprive the owner of
property.
(b) Appropriation of property is unlawful if: (1) it is without the owner's effective consent.
 (c) For purposes of Subsection (b):
(1) evidence that the actor has previously participated in recent transactions other than, but similar to, that which the
prosecution is based is admissible for the purpose of showing knowledge or intent and the issues of knowledge or
intent are raised by the actor's plea of not guilty.
(7) felony of the first degree if the value of the property stolen is $300,000 or more.


                                                          63
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 64 of 146




transfer is felony Hindering Secured Creditors under Texas Penal Code § 33.33 – First

Degree Felony, intent is presumed. This misconduct using interstate commerce via email

and mail also violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years

and full mandatory restitution, as many Steadfast Parties qualify under §§ 2326-7. This

agreement and fraudulent deed also constitute a violation of 18 U.S.C. § 1512.72 Each

occurrence of this conduct is a second-degree felony under Penal Code § 37.10 and a violation

of Texas Government Code Sec. 51.901.

111.     Kelley and Fraga presented Parker for a perjurious deposition, in which Parker

testified in front of them that no one paid any consideration for the Jetall fraudulent deed

transfer; that no money changed hands for that deed, that there were no agreements about that

transfer, and that Parker had never spoken with anyone about what would happen with any

money received by 2017 Yale. Exhibit 35 at pages 42-44. Fisher claimed all he got was ‘a

smile’, supra.

112.     However, in 2021, Steadfast learned that instead, Jetall paid a one hundred-thousand-

dollar bribe to Fisher personally to have Fisher’s company, Steadfast’s borrower, 829 Yale


72
   18 U.S.C. § 1512:
(b) Whoever knowingly uses intimidation, or corruptly persuades another person, or attempts to do so, or engages in
misleading conduct toward another person, with intent to—
(1) influence, delay, or prevent the testimony of any person in an official proceeding; (2) cause or induce any person
to--
(A) withhold testimony, or withhold a record, document, or other object, from an official proceeding.
(3) hinder, delay, or prevent the communication to a judge of the United States of information relating to the
commission or possible commission of a federal offense.
(c) Whoever corruptly--
(1) alters, destroys, mutilates, or conceals a record, document, or other object, or attempts to do so, with the intent to
impair the object's integrity or availability for use in an official proceeding; or
(2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do so, shall be fined under this
title or imprisoned not more than 20 years, or both.



                                                           64
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 65 of 146




St., LLC execute the illegal fraudulent transfer deed to Jetall tortiously interfering with

Steadfast’s lien. Exhibit 3, 4, 4a22. This payment and fraudulent agreement were circulated

by United States Mail and interstate Email. Id. This is a violation of 18 U.S.C. § 201(c)(3)

and constitutes a violation of 18 U.S.C. §§ 1503 and 1512 as well as the mail and wire fraud

statutes. This instance reflects a pattern of repeated activity in furtherance of a common

Enterprise, these same acts being repeated below and intent proven by whistleblower tapes.

Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, at least 5 counts, intent
presumed.
Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.
18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and full mandatory restitution.
Defendants devised a scheme to defraud, intended to deprive another of money or property or bring
about some financial gain.
Defendants employed false material representations [pretenses or promises], having a natural
tendency to influence, or is capable of influencing, someone’s decision (the person deceived
doesn’t have to be the person who was cheated).
The representations were untrue or was made with reckless indifference as to their truth, with
specific intent to defraud, deceive or cheat.
Defendants mailed something for the purpose of executing such scheme (the actual mailing doesn’t
have to contain false info) (§ 1341).
Defendants transmitted or caused to be transmitted, by wire communications, in interstate
commerce, any writing for the purpose of executing such scheme (wire need not be an essential
element of the scheme; rather, it is sufficient for the wire to be incident to an essential part of the
scheme) (§ 1343).
This instance reflects the commencement of a long pattern of repeated activity in furtherance of a
common enterprise, these same acts being repeated below and proven by whistleblower tapes.


9/19/16        Brad Parker and his wife Margaret Naeve Parker, and her business, M.Naeve
               Antiques, LLC, now forfeited by the Secretary of State, secretly joined the Yale
               Criminal Enterprise, taking a flat $40,000 fee for ‘consulting’ at 2017 Yale. This
               was never disclosed to Steadfast, nor was this agreement or the email circulating it
               produced in response to discovery, or in depositions. Exhibit 4a22b, 4a22b DOC
               475.

                                                  65
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 66 of 146




01/09/17       Steadfast Parties discover Jetall’s secret deed during a title check arising from
               Fisher’s efforts to swindle another loan out of Steadfast. The lenders work together
               to deal with the defaults. Fisher abandoned work, fails to pay the loans, and fails
               to pay his contractors, resulting in M&M liens against the collateral at 829 Yale,
               another default. Exhibit 170.
01/17/17       The lenders cooperate and send Notice of Default to Fisher for the “due on sale”
               Loan Document violation and default caused by the secret Jetall deed. Notice is
               posted for 2nd lien instead of 1st by agreement, to protect Alvarez.
               Jetall/Choudhri/Parker/Fisher/829 Yale begin fraudulently inducing the Steadfast
               Parties into loaning more money, on Choudhri’s promises to help Fisher finish the
               project and refinance quickly, promising to pay the lender’s notes. On the other
               hand, Choudhri threatens to obstruct foreclosure and litigate to the ends of the earth
               if a loan workout is not agreed. Exhibit 170. Using interstate emails, Choudhri,
               Parker, Jetall made demonstrably false statements about their assets and financial
               capability, as well as intent. This misconduct if a felony Making False Statements
               to Obtain Property or Credit - § 32.32 First Degree Felony, by using fraudulent
               internet email and mail communications. 18 U.S.C. §§ 1341, 1343.
18 U.S.C. § 1951(a).

 “Extortion” is “the obtaining of property from another, with his consent, induced by wrongful use of
actual or threatened fear.” Id. at § 1951(b)(2). The elements of a violation of the Hobbs Act are: “(1)
that the defendant induced a person to part with property; (2) the defendant acted knowingly and
willfully by means of extortion; and (3) that the extortionate transaction delayed, interrupted, or
adversely affected interstate commerce.” United States v. Stephens, 964 F.2d 424, 429 (5th Cir.1992).

The Enterprise forms a sham company to perpetrate its fraud and extortion scheme:

113.   2017 Yale Development, LLC, and its General Partner 2017 Yale Development GP,

LLC, were formed by Choudhri and Parker for the sole purpose of defrauding Steadfast in

furtherance of the secret Enterprise (and Choudhri’s wife in his divorce case, being handled

by Lloyd Kelley), both of them representing that 2017 Yale was a legitimate company with

the intent and ability to repay the loans quickly. Choudhri, Parker, and 2017 Yale also

submitted fraudulent filings with the Comptroller of the State of Texas and Secretary of State,

improperly reflecting circular ownership and management, i.e., 2017 Yale supposedly

managed and owned all of the membership of 2017 Yale GP, and vice versa, a fraud intended

                                                  66
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 67 of 146




to conceal the true ownership of both companies. Exhibit 14. 2017 Yale was always secretly

intended as a complete sham, with no assets, other than those stolen from Steadfast. Exhibit

35, 35c, 78, 102, 55, 109, 110. See Exhibit 170, and whistleblower audio tapes, Exhibit A,

B(A-C), infra. Kelley, Fraga, Choudhri, Jetall, 2017 Yale, Fisher, 829 Yale, and Parker all

perjured themselves, representing falsely that Brad Parker was the sole owner of 2017 Yale

and the GP. Id.

Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.
Emailing and recording fraudulent company records with the comptroller and secretary of state,
and fraudulently inducing Steadfast’s loan workout by extortion and false representations using
email; §§ 1341, 1343.
Filing fraudulent documents with the Secretary of State is a second-degree felony under Penal
Code 37.10 and a violation of Texas Government Code Sec. 51.901.
1951(a) supra.

The Enterprise’s Second                        Fraudulent          Transfer          and      Fraudulent           loan
inducement/extortion scam:

04/04/17          The 2017 Yale loan workout closes. Exhibit 11(a-e). Choudhri/Parker/Fisher/Jetall
                  conveyed title the collateral from Jetall again, this time by deed to 2017 Yale.
                  Choudhri secretly owned 2017 Yale, but presented Parker as a fraudulent “front
                  man” fake owner, to keep the assets away from Choudhri’s wife and other litigants.
                  Steadfast and 2017 Yale close a new First Lien refinance loan workout, based on
                  the Choudhri conspirators’ false promises and threats. 2017 Yale was the new
                  borrower, and up to $8.2 million was available for funding subject to the
                  Construction Loan Agreement and other Loan Documents, the loan secured by
                  Steadfast’s Deed of Trust and Promissory Note. The recorded Deed of trust, as is
                  customary, also puts the world on notice that 2017 Yale cannot transfer the property
                  without paying Steadfast’s lien. Steadfast pays the M&M liens and other defaults
                  by Fisher and Jetall with loaned funds at this closing. 73 Steadfast pays the unpaid
                  2016 M&M lien contractors the Yale Criminal Enterprise had ripped off and
                  abandoned out of this closing.
                  The first interest payment would come due in November of 2017. The unmodified
                  Alvarez second lien would still mature on August 1, 2017. Choudhri, Parker and

73
  The Enterprise stole $261,567.90 of the Closing Funds that were not used to pay the contractors they had ripped off
already (Exhibit 162), in addition to the other hundreds of thousands of dollars in funds the later stolen directly out of
the loan draws by the Enterprise. Exhibit 55.

                                                           67
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 68 of 146




              Fisher promise that they will commence construction and refinance the loans before
              then. They had also threatened endless litigation if Steadfast did not do the workout
              loan to 2017 Yale.
              Steadfast begins funding construction loan draws to the conspirators to pay for
              continued construction, ultimately funding six million dollars to the Enterprise;
              however, the real goals and competencies of the conspirators were real estate fraud
              rather than property development. The Yale Criminal Enterprise commences
              floating and late paying their contractors and stealing the loan funds in accord with
              their secret MOU, Exhibit 4, infra. For example, the roof construction deviates
              from plan and is just a sham cover to hide its faulty substrate, in order to scam
              another construction loan draw from Steadfast.
              The recorded Deed of Trust clearly precludes Parker from conveying ownership in
              2017 Yale to Kelley or Choudhri, and clearly precludes 2017 Yale from giving
              away title to the property to anyone without paying Steadfast’s full lien. Exhibit
              11a-e.

114.   The Warranty Deed dated April 4, 2017 from Jetall Companies, Inc. into 2017 Yale

Development, LLC and recorded at RP-2017-151659 of the Official Public Records of

Harris County was fraudulently induced by Parker, Choudhri, Fisher, Jetall, 2017 Yale,

Fisher, and 829 Yale St., LLC.      Exhibit 11a-e. This deed remained the last conveyance

of record, subject to Steadfast’s Deed of Trust and Collateral Transfer of Note and Lien,

until the later fraudulent transfer by the Enterprise to the fake trust, infra, and then the

ultimate foreclosure by Steadfast. Exhibit 97.

115.   This misconduct, committed by making fraudulent misrepresentations, false

promises, and threats of extortion and endless litigation, via interstate email and mail, was

engaged in by the Enterprise to induce a loan workout from Steadfast by fraud and duress.

This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years

and full mandatory restitution, and 18 U.S.C. § 1951(a). Each occurrence of this conduct is

a second-degree felony under Penal Code § 37.10 and a violation of Texas Government Code

Sec. 51.901. Filing fraudulent 2017 Yale formation documents with the comptroller and

                                               68
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 69 of 146




Secretary of State, filing fraudulent deed of trust concealing 2017 Yale’s ownership are all

violations of this statute.

08/01/17       The unmodified Alvarez Second Lien matures without payment by the Enterprise
               borrowers, Exhibit 2, and 2017 Yale commences committing numerous other
               defaults on both loans. Choudhri and Kelley secretly begin looking at Yale as
               Choudhri’s payment for Kelley’s past due legal fees for defrauding Choudhri’s wife
               in her divorce case. Parker remains both of their fraudulent “front-man” for the
               Enterprise. Exhibit A, B(A-C), infra.

               2017 Yale starts secretly stealing Steadfast’s loaned funds and wrongfully pays
               Fisher/Jetall entities almost $400k, instead of using the loan money to pay their
               legitimate contractors as required by the Loan Documents, in secret anticipation of
               defaulting on the note payment and dumping the company on Kelley. They start
               “floating” contractors’ payments to keep them working, to swindle more loan
               draws, without actually paying the contractors for the work. The unpaid M&M
               Liens for unpaid invoices from June 2017 forward and walk off the job (both are
               defaults excusing further performance by the Lenders). Steadfast later learns that
               Cityscape Rentals, Assurance Home Warranty are also Fisher companies, and
               KAVAC was also secretly getting fraudulently transferred funds out of 2017 Yale
               in violation of the Loan Documents. Exhibit 14, 15, 53, 55, 92, 160.


116.   In addition to the $261,567.90 of the Closing Funds stolen by the Enterprise, and

the money they stole out of 2016 draws instead of paying their construction contractors,

Steadfast was fraudulently induced to advance another $511,824.21 in construction loan

funds to 2017 Yale on the fraudulently induced loan renewal during this period. Exhibit

55. 2017 Yale wrongfully sent $206,596.46 of that money to Cityscape Rentals, an

undisclosed front for Terry Fisher, run by Allen Fisher, in violation of the loan (Exhibit

11a-e), but in furtherance of their MOU to defraud Steadfast (Exhibit 4). Exhibit 55. 2017

Yale similarly sent $140,761.56 to Fisher’s other company, KAVAC, LLC. 2017 Yale

sent $49,240.58 to Jetall.




                                               69
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 70 of 146




117.   It is unknown how many of its own construction contractors 2017 Yale ripped off

instead of paying as required, but the following unpaid contractors filed M&M liens:

Contractors Access Equipment $36,512.96; Mustang Rental Services $18,500.64,

$7153.39, and $7,713.99; Supply Network d/b/a Viking Supply $7,438.86; Ferguson Fire

and Fabrication, LLC $6,077.61; Chero-Key Piping Company $55,000.00. All of which

funds were required to have been paid to these contractors by 2017 Yale using Steadfast’s

construction loan funds. Exhibit 15; compare Exhibit 11(e).         Instead, the fraudulent

Enterprise stole the money, floating their contractors to induce them to continue working

without full payment, to induce Steadfast’s inspections of their work progress justifying

additional loan draws from Steadfast. Id.

       Question: Have you ever made any effort to pay any of those mechanic’s and
       material lien vendors on this property? Parker: That wouldn’t make business
       sense, so no.” Exhibit 35c at pg. 89:

118.   They strung it out to perfectly time their contractors walking off the job with their

loan payment coming due, neither of which they ever intended to pay. They later used this

money to bribe more participants in the Yale Criminal Enterprise.

119.   Kelley further held the project up to make his own fantasy changes to the

construction plans. Id. See also Exhibit 13, 13a22, 85 and B. 2017 Yale stole Steadfast’s

construction loan money remaining in 2017 Yale’s bank account, instead of paying the

construction contractors. See Exhibits 11e, 17, 55, 15, B. The new whistleblower evidence

proves that Choudhri and Parker stole 2017 Yale’s bank account and quit paying its

workers because they had already secretly conveyed 2017 Yale to Lloyd Kelley in violation

of the Loan Documents. Exhibit A, B. Kelley knew about Steadfast’s valid lien but did

                                            70
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 71 of 146




nothing to pay them. Instead, Kelley retained Fraga and others to join the Enterprise, and

embarked on further schemes to split the lenders, wipe out liens, commence frivolous

litigation, obstruct foreclosure, and steal the property. Exhibit A, B, 19, 18. 74


Theft of Loaned funds – § 31.03, First Degree Felony, proven by bank records and recorded
documents.
§§ 32.33, 1341, 1343 – also TPC §§ 31.03, 32.33 intent presumed; §32.49 intent presumed. 75



74
   They tried to split the lenders, buy the first lien without paying the second, and then foreclose on the subordinate
lien; they tried Fraga’s tax lien fraud scam, have her straw man company foreclose and wipe out the liens; they tried
to bury the lenders with thousands of pages of pleadings, and break them into settling; they tried the fake trust
fraudulent conveyance scam during trial; they tried a frivolous eviction suit; they obtained a seven million dollar
baseless sanctions award against Steadfast, resulting in the disqualification and recusal of the 125th; they filed a fake
title abstract in a frivolous federal quiet title suit; they obtained a wrongful possession order from a J.P. Court; this list
goes on.
75
  (b) A person who has signed a … mortgage or deed of trust creating a lien on property commits an offense if, with
intent to hinder enforcement of that interest or lien, he destroys, removes, conceals, encumbers, or otherwise harms or
reduces the value of the property.

(c) a person is presumed to have intended to hinder enforcement of the security interest or lien if, when any part of the
debt secured by the security interest or lien was due, he failed:
(1) to pay the part then due; and
(2) if the secured party had made demand, to deliver possession of the secured property to the secured party.

(d) An offense under Subsection (b) is a: (7) felony of the first degree if the value of the property destroyed, removed,
concealed, encumbered, or otherwise harmed or reduced in value is $300,000 or more.

(e) A person who is a debtor under a security agreement, and who does not have a right to sell or dispose of the secured
property or is required to account to the secured party for the proceeds of a permitted sale or disposition, commits an
offense if the person sells or otherwise disposes of the secured property, or does not account to the secured party for
the proceeds of a sale or other disposition as required, with intent to appropriate (as defined in Chapter 31) the proceeds
or value of the secured property. A person is presumed to have intended to appropriate proceeds if the person does not
deliver the proceeds to the secured party or account to the secured party for the proceeds before the 11th day after the
day that the secured party makes a lawful demand for the proceeds or account.

An offense under this subsection is: (7) a felony of the first degree if the proceeds obtained from the sale or other
disposition are money or goods having a value of $300,000 or more.

§ 32.49. Refusal to Execute Release of Fraudulent Lien or Claim
They failed to execute releases of their fraudulent liens and claims: Penal Code § 32.49. This Class A misdemeanor
also carries presumed intent.

(a) A person commits an offense if, with intent to defraud or harm another, the person:
(1) owns, holds, or is the beneficiary of a purported lien or claim asserted against real or personal property or an
interest in real or personal property that is fraudulent, as described by Section 51.901(c), Government Code; and


                                                             71
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 72 of 146




10/10/17            Choudhri and Parker secretly give ownership of the borrower, 2017 Yale
                    Development, LLC and the GP, to attorney Lloyd Kelley, in supposed payment of
                    the Choudhri legal fees from the divorce case. This extinguishes debt not only of
                    Choudhri, but his mother Shanaz, and all of his entities which hid assets from the
                    divorce. This transfer was an obvious loan default under the Loan Documents if it
                    had not been kept secret; the borrower cannot convey away its entity ownership
                    without lender consent. Exhibit 11a-e. However, Kelley, Choudhri, and Parker
                    continue the fraud that Parker is the sole owner of 2017 Yale, all three perjuring
                    themselves throughout all of the subsequent litigation. This secret conveyance is
                    concealed from all parties and courts throughout discovery and trials, until the
                    whistleblower, a Jetall employee, came forward and exposed the audiotapes
                    proving this fraud in 2021. Exhibit A, B(A-C). Kelley and Fraga formally join the
                    secret criminal Enterprise and continue efforts to steal Steadfast’s loan money and
                    funds, still using Parker as their front-man.
Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, intent presumed.
This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and
full mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony. 76


10/14/17            2017 Yale defaults, ceases communication with the Lenders and abandons the 829
                    Yale project in the face of first upcoming interest payment due on the First Lien.
                    The property at 829 Yale has remained a dangerous unfinished blight on the
                    Houston skyline ever since, due to these bad actors. Exhibit 10, 17, 35, 53, 55,
                    compare 7 to 112 and 172.




(2) not later than the 21st day after the date of receipt of actual or written notice sent by either certified or registered
mail, return receipt requested, to the person's last known address, or by telephonic document transfer to the recipient's
current telecopier number, requesting the execution of a release of the fraudulent lien or claim, refuses to execute the
release on the request of:
(A) the obligor or debtor; or (B) any person who owns any interest in the real or personal property described in the
document or instrument that is the basis for the lien or claim.
(b) A person who fails to execute a release of the purported lien or claim within the period prescribed by Subsection
(a)(2) is presumed to have had the intent to harm or defraud another.
(c) An offense under this section is a Class A misdemeanor.
76
     Aggravated Perjury - § 37.03 Third Degree Felony.

(a) A person commits an offense if, with intent to deceive and with knowledge of the statement's meaning:
(1) he makes a false statement under oath or swears to the truth of a false statement previously made and the statement
is required or authorized by law to be made under oath; or
(2) he makes a false unsworn declaration under Chapter 132, Civil Practice and Remedies Code
03 during or in connection with an official proceeding; and (2) is material.

                                                            72
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 73 of 146




120.   Terry Fisher, Ali Choudhri, Brad Parker fraudulently induced Steadfast into funding

construction loan draws. The loan only funds upon proof of construction, so they slow

paid and ultimately robbed their construction vendors to show some progress in order to

obtain more loan money. They sent misleading emails regarding progress, and ultimately

built a defective roof to get roofing funds. When their first note payment was coming due,

they stopped paying their vendors at all, abandoned the project, and stole the loan money,

distributing it among themselves. The vendors filed liens, and Steadfast was left with a

dead project subject to the MOU scheme to extort the lenders.

11/01/17      Steadfast having funded six million dollars in loans, 2017 Yale’s first payment
              on the Loan comes due on this date. Exhibit 11a-e. Construction stalled, as
              Choudhri/Jetall have stolen all of the loan funds out of 2017 Yale’s bank
              account, secretly given the company to Kelley, and not paid their contractors or
              the loan, supra. Kelley, Parker and Choudhri decide 2017 Yale will not pay the
              loan payment coming due. 2017 Yale defaults and abandons the property,
              leaving more unpaid contractors filing M&M liens against Steadfast’s
              collateral. Exhibit 15, 17, 19.
11/14/17      The Lenders Notice foreclosure again.

12/04/17      Kelley and Fraga purport to represent 829 Yale as lawyers, concealing their
              personal participation in the Enterprise and ownership of 2017 Yale. They file a
              frivolous ex parte T.R.O. against the lenders to enjoin the foreclosure, and continue
              their efforts to defraud and extort the lenders out of their money and property at
              Yale. (Cause No. 2017-80654). They are already litigating against other lenders
              on other properties for Fisher pursuant to the MOU among the Yale Criminal
              Enterprise in other courts, including the 190th in 2016-64847.
This misconduct violates 18 U.S.C. § 1341, 1343, 1346; 2326-7 adds another 10 years and full
mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony.

12/13/17      In newly discovered emails the Yale Criminal Enterprise never produced, it turns
              out that the Yale Criminal Enterprise was trying to swindle more loan money from
              third parties, trying to get CBRE to refer them additional lenders they could
              defraud. Exhibit 13a22.
              On December 13, 2017, Jetall, Parker and Choudhri secretly told CBRE that:
                                               73
       Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 74 of 146




               “Mr. Kelley came into the project in the last quarter to add additional strength for
               the refinance….Mr. Kelley stepped into the project with the current debt in place
               with the plan of immediately refinancing. Mr. Kelley has financial strength and is
               committed to completing the project.” Id.
               This email also serves as yet another newly discovered sources which undisputedly
               proves that the Yale Criminal Enterprise knew that its entire lawsuit against
               Steadfast in the 190th was frivolous. The Enterprise fabricated all manner of legally
               untenable claims and defenses in that case, filed solely to obstruct the lenders’
               foreclosure, as they had secretly agreed to do with Fisher in the MOU (Exhibit 4,
               4a21, 4a22). The Enterprise’s fabricated claims and defenses against Steadfast’s
               loan primarily relied on Parker’s perjurious allegation that ‘we had no idea that the
               lenders were not modifying the second lien and extending its maturity’ and
               ‘Steadfast refused to fund construction loan draws and stalled funding, which is the
               only reason we abandoned the project.’
               Those arguments were proven fabricated, and were legally untenable even if they
               had been true, as ultimately proven at huge expense by Steadfast’s Summary
               Judgment and Final Judgment in the 190th on 2017 Yale’s loan default. However,
               this concealed email proves that those fabricated claims and defenses were
               knowingly frivolous.
               In response to a prior conversation about swindling more lenders, CBRE asked
               Choudhri and Parker by email why Steadfast was not willing to fund the loan
               anymore to complete construction, what the current loan terms were, when Mr.
               Kelley ‘purchased’ the property, was construction still active, and why did Fisher
               sell a partially complete project? Exhibit 13a22.
               Parker and Choudhri told CBRE by this email, sent shortly before their frivolous
               claims were filed against Steadfast in the 190th, that:
               “What we discovered was Fisher had no problems on this project except the loan
               was maturing. We got an extension on the noteholder holding the first lien and with
               the right to refinace [sic] without penalty [sic]…. The lender is willing to continue
               funding the deal (there is enough term)…. Exhibit 13a22.
               They also told CBRE that, rather than their delay in construction being caused by
               Steadfast refusing to fund the loan as they falsely alleged in the 190th, the reality
               was that:
               “Mr. Kelley is deciding to install upgraded floor to ceiling windows in the
               penthouse units. Construction has been stalled for about 2 weeks while Mr. Kelley
               is focused on refinancing the project”



121.     Parker’s deposition, presented by Kelley and Fraga, was perjurious throughout,

infra, but it is worth pointing out here that Parker testified that:
                                                74
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 75 of 146




             STEADFAST COUNSEL: “Did you ever seek any money that Ali had control
             over, direct control over, for this project? MR. KELLEY: Objection. Form.
             FRAGA: Objection -- join: PARKER: Not to my knowledge. Did Ali ever offer
             to put any funds into this project for any reason? MR. KELLEY: Objection.·
             Form. MS. FRAGA: Objection Form. PARKER: Not to my knowledge.”
             Exhibit 35, at pg. 102.

             STEADFAST COUNSEL: Where did the money come from and who all is
             involved in this transaction? [PARKER]: …outside of draws from the lender, that
             no meaningful funds were contributed to this. So I don't see how it's relevant… I
             can tell you that the only entities that were involved with this transaction was 2017
             Yale Development and then myself, with Jetall Companies Inc. I'm an employee of
             Jetall Companies Inc. Those are the only -- the only entities that would have
             anything remotely to do with this asset. Exhibit 35 at pg. 104-105. (Kelley and
             Fraga immediately suborn this perjury and immediately attack another lawyer in
             the deposition). Id.

             STEADFAST COUNSEL: So, again, what entities were active with the
             Secretary of State of any state that are under your control, Ali's control, Jetall's
             control, or 2017 Yale's control during the pendency of this lawsuit? MR.
             KELLEY: You don't have to answer. MS. FRAGA: You don't have to answer
             that.” Id at 108. STEADFAST COUNSEL: And there's no expectation that
             you -- your expectation is not to share a penny of that with Ali or anybody else?
             PARKER: I don't know how many more times I can answer this.· I've said no
             consistently.· The answer is no. It's my entity.” Id at 115. See also Pg. 311.

01/31/18    The lenders cooperate with each other to commence foreclosure again. D&A
            Alvarez acquires a collateral transfer of the defaulted First Lien from Steadfast, so
            he could control the property and process, protect his subordinate lien, and
            complete or sell the property himself, subject to Steadfast’s superior first lien rights
            as recorded in the Collateral Transfer of Note and Lien. Steadfast retained the
            original note and superior rights to foreclose on the collateral until paid in full.
            Exhibit 20a-g, specifically 20e.
            The Recorded Loan Documents clearly preserve and put the world on irrebuttable
            constructive notice of Steadfast’s superior first lien and Deed of Trust; they put the
            world on notice that Steadfast retains the original 2017 Yale promissory note and
            all rights to enforce the note and foreclose on the Property at 829 Yale. Id. They
            preclude 2017 Yale from transferring ownership of the entity, or of title to the
            property to anyone, without paying Steadfast’s lien; preclude Alvarez from
            releasing Steadfast’s lien, clearly put the world on notice that Steadfast retains the
            original promissory note, and clearly preserves the right to foreclose on the



                                              75
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 76 of 146




                  collateral at 829 Yale if Steadfast is not paid. Exhibit 20e. All of the litigation by
                  the Yale Criminal Enterprise was frivolous. 77
02/01/18          Kelley and Fraga, posing as lawyers, use their fake 2017 Yale front man, Brad
                  Parker, to obtain a frivolous ex parte T.R.O. and later injunction by 829 Yale and
                  2017 Yale, preventing the lenders’ foreclosure. This frivolous litigation is in
                  furtherance of the Enterprise’s 09-23-16 MOU extortion scam. Exhibit 4, 4a22.
                  They file their fraudulent lawsuit enjoining foreclosure in their existing 190th Paul
                  & Partners lawsuit (2016-64847) to cause maximum confusion and complexity, and
                  begin trying to split the lenders in negotiations (they tried to buy Steadfast’s first
                  lien separately, planning on wiping out Alvarez’ second lien by fraudulent
                  foreclosure on the first lien, typical of their scams. However, Steadfast refuses to
                  betray Alvarez.). Exhibit 19, 160.
This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and
full mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony. Filing fraudulent affidavits and evidence in the state court is a violation of Penal Code
§37.10 and a violation of Texas Government Code Sec. 51.901, and E-filing and service of
fraudulent documents by email violates §§ 1341, 1343, etc.


122.     Choudhri, Kelley and Fraga conceal their secret ownership of the borrower, 2017

Yale, and send fraudulent letters by email, mail, and make interstate phone calls to try to

bribe Steadfast Parties to sell out Alvarez or each other, in furtherance of the Enterprise’

efforts to steal Steadfast’s (and Alvarez’ money and title). Exhibit 19.                              The Steadfast

Parties decline to participate in this scam and refuse to sell their first lien without also

selling the Alvarez second.

       This misconduct using interstate commerce via email and mail also violates 18 U.S.C. §
§1341, 1343, 1346; §§ 2326-7 adds another 10 years and full mandatory restitution, as many
Steadfast Parties qualify under Section 2326-7.



77
   The Collateral Transfer of Note and Lien executed by D&A Alvarez Group, LLC in favor of the Steadfast Parties,
dated January 31, 2018 and recorded at RP-2018-65405, remained valid, in full force and effect until foreclosure by
Steadfast, and all rights thereunder are enforceable by the Lenders therein, and further, such validity and priority were
already adjudicated in the 190th. Exhibit 92.

The Steadfast Parties remained holders of the original Promissory Notes associated with said Deed of Trust, and
Collateral Transfer of Note and Lien (Exhibit 11a-e). and are now sole record title holders in the Property free and
clear of all liens and claims. Id. See also Exhibit 89, 97.

                                                          76
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 77 of 146




03/12/18         Confused, Alvarez defaults on his collateral obligation to Steadfast and fails to
                 handle the foreclosure or litigation diligently on behalf of both his own interests
                 and Steadfast’s. Kelley, Fraga, Parker, and Choudhri trick Alvarez into secretly
                 turning on Steadfast, having failed to get Steadfast to turn on Alvarez. Discovery
                 commences in 2016-64847, the Enterprise concealing all relevant facts and
                 documents, including the fact that Kelley, Fraga, and Choudhri personally own and
                 control the defaulting debtor for their own schemes.
Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, at least 5 counts, intent
presumed.

Inducing Alvarez into signing fraudulent documents – § 32.46 First Degree Felony.

Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.

§§ 32.33, 1341, 1343 – also TPC § 32.33 intent presumed; § 32.49 intent presumed

06/05/18         Kelley deposes Alvarez and obtains a private meeting with Alvarez alone. The
                 Yale Criminal Enterprise solidifies its plan to dupe Alvarez to assisting them in
                 stealing title to the collateral, and convince Alvarez to spy on privileged
                 communications among Steadfast and D&A Alvarez attorneys on behalf of the Yale
                 Criminal Enterprise.
07/14/18         Kelley and Fraga secretly dupe Alvarez into hiring Kelley and Fraga as his new
                 lawyers, without disclosing that Choudhri and/or Kelley and Fraga secretly own
                 2017 Yale, his borrower, and control Fisher and 829 Yale, Alvarez’ debtors and the
                 record owner of Alvarez’ and Steadfast’s collateral.
                 Kelley and Fraga duped Alvarez into releasing his second lien for no consideration
                 at all. 78
                 Kelley and Fraga dupe Alvarez into Releasing all of his claims against Fraga,
                 Kelley, his lawyers; Fisher, 829 Yale (his defaulted 2nd lien borrower and guarantor,
                 the developer who threatened tortiously “sink the project” (with the city, etc.) and
                 who was holding the construction documents hostage) 79; Jetall, Choudhri, 2017
                 Yale all (his defaulted borrowers, and all of the tortfeasors who wronged him).
                 Exhibit 107.



78
  Kelley found that very funny while presenting Parker for his perjurious deposition:
STEADFAST COUNSEL.· David -- or D&A Alvarez released that deed of trust? PARKER: Yeah. They filed a
release --MR. SAVOIE:· Is something funny, Mr. Kelley? MR. KELLEY:· Yeah, it is. Exhibit 35, pg. 145. Kelley
thought the secret MOU and Parker lying about its terms and whether it was executed was funny too. Id at pg. 300-
301.
79
  [STEADFAST COUNSEL] “Do you think anybody could have finished the project without you? FISHER: I'll
sink the project….why would you do that? Angst, I think is the word.” Exhibit 185, at pg. 127.


                                                       77
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 78 of 146




              Kelley and Fraga defraud Alvarez into quitclaiming (to the defaulted borrower,
              2017 Yale) all of his right, title and interest in the 829 Yale property. They duped
              Alvarez into recording a Release of Alvarez’ second Lien against the property.
              They tricked Alvarez into joining their frivolous suit against Steadfast and Alvarez’
              former attorney and loan servicer in their Fourth or Fifth Amended Petition, each
              containing hundreds of pages of false allegations, hopelessly confusing the Court.
              This trick puts Alvarez into defaulting on his New D&A Loan Documents with
              Steadfast, eventually resulting in D&A Alvarez owing a judgment to Steadfast for
              over eight million dollars. These actions were not disclosed to Steadfast, who had
              a contractual relationship with Alvarez. The Yale Criminal Enterprise spoliates or
              conceals all key evidence from the Courts despite Rule 11 agreement, and motions
              to compel by Steadfast and other parties.
              Ultimately, Steadfast was able to prove the obvious using only its own evidence,
              and Fraga and Kelley lost all of the frivolous claims they duped Alvarez into filing,
              as well as all of their own frivolous claims, 2017 Yale and D&A Alvarez owing
              over eight million dollars to Steadfast. Exhibit 18, 19, 29, 44, 45, 46, 101, G; 174.

Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, at least 5 counts, intent
presumed.

Inducing Alvarez into signing fraudulent documents – § 32.46 First Degree Felony.

Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.


§§ 32.33, 1341, 1343 – also TPC § 32.33 intent presumed; § 32.49 intent presumed. (All of these
tricks were performed using email).


              Parker testified that Kelley, Choudhri, Alvarez and Parker were all present. Exhibit
              35 at pg. 314-319.
10/21/18      Steadfast hires new counsel, who determines that the 190th case was a simple loan
              default, and files for Summary Judgment. The Yale Criminal Conspiracy uses tens
              of thousands of pages of fraudulent filings to confuse the Court and cause millions
              of dollars of useless legal fees, before the Court finally comprehends that this was
              really a simple loan default case and grants summary judgments.



Another Secret Fraudulent Transfer by the Enterprise calculated to steal the
property:
12/20/18      During the litigation, 2017 Yale also failing to have paid its property taxes, Harris
              County sues 2017 Yale asserting a tax lien. The Yale Criminal Enterprise dupes
              Alvarez into another scam. Fraga secretly incorporates and is president of “Tax

                                               78
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 79 of 146




              Relief, Inc.” a sham Wyoming company, intending to pull a tax lien scam the Jetall
              group has apparently pulled before. Fraga declined to authorize her sham company
              to do business in Texas, to conceal its identity and confuse it with the real “Tax
              Relief, Inc.,” a legitimate Texas Corporation which knew nothing about this.
              Parker, Choudhri, Kelley and Fraga dupe Alvarez into giving Tax Relief the two
              hundred plus thousand dollars required to pay the taxes. However, instead of 2017
              Yale paying the taxes directly and legitimately as required, and extinguishing the
              tax lien, they had their fake Tax Relief Company pay the lien, and then had their
              fraudulent front man for 2017 Yale, Brad Parker, assign Harris County’s first
              priority tax lien against the property to the sham company. Such an assigned tax
              lien, but for that fraud, would have held a superior lien to Steadfast. Their intent
              was to use the tax lien’s priority to secretly foreclose on Steadfast’s lien and steal
              the property regardless of the litigation. Steadfast discovered the fraudulent
              scheme, and ultimately the sham lien was released. Exhibit 81-83, G. Parker Kelley
              and Fraga perjured themselves about this transaction, infra.
§§ 32.33, 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and full mandatory
restitution, and 18 U.S.C. § 1951(a). – also, TPC § 32.33 intent presumed; § 32.49 intent
presumed.
This conduct also violates Wyoming Statutes 6-5-308, Penalty for Filing False Document, which
is a felony punishable by two years in prison, as acknowledged by Fraga’s signature on Exhibit
83.
01/03/19      Judge Miller is sworn in in the 190th and is thoroughly confused by the Criminal
              Enterprise, refusing Steadfast’s summary judgment on the Loan Documents,
              refusing to grant procedural relief requested by Steadfast, ultimately requiring
              mandamus, and allowing the Enterprise to cause millions of dollars of depositions
              and discovery, all calculated solely by the Enterprise to confuse the issues,
              intimidate or trick the Steadfast lenders into turning on each other, and confuse the
              Court. The 190th ultimately refuses to allow joinder of any tort or other of
              Steadfast’s counterclaims or third-party claims against Kelley, Choudhri, and his
              cohorts, forcing Steadfast to file another suit and move to consolidate in both
              Courts. Exhibit 160.
              Fraga and Kelley present Parker and Choudhri to perjure themselves in depositions,
              claiming among many other things that Parker owns 2017 Yale, pretending it was
              a legitimate company and borrower, and saying no one else had anything to do with
              the collateral. Exhibit 35, 35c, 102, 120.
This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and
full mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony.


01/18/19      The Enterprise records their fraudulent tax lien assignment, hoping to use its
              priority for the straw man company to secretly foreclose on Steadfast and Alvarez’
              interest. Exhibit 81-83.

                                               79
       Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 80 of 146




§§ 32.33, 1341, 1343 – also TPC § 32.33 intent presumed; § 32.49 intent presumed.



123.     It is worth noting that Kelley and Fraga presented Parker to perjure himself

regarding this transaction as well, Mr. Parker testifying that 2017 Yale obtained a loan from

D&A Alvarez “satisfied all tax obligations….” Exhibit 35 at Pg. 93-04.

01/31/19 -     Kelley and Fraga present Fisher, Choudhri and Parker for deposition to perjure
02/12/19       themselves. They testify that 2017 Yale was a legitimate company and that Brad
               Parker owned both 2017 Yale and 2017 Yale GP, with no control by anyone else.
               They fraudulently concealed the Enterprise, and that the entity was formed purely
               to defraud the Courts, Choudhri’s wife in her divorce, and Steadfast.

                “How is 2017 Yale affiliated with Jetall?
                I'm affiliated with Jetall, and I own the company. Exhibit 35 at Pg. 35-6.

                “Who is Yale development GP llc?
                It’s an affiliated company. 2017 Yale development has – record owner…one is
                tied to the other. I own both entities. Id at Pg. 234.

                Are there any other members of either LLC?
                No. I'm -- I'm the sole member of both.    Id.


                “Where did the money come from and who all is involved in this transaction?
                [PARKER]: …outside of draws from the lender, that no meaningful funds were
                contributed to this. So I don't see how it's relevant… I can tell you that the only
                entities that were involved with this transaction was 2017 Yale Development and
                then myself, with Jetall Companies Inc. I'm an employee of Jetall Companies
                Inc. Those are the only -- the only entities that would have anything remotely
                to do with this asset. Exhibit 35 at pg. 104-105. (Kelley and Fraga immediately
                suborn this perjury and immediately attack another lawyer in the deposition). Id.

                STEADFAST COUNSEL: So, again, what entities were active with the Secretary
                of State of any state that are under your control, Ali's control, Jetall's control, or
                2017 Yale's control during the pendency of this lawsuit? MR. KELLEY: You
                don't have to answer. MS. FRAGA: You don't have to answer that.” Id at 108.

                STEADFAST COUNSEL: And there's no expectation that you -- your expectation
                is not to share a penny of that with Ali or anybody else? PARKER: I don't know

                                                 80
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 81 of 146




                 how many more times I can answer this. I've said no consistently. The answer
                 is no. It's my entity.” Id at 115.



124.   Kelley and Fraga objected for Parker immediately before and after this testimony,

at pgs. 232 and 235, and throughout the case, without clarification.

125.   Parker perjured himself because he was bribed by Kelley and Choudhri, who

promised to give Parker some of the membership interest. Compare their conversation on

the whistleblower audiotapes, discovered by Steadfast Parties in July of 2021. Exhibits

B(A-C):


       Ali Choudhri:          “you knew because of my divorce, who owned 2017 Yale from the
                              outset… 24:09…. I had Brad as my proxy in front.” B(A) 24:24.

       Lloyd Kelley:          “I OWN 2017 Yale! B(A) 5:13.

       Ali Choudhri:          “why did you have Brad testify that he owns and controls?” B(A)
                              22:24.

       Kelley:                “I don’t give a fuck what Brad testified to!” B(A) 22:28.
       Kelley:                “Brad was a front guy” B(A) 31:03.

       Choudhri:              “You knew that all along” B(A) 31.04. “Why did you let brad
                              testify the next day?” B(A) 29:57.

       Kelley:                “He just testified that he was the authorized rep, that’s all he
                              testified to.” B(A) 5:40. “He didn’t testify he owns it, he said I’m
                              an authorized agent”

       Choudhri:              “That’s not what he said, Kelley, you told him to say that he owns
                              it and he manages it, that’s what you told…” B(A) 31:03.

       Kelley:                “He never said the word owns”

       Choudhri:              “Yes he did, you told him to say that he owns it and he manages it.
                              He said he’s the only … You told him to say that. Lloyd, I’m telling
                              you, you said that” Exhibit B(A) 31:14.


                                               81
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 82 of 146




       Choudhri:                “you wanted Brad to testify that to be representative for 2017, you
                                did not want 2017 Yale to show….” B(A) 5:25.

       Kelley:                  “Brad didn’t want to show up, and you talked about giving Brad 5%
                                or 10% which I thought was a great idea, so he's getting his 5 or
                                10%, so he stays in. I was told he wanted to do that.” B(A) 3:41.

       Kelley:                  “… I told you this is no good if Brad's out of the picture. No good.
                                if Brad doesn’t have ownership, these claims are worthless.
       Choudhri:                “brad never had ownership” B(C) 0:19.
       Fraga:                   “what does that do with the tax lien because brad transferred it and
                                the secretary of state still shows brad parker on it?”


126.   Choudhri also perjured himself in Kelley and Fraga’s presence as counsel:

                 Q. You're affiliated with 2017 -- MS. FRAGA: Objection. Form. - Yale
                 A. No.
                 Exhibit 120. Pg. 209, ln 5-8.

                  (STEADFAST COUNEL:) Do you have any right to control anyone
                 that's associated with 2017 Yale Development LLC?
                 A. No. MR. KELLEY: Objection Form. MS. FRAGA: Objection Form.
                 Exhibit 120, Pg. 210, Ln 3-7,9.


The Enterprise uses over two hundred hours of deposition time for the sole purpose
of harassing, abusing, intimidating, and attempting to turncoat the Steadfast Lenders
against each other as they did Alvarez:
                 Over Steadfast’s objections and requests for protective orders, the Yale criminal
                 Enterprise forced dozens of out of state Steadfast lenders to appear in Houston for
                 abusive and harassing depositions. During the depositions, the Yale Criminal
                 Enterprise was incredibly abusive. Their worst abuses were when they thought
                 the record wasn’t running. For example, read the first 25 pages of Sal Ballesteros’
                 deposition – Steadfast had to call the police on Mr. Kelley. Exhibit 186. He
                 thought that wasn’t on the record, but it was that time. It was like this when the
                 record was not on. Sal is a great man, a successful small businessman, but not a
                 wealthy man. He loaned his money because we had a well secured construction
                 loan, but for the fraud by the Yale Criminal Enterprise. But he is English second
                 language and they attempted to abuse that and call Sal’s and Steadfast’s attorney
                 racist. (The Yale Criminal Enterprise has pulled other false race-baiting tricks as
                 well, for instance hiring or bribing or influencing “Quannell X” to call other
                 opposing counsel ‘racists’ in other cases). The real reason for all of this is that
                 they were never trying to learn information in these depositions. They knew their

                                                  82
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 83 of 146




            entire case was a fraud. They were trying to trick, intimidate, or harass the lenders
            into giving up, bribing them, extorting them, or making disastrous decisions to
            flip sides like Alvarez did.


The Enterprise obtains improper ex parte relief from a Harris County Judge:
06/04/19    During heated summary judgment and discovery practice in the 190th, the Steadfast
            Parties are forced to file what should be their recently discovered counter and third-
            party claims as a separate suit. Despite their objections and Motion to Consolidate,
            this case was sent to the 125th, (beginning with 2019-23950), and consolidation
            was denied. Judge Carter in the 125th ignored undisputed evidence, law,
            procedure, logic, equity, and the rules, and simply arbitrarily grants roughly seven
            million dollars in baseless sanctions against the Steadfast Parties three weeks after
            the Petition was filed, on June 25, 2019.
            The 125th reviewed and took express judicial notice of Steadfast’s conclusive,
            irrebuttable, clear and convincing, and uncontroverted evidence and pleadings,
            filed with Steadfast’s Petition, Motion to Consolidate, and other pleadings from the
            start of the case, proving the 2017 Yale conspirator’s fraudulent transfer and stolen
            loan funds as a matter of law. The file included the fraudulent transfer deed and the
            Deed of Trust making it illegal. The file included 2017 Yale’s bank records proving
            they stole the loan money, along with other conclusive evidence proving Steadfast’s
            case. The 125th nonetheless made an absolute mockery of procedural and
            substantive law, and arbitrarily awarded the 2017 Yale conspirators a seven-
            million-dollar final judgment against the Steadfast Parties, on obviously frivolous
            and facially defective T.C.P.A. motions, without any supporting evidence, merely
            three weeks into that case, in an ex parte ruling.
            The 125th informed Steadfast’s Counsel that no hearing was going forward, and
            then held an ex parte hearing with the 2017 Yale conspirators anyway; the 125th
            was proven to have engaged in other ex parte communications with the 2017 Yale
            conspirators and counsel as well; the District Clerk’s website was later proven to
            have been altered to allow otherwise untimely sanctions against Steadfast.


            The 125th was later disqualified after a lengthy trial supported by uncontroverted
            evidence before the Honorable Judge Susan Brown for egregious misconduct, and
            its orders and judgments voided. Due to this misconduct and vexatious litigation
            by Kelley and his cohorts, two more related cause numbers exist in the 125th as
            well (2019-51432 and 2019-59191). These cases all remain stalled in the 190th
            pending the Yale Conspirator’s frivolous appeal of Judge Brown’s Order
            Disqualifying Judge Carter. Exhibit 90, 91, 160. The void Orders of Judge Carter
            leave all of these torts unadjudicated, though now proven by judicial admissions
            herein and ready for summary disposition and final justice.



                                              83
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 84 of 146




The District Clerk’s website was also altered after the fact to accommodate prejudicial rulings
against the Steadfast parties, and other matters merit investigation into felonious conduct under
Penal Code §§ 39.02, 39.03; 18 U.S.C. § 201.
06/21/19      Steadfast is forced to mandamus the 190th on eighteen grounds. Mandamus was
              denied but 190th ruled on some procedural motions thereafter, later admitting on
              the record (after the Enterprise also tried to recuse, disqualify, and mandamus the
              190th as well, without any valid basis) that it had essentially granted nearly all
              procedural relief requested by the Yale Criminal Conspiracy during that case.
              Exhibit 181.
07/09/19      All contractual note default claims and defenses, and the Yale Criminal Enterprise’s
              frivolous tort and other claims and defenses against Steadfast are resolved in the
              190th by Summary Judgment in Steadfast’s favor, even though no one yet knew
              Choudhri, Kelley and Fraga secretly owned 2017 Yale or that they were conspiring
              another fraudulent title transfer. The Court set trial on damages for July 23, 2019.
              Exhibit 160.
              The Criminal Enterprise begins planning the fake trust fraudulent transfer scam,
              and to that end, circulates a prior title commitment they had secretly obtained from
              WFG in 2018. Exhibit 154a22 7-9 eml (the Enterprise always planned insurance
              fraud as a backup to lender fraud – See Exhibits B(a-c), supra). 2017 Yale
              Development LLC had secretly acquired a commitment proving yet again that the
              Enterprise knew that Steadfast’s CTNL and Loan Documents constituted a prior
              superior lien. Exhibit 154a22, at page 6, item 6. This commitment is yet more
              evidence that the Enterprise knew that all of their federal and eviction pleadings
              were frivolous. The Enterprise concealed this email and commitment in discovery.

Yet another sham company and fraudulent transfer calculated to steal the property:
07/22/19      Finally staring foreclosure and a judgment against 2017 Yale in the face, Kelley
              begins secretly arguing with Choudhri over their “deal” to let Kelley steal the
              property at 829 Yale in settlement of their prior fee obligation for their fraud on
              Choudhri’s divorce Court. (Kelley and Choudhri, both being crooks, have sued
              each other for fraud on occasion as well. See Exhibit B(A-C) and 103. Kelley
              concocts a fraudulent scheme to gain sole control over the property using 2017 Yale
              and the fact that the conveyance to Lloyd still remained secret.
              Kelley bribes Nicholas Fugedi, a Michigan acquaintance, into pretending to be a
              trustee. Kelley has other friends, Elberger, Herman and others, create trust
              documents for his fake trust, and create a sham beneficiary entity. Exhibit 59, G,
              86a-v. They create this fake trust and fake transaction documents, circulating all
              by interstate emails and mail, and recording fraudulent releases and deeds in the
              Harris County Real Property records by U.S. mail and fake documents with the
              Secretary of State. Id.
              Kelley tries to get Alvarez to execute another fraudulent lien release, this time
              purporting to release Steadfast’s first lien, even though such a release is clearly

                                               84
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 85 of 146




             precluded by Steadfast’s Loan Documents. Alvarez apparently won’t do it unless
             Kelley pays him, so Kelley arranges to pay Alvarez $251,000 to get him to sign the
             fraudulent lien release. The Criminal Enterprise lied to the Federal and state Courts,
             claiming that Fugedi, who had no assets, paid the funds to Alvarez for the bribe to
             get the fraudulent lien release. However, Kelley later admits that 2017 Yale, his
             secret company, which also had no assets, is the one that funded his money to
             Alvarez in the bribe to induce the fraudulent release.          (See Designation of
             Responsible Third Parties in the 190th, filed February 25, 2022). Either way, that
             was Enterprise money, stolen from Steadfast, and invested into the Enterprise to
             continue its pattern of fraud.
             Kelley has Parker, the fake owner of 2017 Yale, execute a fraudulent deed to
             Kelley’s fake Trust, on a defective deed form which is void for lack of a grantee.
             (Kelley’s fake deed should have named his fake trustee, Fugedi, instead of just the
             fake trust itself as the grantee under Texas law).
             Kelley and Choudhri use their shady title agency, Transact Title, and their lawyers,
             to obtain a title insurance policy based on the fraudulent Alvarez release.
             The entire Criminal Enterprise knows that Alvarez can’t release Steadfast’s liens;
             that Steadfast had a judgment pending; that Kelley owned both sides of the fake
             transaction, and that the entire sham was solely to perpetrate a fraud.
             Kelley and Transact Title secretly record the fake deed to the trust on July 22, 2019.
             2017 Yale pays nothing. The Carb Pura Vida trust paid nothing. Neither has any
             other assets. They are both just a sham for Kelley and Choudhri, with Fraga and
             Parker getting promised a cut as well to participate in the fraud. Exhibit G, 86(a-
             v), 95, 35, 102, 109, 110.
             After losing everything, Alvarez later finally realizes he will never see a dime from
             the Criminal Enterprise, retains real lawyers in 2020, and ceases cooperating with
             Kelley and Choudhri’s frauds. Exhibit B(A-C); G.


127.   The fraudulent transfer Deed recorded on July 23, 2019, at RP-2019-317072 of the

Official Public Records of Harris County, Exhibit 68, and the fraudulent Release of Lien

filed by D&A Alvarez Group, LLC, fraudulently purporting to release a lien held by

Steadfast Defendants, recorded at RP-2019-317071 of the Official Public Records of Harris

County, are facially void, in breach of contract, and are fraudulent transfers and lien

documents, constituting numerous felonies. Exhibit 94, pg. 402.



                                              85
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 86 of 146




Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, at least 5 counts, intent
presumed.

Inducing Alvarez into signing fraudulent documents – § 32.46 First Degree Felony.

Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.

§§ 32.33, 1341, 1343 – also TPC § 32.33 intent presumed; §32.49 intent presumed.


2017 Yale lost the civil suit, and to avoid judgment, Kelley, still its secret owner, formed a fake
Michigan trust, bribed a Michigan friend to be a sham trustee, bribed and tricked Alvarez into
executing and recording a fraudulent lien release, wired Alvarez some funds for the sham release
(about what they had stolen from him for the tax lien scam) and 2017 Yale again illegally and
fraudulently transferred another sham deed to the collateral from 2017 Yale to the fake trust.
Kelley had the trust make out a fake promissory note to Alvarez to supposedly get Alvarez to
participate. They also defrauded First American Title Insurance Company using the fake lien
release, using their buddies at a local crooked title agent. The bribes to Fugedi and Alvarez were
made by interstate wire and email.


07/24/19       During the damages trial, Steadfast searched the real property records discovering
               the secret fraudulent transfer of the void deed. The Court takes Parker under oath
               who admits the fraudulent transfer. Parker, Fraga, Kelley all lie to the Court and
               pretend that Parker owns 2017 Yale and that the trust is a real bona fide purchaser.
               Court continues with the jury on the contract loan default issues presently before
               the Court. Exhibit 102, pg. 78-85.
Making False Statements to Obtain Property or Credit - § 32.32 First Degree Felony.

Aggravated Perjury - § 37.03 Third Degree Felony.



128.   Kelley, though he personally created the entire sham just two days before, lied to

Steadfast and the Trial Court and said:

               “it’s called Caribbean or Carribe something trust… Carribe carribbita trust holds
               it for a company who’s owned by a gentleman named Robert Elbert who is in Costa
               Rica.” Exhibit 102 at pg.80, 84. After telling the 190th that: “I did not handle the
               transaction,” Exhibit 102 at pg.80; Kelley lied again when the 190th asked him:
               “Were you part of forming this entity? Mr. Kelley: No.” The Court asked “are any
               of you part of that entity? Kelley and Fraga answered: “No sir.” Id at pg.79. The
               Court again asked Kelley if he was the lawyer, and Kelley misled the Court again:

                                                86
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 87 of 146




              And are you the lawyer, Mr. Kelley? Mr. Kelley: “I’m the lawyer for David
              Alvarez,” omitting the truth. Id at 83. Compare Exhibit G, 86(a-v), B(a-c), where
              Kelley deliberately drafted all the documents, bribed all the players, and concocted
              the whole ‘brilliant idea’, supra, solely to defraud Steadfast.

07/26/19      190th Jury enters verdict in favor of Steadfast. Kelley’s cohorts engage in extended
              vexatious and fraudulent post-judgment litigation in the 190th and the 125th to
              avoid justice and delay the judgment, including mandamusing Judge Miller and
              filing Motions to Recuse and Disqualify Judge Miller based upon false allegations
              of unethical conduct. Exhibit 160. The Ancillary Court enjoins all the criminals
              from further action against the collateral and orders production of documents,
              which Order the criminals all completely ignore. Exhibit 98, compare 105. Kelley
              goes to the property at 829 Yale and gets into an altercation threatening Steadfast’s
              security guards, requiring law enforcement intervention, and illegally placing his
              own lock on the property in violation of the T.R.O. See Exhibit 105.
Civil and Criminal contempt, trespass.
08/01/19      Kelley pays Hill and other lawyers to have his fake trustee, Fugedi, file a frivolous
              federal quiet title action against Steadfast in the Galveston District Court (3-19-cv-
              00249), seeking to enjoin Steadfast’s foreclosure again. Fraga frivolously sues
              2017 Yale’s title insurance company they defrauded in Harris County District
              Court. Exhibit 93. Fugedi, Kelley’s fake trustee, perjures himself in an affidavit
              electronically filed from Michigan in the E-Filing system of the Federal Court.
              Exhibit 121.
Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, intent presumed.
This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and
full mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony.


              Judge Carter continues a pattern of abuse in favor of the Conspirators in various
              cause numbers in the 125th, resulting in mandamus and disqualification.
10/22/19      After numerous vexatious tactics, hearings, trials on recusal, disqualification,
              T.C.P.A motions, contempt hearings dodged by false allegations of illness and
              other tactics, Judge Hill denies recusal or disqualification of Judge Miller, the
              Courts of Appeals deny their Mandamus of Judge Miller, and Judge Miller enters
              Final Judgment in the 190th on the contractual liability of the borrowers. Exhibit
              92. 2017 Yale appeals frivolously, still concealing the fact that Choudhri, Fraga,
              and Kelley secretly own 2017 Yale. They present fraudulent supersedeas bond
              affidavits, obstructing Steadfast’s remedies and recovery for years more. Exhibit
              110. The 190th refuses Steadfast’s requested relief to protect the property.
Hindering Secured Creditors Penal Code § 33.33 – First Degree Felony, intent presumed.



                                               87
        Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 88 of 146




This misconduct violates 18 U.S.C. §§ 1341, 1343, 1346; §§ 2326-7 adds another 10 years and
full mandatory restitution, and 18 U.S.C. § 1951(a). Aggravated Perjury - § 37.03 Third Degree
Felony.

11/04/19            Conspirators file a frivolous quiet title case in Galveston Federal Court seeking to
                    enjoin Steadfast’s foreclosure again, based upon the fraudulent transaction with the
                    fake trust, perjurious affidavits, and fraudulent evidence. After extensive hearing,
                    the Honorable Jeffrey Brown declines to enjoin foreclosure.
Penal Code § 37.10, Aggravated Perjury §§ 37.02, 03, Concealing the recorded title documents
from the federal court is a clear violation of 18 U.S.C. § 1512. All fraudulent instruments were
circulated by interstate email in violation of §1343.

11/06/19            Steadfast properly forecloses on the collateral, properly sending and recording all
                    notices and its Substitute Trustee’s Deed. Exhibit 97. None of the frauds make
                    any offer for the Property, neither Choudhri, Parker, Kelley, Fisher, 2017 Yale, 829
                    Yale, or any of their conspirators ever having paid or offered a cent for the property,
                    or to repay the loans. However, the Yale Conspirator’s fraudulent pleadings,
                    evidence, and real property records, as well as spies posing as potential buyers,
                    prevent Steadfast from being able to sell the collateral, and cause additional
                    damages.
11/07/19            After losing the T.R.O. hearing, the Enterprise seeks out Judge Carter’s brother’s
                    Justice of the Peace Court to files a frivolous eviction lawsuit (191100448845) on
                    behalf of Kelley’s fake trustee, Fugedi, against Steadfast’s security guard company,
                    seeking to effectively evict Steadfast, obstruct sale of the property, and gain access.
                    Carter ignores the law, evidence, rules, equity, and obvious lack of jurisdiction, and
                    gives the fake trustee a judgment for eviction after a trial. They also record a
                    frivolous Lis Pendens against the Property. Exhibit 96. Steadfast is forced to post
                    bond and appeal to the County Court. The now resigned and disgraced Judge
                    Barnstone in the County Court also ignores the law, evidence, equity, logic, rules
                    and obvious lack of jurisdiction or standing and attempts to sanction Steadfast for
                    the condition of the property. After mandamuses, appeals, and unnecessary trials
                    and hearings, Barnstone is ultimately forced to resign from the bench for
                    misconduct. 80 The First Court of Appeals ultimately affirms Steadfast’s appeals of
                    the misconduct by these courts. Exhibit 180.
Penal Code § 37.10, Aggravated Perjury §§ 37.02, 03, Concealing the recorded title documents
from the federal court is a clear violation of 18 U.S.C. § 1512. All fraudulent instruments were
circulated by interstate email in violation of §1343.
                    Steadfast files clearly valid motions to dismiss and for summary judgment in the
                    Enterprise’s frivolous federal quiet title and state eviction cases, to no immediate



80
     https://lawsintexas.com/texas-judge-george-barnstone-resigns-rather-than-face-any-discipline/


                                                          88
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 89 of 146




              avail due to the Enterprise’s fraudulent documents, perjury, and apparent undue
              influence on certain judges (Carter, Barnstone).
12/18/19      Judge Carter issues the absurd judgment evicting Steadfast’s security company and
              gives the Enterprise a baseless writ of possession. Steadfast appeals to County
              Court, landing in soon-to-be-forced-to-resign-in-disgrace Judge Barnstone’s Court.
01/09/2020    Conspirators appeal 190th judgment on fraudulent pauper’s supersedeas bonds.
              Exhibit 110.
Penal Code § 37.10, Aggravated Perjury §§ 37.02, 03, Concealing the recorded title documents
from the federal court is a clear violation of 18 U.S.C. § 1512. All fraudulent instruments were
circulated by interstate email in violation of §1343.
01/13/20      Exhibit B(b) is recorded, proving the Yale Criminal Enterprise federal case was
              frivolous, and their fraud was the only thing that obstructed Steadfast’s proper
              foreclosure; proving that the title companies were involved in the transfer; the fake
              trust scam started the minute they lost the summary judgments in the 190th;
              planning how to bribe Parker to give perjured testimony in support of supersedeas
              bond for that frivolous appeal; admission that the Fugedi transfer was really the
              Yale Criminal Enterprise’s fake trust plan to steal the property and set up frivolous
              claims; admission that Choudhri expected to get 829 Yale back or be given the trust
              ownership back, after the Yale Criminal Enterprise’s frivolous litigation stole it
              from Steadfast; sharing the profits from the transaction among Choudhri, Fraga,
              Parker, Kelley, Mansoor; implication that the Yale Criminal Enterprise rigged the
              wrongful Judge Carter TCPA judgment and intended to use that fraudulent
              judgment to pay the attorneys; admit that Stephanie Alvarez, Shanaz Choudhri and
              all of Choudhri’s companies were using the scams to avoid their debts; proof that
              Kelley was originally promised a condo at Yale, and instructed Choudhri not to
              settle the 2017 Yale case with Steadfast, and that the entire 190th case was
              frivolous, because Parker and 2017 Yale didn’t extend both notes; admit that the
              Criminal Enterprise’s relationship with Judge Brittany Morris made it impossible
              to lose in her Court; proof that Choudhri promised that Pierce, Fraga and other
              attorneys would be paid out of the Yale Criminal Enterprise, or by assignment of
              2017 Yale; discussion of various judicial ethics abuses. See Highlighted Certified
              Condensed Transcript Exhibit B(b), and audiotape. These tapes are probably best
              reviewed in this format, reviewing B(a) first, B(b) second, and B(c) third.
01/27/20      Kelley’s lawyers for his fake trust bribe landman Don Huebner into creating a fake
              title abstract, and the attorneys file the fake abstract in the Federal Court to try to
              claim Alvarez released Steadfast’s liens and the fake trust should be a bona fide
              purchaser. They also file the fake abstract in the Barnstone’s frivolous County
              Court eviction case. Exhibit 94, 115.
These Parties filed fraudulent and fraudulently induced instruments in the Harris County real
property records, and U.S. Federal Court for the Southern District of Texas, Galveston Division.
Government Code Sec. 51.901 requires notice to the County or District Attorney once we notify
them. Each occurrence of this conduct is a second-degree felony under Penal Code § 37.10. The

                                                89
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 90 of 146




false title abstract and affidavit in Federal Court; the fraudulent deeds; the fraudulently induced
lien releases, and the fraudulent corrective instruments are all violations. Concealing the recorded
title documents from the federal court is a clear violation of 18 U.S.C. § 1512.

02/07/20       The Honorable Susan Brown concludes a lengthy trial and properly disqualifies
               Judge Carter of the 125th, voiding those orders. Exhibit 90, 91.
               Steadfast demands retraction of fraudulent real property documents under Penal
               Code § 32.49. Exhibit 100. None of the Yale Criminal Enterprise respond, except
               Alvarez, who takes control back of Tax Relief, Inc., and releases that fraudulent
               lien as he became a whistleblower and renounced the fraud. As such each of these
               parties is guilty of an automatic Class A misdemeanor.
Failing to release fraudulent instruments – § 32.49, Class A misdemeanor, at least 3 counts, intent
is presumed. Even this crime alone supports RICO relief, as it is punishable by one year in prison.

02/10/20       Conspirators file numerous frivolous mandamus actions of Judge Brown’s
               disqualification of Carter.
02/14/20       Steadfast mails notice of demand under Penal Code § 32.49 to the Yale Criminal
               Enterprise, who ignores it, cementing their felony under § 32.49 without need for
               further evidence proving intent, supra.
Penal Code § 32.49, intent presumed.
02/21/20       Exhibit B(c) recorded by Ali. Fraga, Parker, Choudhri, Kelley; discussing perjury,
               ex parte communications with judges, the goal of the Yale Criminal Enterprise to
               defeat Steadfast and steal the property; proof that Kelley was paying for frivolous
               claims and appeals; proof that the sole purpose of the fake Fugedi trust was to
               denude Steadfast’s judgment and obstruct foreclosure; admit federal case was
               frivolous; admit Mansoor and the Transact Title Defendants were in on the fake
               trust scam; parties plotting the scope of Parker’s future perjury. See Highlighted
               Certified Condensed Transcript Exhibit B(c), and audiotape.
04/06/20       Conspirators file frivolous appeal of the Disqualification of Carter.
Penal Code §37.10, Aggravated Perjury §§ 37.02, 03, Concealing the recorded title documents
from the federal court is a clear violation of 18 U.S.C. § 1512. All fraudulent instruments were
circulated by interstate email in violation of § 1343.

04/14/20       Exhibit B(a) is recorded, wherein the Yale Criminal Conspiracy confirmed their
               2017 Yale assignment to Kelley, to cancel debts of the Choudhri, Shanaz and
               companies through the Yale Criminal Enterprise fraud; arguing over whether they
               cancelled the fraudulent transactions between them for the debt or not (now that
               their victory over Steadfast was slipping); pressing Parker to perjure himself to try
               to steal Yale, and bribed him with “5 or 10%”; proof that Choudhri expected to get
               the Yale property back after the fraudulent trust transfer and frivolous litigation;
               Kelley explaining that he had control of Yale and the fake Trust instead, pushing

                                                90
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 91 of 146




              Choudhri for cash; Kelley concealing his ownership from the Court and Parker’s
              perjury; offering a percentage of the Yale Criminal Enterprise to lawyers to
              participate in the fraud; acknowledging that Kelley and Choudhri still have the
              power to “undo the trust transfer” and control 2017 Yale and Fugedi’s trust; proof
              Choudhri caused 2017 Yale to abandon the loan and construction, and told workers
              to stop, and that the entire 190th lawsuit was frivolous, as Steadfast’s supposed
              “failure to renew the second lien’ was ‘not the problem.’” Admits Kelley gave
              Fraga a percentage of the Yale Criminal Enterprise to work on the frivolous
              litigation; proof that Kelley and the others agree that both Choudhri and Brad are
              still getting 5 or 10% of the Yale Criminal Enterprise; Kelley offers to sell 2017
              Yale back to Choudhri for cash; proof that they both instructed Parker to perjure
              himself and claim sole ownership of 2017 Yale in all the Courts, and proof that
              without that fraud, the entire Yale Criminal Enterprise was worthless. See
              Highlighted Certified Condensed Transcript Exhibit B(a), and audiotape.
06/30/20      Conspirators file another frivolous mandamus of Judge Brown.
12/16/20      Soon-to-be-former Judge Barnstone holds sham trial and attempts seemingly
              “setup” sanctions and injunctive hearing against Steadfast and later trial, without
              jurisdiction. Steadfast mandamuses and appeals,
04/16/21      Galveston Federal Court finally issues final summary Judgment in Steadfast’s
              favor, failing to address many key issues, but deciding on the valid ground that the
              Enterprise’s fraudulent deed was void for lack of a grantee. Exhibit 89.
              Conspirators file a frivolous appeal, continuing to defraud the Court as to ownership
              of 2017 Yale and the fake trust, lying to the Court claiming that the trust paid
              millions of dollars to buy the property, and relying on their fraudulent title abstract,
              perjurious affidavits, and fraudulent releases and deeds. See Motion to Dismiss
              Appeal filed in the 5th Circuit, Cause No. 21-40365.
Penal Code § 37.10, Aggravated Perjury §§37.02, 03, Concealing the recorded title documents
from the federal court is a clear violation of 18 U.S.C. § 1512. All fraudulent instruments were
circulated by interstate email in violation of §1343.
12/15/21      Oral Arguments held in the First Court of Appeals on the Yale Criminal
              Enterprise’s frivolous appeal of the 190th contractual liability Judgment on the
              notes. The Criminal Enterprise makes numerous frivolous claims and arguments,
              and of course their entire case was founded in fundamental fraud on the Court.
01/31/22      Oral Arguments are held in the Fifth Circuit on the Yale Criminal Enterprise’s
              frivolous appeal of the federal quiet title judgment. The Criminal Enterprise makes
              numerous frivolous claims and arguments, and of course their entire case was
              founded in fundamental fraud on the Court.
02/08/22      Conspirators file request of Justice Hecht to remove appeals from the First Court
              of Appeals. In response, Steadfast requests a Special Master to coordinate
              combined federal, state, civil, administrative, and criminal investigations into the
              Yale Criminal Enterprise. The Clerk of the Supreme Court declines the

                                                91
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 92 of 146




               Enterprise’s request to remove the cases from the Court of Appeals. The Court is
               silent as to the Special Master request. The Criminal Enterprise makes numerous
               frivolous claims and arguments, and of course their entire case was founded in
               fundamental fraud on the Court.
02/23/22       After years of trying to sell the property privately, all of which efforts were
               unsuccessful due to the fraudulent litigation, and likely other fraud and tortious
               interference by the conspirators, the Steadfast Parties must list the property and sell
               it at dramatically reduced price, to avoid it becoming a worthless tear-down
               property due to dilapidation. The conspirators sent a spy to the showing, concealing
               their identity, and attempted to entrap the Sellers’ broker, spy on proceedings, and
               file a fraudulent bid. See Sherrin Declaration Exhibit 170. All best and final bids
               were due from prospective buyers by 02/25/22. Id.
               First Court of Appeals overturns frivolous Carter J.P. and Barnstone Judgments and
               reverses the judgment and order of both Courts in Cause No. 01-21-0036. Exhibit
               180.
02/25/22       In order to tortiously interfere with any sale, and preclude Steadfast from proper
               recovery and mitigation of their damages, the conspirators filed a fraudulent lis
               pendens again. Exhibit 163. This lis pendens is based solely on their fraudulent
               lawsuit and title abstract on appeal.
These Parties filed fraudulent and fraudulently induced instruments in the Harris County real
property records, and U.S. Federal Court for the Southern District of Texas, Galveston Division.
Government Code Sec. 51.901 requires notice to the County or District Attorney once we notify
them. Each occurrence of this conduct is a second-degree felony under Penal Code § 37.10. The
false title abstract and affidavit in Federal Court; the fraudulent deeds; the fraudulently induced
lien releases, and the fraudulent corrective instruments are all violations. Concealing the recorded
title documents from the federal court is a clear violation of 18 U.S.C. § 1512.

               The conspirators still did not make an offer to buy the property, just as they never
               paid a cent for the property in the entire history of the case, never offered a cent in
               settlement, and never offered a cent at the substitute trustee’s sale.
3/16/2022      The Yale Criminal Enterprise filed yet another frivolous pleading founded upon
               fraudulent documents and perjured testimony, requesting an extension of time for
               the Criminal Enterprise to request a rehearing from the First Court of Appeals on
               their frivolous eviction case against the Steadfast Parties’ Security Guard
               Company. The only possible purpose for these actions is to continue their
               fraudulent pattern, continue frivolous pleadings, for the sole goal of increasing
               damages to the Steadfast Parties and obstructing the sale of their collateral in
               mitigation of damages.




                                                 92
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 93 of 146




03/19/22         After four years, twenty cause numbers in eight different courts, 81 with fourteen
                 mandamuses, seven appeals, and after oral arguments in the First Court of Appeals
                 and the Fifth Circuit of the United States; after two hundred and fifty thousand
                 dollars in deposition transcripts, and over two million, four hundred thousand
                 dollars in legal fees by Steadfast, no Court has yet seen fit to do justice or rectify
                 these wrongs. Steadfast moved for a summary judgment that was clearly and
                 obviously dispositive within the first ninety days and first forty thousand dollars of
                 attorney’s fees. Nothing has changed since then, except that Kelley and Choudhri
                 have been desperately and successfully spending effort, fees, and “capital” of
                 whatever kind necessary to preclude any justice from ever being done. The 190th
                 and Galveston Court eventually came to their judgments, but the path to get there
                 was not justice and their rulings essentially hollow. No one has sanctioned these
                 criminals. These criminals have ruined so many lives that Wayne Dolcefino
                 released a series of exposes. Judges have been disqualified and forced to resign.
                 Bar complaints have been filed. Criminal investigations are apparently underway.
                 But so far, few Courts have properly or timely administered justice, as did the
                 Honorable Judge Susan Brown, and there remain appeals unresolved to this day.
                 All of the Courts had clearly dispositive motions and evidence before them almost
                 immediately, by 12(b), or Motions to dismiss or for Summary Judgment. All of
                 these Courts have had clear, undisputed whistleblower evidence of this multi-
                 million-dollar fraudulent Enterprise since July of 2021. Now this Court is armed
                 with the whistleblower evidence and judicial admissions to finally make this right.

This is an interstate Criminal Enterprise among several corporations, trusts, LLC’s and individuals,
using mail and email communications to engage in a pattern of fraud in these and other cases, as
well as a conspiracy to engage in vexatious and frivolous litigation and “extortion by courthouse.”
They have attempted to collect fraudulent debt and violated 18 USC §§ 1341 and 1343. Their
fraudulent inducement of the deeds from STF, and the releases from DA are clear violations of 18
U.S.C. § 1951(a). Their witness tampering and fraudulent inducement of DA to testify against his
own and STF’s interests is a clear violation of 18 U.S.C. §§ 1503 and 1512. These federal crimes
all have ten- or twenty-year punishments.

Such “racketeering activity” means (A) any act or threat involving extortion, which is chargeable
under State law and punishable by imprisonment for more than one year; (B) any act which is
indictable under any of the following provisions of title 18, United States Code: Section 201
(relating to bribery), section 1341 (relating to mail fraud), section 1343 (relating to wire fraud),
section 1344 (relating to financial institution fraud), section 1503 (relating to obstruction of

81
   01-19-00463-CV; 01-19-00499-CV; 01-19-00555-CV; 01-19-00726-CV; 01-19-00793-CV; 01-20-00027-CV; 01-
20-00133-CV; 01-20-00134-CV; 01-20-135; 01-20-00188-CV; 01-20-00189-CV; 01-20-00190-CV; 01-20-00480-
CV; 01-20-00481-CV; 01-20-00482-CV; 2016-64847, in the 190th Civil District Court of Harris County; 2019-23950,
2019-59191; 2019-51432 in the 125th; 03-19-CV-00249 in the Southern District, Galveston Division; 21-40365 in
the Fifth Circuit; 119110044885 in Harris County Justice Court 115005 in Harris County Court at Law.

                                                      93
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 94 of 146




justice), section 1512 (relating to tampering with a witness, victim, or an informant), section 1513
(relating to retaliating against a witness, victim, or an informant), section 1546 (relating to fraud
and misuse of visas, permits, and other documents), section 1951 (relating to interference with
commerce, robbery, or extortion), section 1952 (relating to racketeering) section 1957 (relating to
engaging in monetary transactions in property derived from specified unlawful activity), section
1958.

There is already another Civil RICO action against these Parties in the Southern District
Bankruptcy Court.

129.   The reality of a case is found by following the money. Conspirators deliberately

and illegally inserted themselves into the title to Steadfast’s collateral, and pursuant to their

scams, stole millions of dollars from Steadfast and D&A Alvarez. Conspirators never put

a penny of their own into the loan or the Property. Conspirators are infamous for leaving

a blight of hundreds of cases involving real estate fraud scattered throughout Harris

County, with abandoned properties littering Houston’s skyline. The only money ever paid

by the Yale Criminal Conspiracy was a $100,000 bribe to Terry Fisher to illegally give

away title and let Jetall and the rest of them extort and steal loan money; a $5,000 bribe to

Fugedi to be a fake trustee, and a $251,000 bribe to Alvarez for the fraudulent lien release,

and then the money Kelley secretly paid other lawyers to pretend to be lawyers for real

parties, and defraud Steadfast. That money came from the Enterprise’s theft of Steadfast

funds, and was reinvested in furtherance of their scams against the Yale property.



Attorneys must be disqualified:



130.   These taped calls evidence ongoing crimes and fraud. They were recorded by the

participants. None of the players on this call even legally own an interest in the subject

                                                 94
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 95 of 146




matter of this suit. None are attorney of record.                   See also Memorandum Confirming

Admissibility of Wyatt Audio, Exhibit B; Exhibit 122.

KELLEY:          “All of that is being held together because of me. All these lawyers are working
                 for me.” B(B) 14:00.

                 “You never paid any attorney’s fees…” B(B) 23:18.

KELLEY:           “I’ve got to make the decision to rescind the transaction and sue you,[Choudhri]
                  or continue with the transaction.” B(A) 5:53. Alright Ali, keep complaining about
                  your lawyers, you are about to have an avalanche of shit hit you, it ain’t even
                  gonna be funny. You got no good lawyers. None that I am aware.” B(A) 14:45.
                  “I’m tired of working my ass off, worried about these people that I've got involved
                  in this shit worried about whether they're gonna commit malpractice. and
                  somebody's gonna come after me. I’m gonna make assurances to them. I want
                  to send the trust, a piece of this case, a piece of the company to these lawyers to
                  get paid.” B(A) 28:25. “I can just focus on the last part which is 2017 Yale. Which
                  I’ve got Michelle in, and Michelle… thinks she's going to miss deadlines, and she's
                  already missed one. She's got a... to pay this shit up. You're forking up the money?
                  You haven’t spent a fucking dime Ali, so how do you own it, and you've spent
                  nothing and you're gonna claim all this shit later? What did you do Ali, you don’t
                  spend a fucking nickel? No thanks. This is expensive shit and you ain’t paid a
                  goddamn dime yet. Shit. We're offering you a free 5 or 10% and the 10% was
                  supposed to be for Brad.”B(A) 20:42. “I’m not handling the appeal’” B(A) 32:22.
                  “If you want free advice, that's free, just because you fuck it up later, and don’t do
                  the right thing ain’t my problem. When I give you free shit, or free shit on the
                  phone like, how do you deal with Moore, and you're not paying and it’s not my
                  case, I’m not responsible how it all turns out at the end. Exhibit B(A) 15:40.

KELLEY:          “I don’t represent anybody in that case anymore.” Exhibit B 6:15.




131.    It is worth noting that Kelley and Fraga had recently presented Parker to perjure

himself and testify that only Jetall would have paid these attorneys. Exhibit 35 at pg.1-103:

 (“STEADFAST COUNEL:)· The attorneys that have been paid by -- were they -- the attorneys
for Fisher, were they paid by Jetall or who paid those fees? MR. KELLEY:· Objection.· Form.
MS. FRAGA:· Objection.· Form. PARKER: I don't recall. · (STEADFAST COUNEL:)· Would it
-- who would it have been if it wasn't Jetall? MR. KELLEY:· Objection.· Form. MS. FRAGA:·
Form. PARKER: It could have been – it could have been Jetall.” Id. 82
82
  Kelley and Fraga both clearly advised Parker what to say and both hid behind privilege for 2017 Yale and Parker.
See e.g. Exhibit 35 at pg. 210-212.

                                                        95
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 96 of 146




132.   Hill participated in this fraud by filing fraudulent title abstracts, and knowingly

representing a secret real party in interest, while perpetuating the fraudulent trust scam on

the Court.

133.   T.D.R.P.C. 102(c) provides that: A lawyer shall not assist or counsel a client to

engage in conduct that the lawyer knows is criminal or fraudulent. Section (d) and (e)

require disclosure of such conduct. T.D.R.P.C. 105 precludes privilege for this conduct.

134.   A lawyer shall not represent opposing parties to the same litigation, or involving a

substantially related matter in which that person's interests are materially and directly

adverse to the interests of another client. Rule 1.06.

135.   A lawyer shall not acquire a proprietary interest in the cause of action or subject

matter of litigation the lawyer is conducting for a client. Rule 1.08.

136.   A lawyer shall not accept compensation for representing a client from one other than

the client. Id. A lawyer shall not enter into a business transaction with a client unless fair

and reasonable to the client and are fully disclosed and consented to. Id. A lawyer shall

not prepare an instrument giving the lawyer or a person related to the lawyer any substantial

gift from a client. Id. A lawyer shall not make an agreement prospectively limiting the

lawyer's liability to a client. Id.

137.   Where attorney disqualification and waiver issues are legal ones that can be resolved

entirely on the written record of the proceedings below, no evidentiary hearing is necessary.

In re EPIC Holdings, Inc., 985 S.W.2d 41 (Tex. 1998).



                                              96
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 97 of 146




138.   Additionally, disqualification of a lawyer arises when the lawyer may be called to

testify. Rule 3.08 of the Texas Disciplinary Rules of Professional Conduct restricts a

lawyer's representation if that lawyer believes he may be a witness “necessary to establish

an essential fact….” At this point, it is quite clear that Kelley and Fraga have some

explaining to do under oath.

139.   Rule 3.01 provides that: A lawyer shall not bring or defend a proceeding, or assert

or controvert an issue therein, unless the lawyer reasonably believes that there is a basis for

doing so that is not frivolous. Rule 3.02 provides: In the course of litigation, a lawyer shall

not take a position that unreasonably increases the costs or other burdens of the case or that

unreasonably delays resolution of the matter.

140.   Rule 3.04 of the Texas Disciplinary Rules of Professional Conduct forbids an

attorney from compensating or offering to compensate “a witness . . . contingent upon the

content of the testimony of the witness or the outcome of the case.” Kelley and Fraga

personally induced Alvarez and Parker to commit various felonies and execute fraudulent

documents.

141.   Rule 1.05: a “reasonable probability” of a violation of confidentiality in the

attorney-client relationship can be the basis for disqualification of an attorney. In re

Roseland Oil & Gas, 68 S.W.3d 784, at 787 (Tex.App.—Eastland 2001). Reasonable

probability of a violation of confidentiality may include: “(1) “‘an unauthorized disclosure

of confidential information’ obtained from a client or former client or (2) the inappropriate

use of confidential information to the detriment of a former client.” Id. When the lawyer

secretly owns 2017 Yale and the Appellee’s trust, it is hard to reconcile these rules and the

                                              97
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 98 of 146




Attorneys must be disqualified, especially when the 2017 Yale is now filing motions in the

190th to try to force Alvarez to offset the judgment against 2017 Yale.

141.   Rule 3.08 prohibits an attorney from serving as an advocate and witness in the same

proceeding other than in the circumstances listed within this Rule.

142.   Rule 3.03 states that a lawyer shall not knowingly make a false statement of material

fact or law to a tribunal; fail to disclose a fact to a tribunal when disclosure is necessary to

avoid assisting a criminal or fraudulent act, or offer or use evidence that the lawyer knows

to be false. Rule 3.03(d) requires affirmative disclosure. Rule 3.04(d) states that a lawyer

shall not obstruct another party's access to evidence; falsify evidence, counsel or assist a

witness to testify falsely, or pay, offer to pay, or acquiesce in the offer or payment of

compensation to a witness or other entity contingent upon the content of the testimony of

the witness or the outcome of the case; nor can an attorney disobey, or advise the client to

disobey, an obligation under the standing rules of or a ruling by a tribunal.

143.   Rule 3.05 provides that a lawyer shall not seek to influence a tribunal concerning a

pending matter by means prohibited by law or applicable rules of practice or procedure.

Rule 4.01 provides that a lawyer shall not knowingly make a false statement of material

fact or law to a third person; or fail to disclose a material fact to a third person when

disclosure is necessary to avoid making the lawyer a party to a criminal act or knowingly

assisting a fraudulent act perpetrated by a client. Rule 5.04 provides that a lawyer shall not

share or promise to share legal fees with a non-lawyer. Rule 8.02 provides that a lawyer

shall not make a statement that the lawyer knows to be false or with reckless disregard as

to its truth or falsity concerning the qualifications or integrity of a judge, adjudicatory

                                              98
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 99 of 146




official or public legal officer, or of a candidate for election or appointment to judicial or

legal office. Rule 8.04 provides that a lawyer shall not commit a serious crime or commit

any other criminal act that reflects adversely on the lawyers honesty, trustworthiness or

fitness as a lawyer in other respects; engage in conduct involving dishonesty, fraud, deceit

or misrepresentation; engage in conduct constituting obstruction of justice; state or imply

an ability to influence improperly a government agency or official; knowingly assist a

judge or judicial officer in conduct that is a violation of applicable rules of judicial conduct

or other law.

144.   It is hard to find a disciplinary rule that the conspirator attorneys have not violated.



                                           VI.
                                    CAUSES OF ACTION

145.   All of the pleadings, allegations, evidence, exhibits, and arguments listed above, and

all of the criminal statutory analysis set forth above, are repeated and incorporated herein in

all sections hereof, for all purposes.

                                         CIVIL RICO

146.   A private federal RICO cause of action exists for “[a]ny person injured in his business

or property by reason of a violation of section 1962.” 18 U.S.C. § 1964(c); Sedima, S.P.R.L.

v. Imrex Co., 473 U.S. 479, 508 (1985). Plaintiff is such a person within the meaning of 18

U.S.C. § 1961(3) and 1964(c).

147.   Defendants are all: (1) culpable persons who used interstate commerce to engage in

(2) a pattern of racketeering activity (3) connected to the acquisition, establishment, conduct,


                                              99
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 100 of 146




or control of an Enterprise, which violation causes 4) injury to Steadfast’s business or

property, harming people all over the country through their criminal and fraudulent Yale

Criminal Enterprise. 18 U.S.C. § 1962. de Pacheco v. Martinez, 515 F. Supp. 2d 773 (S.D.

Tex. 2007). In re Burzynski, 989 F.2d 733, 742 (5th Cir.1993).

148.   Defendants constitute an Enterprise for purposes of 18 U.S.C. § 1961(4). Alternately,

Defendants with their members formed an association-in-fact for the purpose of depriving

Plaintiff of its property. This association is an “Enterprise” within the meaning of 18 U.S.C.

§ 1962(c). This Enterprise was engaged in, and its activities affected, interstate commerce

within the meaning of 18 U.S.C. § 1962(c).

149.   Defendants are all persons wrongfully “employed by or associated with” the Yale

Criminal Enterprise, who “conducted and participated, directly or indirectly, in the conduct

of such Enterprises’ affairs, through a pattern of racketeering activity” under Section 1962(c).

150.   Defendants all have been clearly proven to have conspired to engage in that pattern of

racketeering activity under Section 1962(d).

151.   Defendants are all persons who acquired or maintained, directly or indirectly, an

interest in or control of the Yale Criminal Enterprise, which was engaged in, and whose

activities affected interstate commerce, through a pattern of racketeering activity under

Section 1962(b).

152.   Plaintiff is a person or class of persons injured in its business or property by a violation

of 18 U.S.C. § 1962, and hereby sue for damages, treble damages, costs of filing the lawsuit,

and reasonable attorney's fees. Defendants, including persons employed by or associated with

the Enterprise, specifically the Defendants, and its members, conducted or participated,

                                               100
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 101 of 146




directly or indirectly, in the operation and/or management of the Enterprise’s affairs through

a “pattern of racketeering activity” within the meaning of 18 U.S.C. § 1961(5) and § 1962(c).

Defendants along with the Enterprise, engaged in “racketeering activity” within the meaning

of 18 U.S.C. § 1961(1) by engaging in the acts set forth above.

153.   Defendants’ Enterprise was built around an ongoing system of criminal and fraudulent

acts as set forth above.

Predicate Acts of Racketeering Activity

154.   Defendants committed not only primary crimes and torts supporting RICO civil relief,

but also predicate acts including wire fraud, mail fraud, extortion, etc., as plead with

specificity herein and in the timeline and background sections of this Petition, together with

supporting Exhibits, Affidavits, audiotapes, and other evidence proving this summary

judgment RICO case by already judicially admitted evidence. All of Defendants’ numerous

acts herein have the same or similar purposes, results, participants, victims, and methods, have

common distinguishing characteristics, and aren’t isolated events. These predicate acts

extended over a substantial period of time, from late 2016 to the present, and by their nature,

are likely to be repeated into the future unless this Court does justice.

155.   Specifically, these parties all intentionally conspired to steal Steadfast’s loan money

and title to the collateral at 829 Yale and committed dozens of fraudulent scams to attempt to

accomplish that purpose, as well as to bury the evidence of their crimes under tens of

thousands of pages of fraudulent and vexatious frivolous litigation.

156.   All of the Defendants either committed – or aided, abetted, counseled, commanded,

induced, or procured the commission of two or more predicate acts that make up this clear

                                               101
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 102 of 146




pattern, or willfully caused the commission of two or more alleged predicate acts that make

up the pattern. All Defendants acted with intent or knowledge, as proven by the

whistleblowers’ judicially admitted evidence, and also obvious from the undisputed facts in

evidence.

157.   Through the pattern, each Defendant acquired or maintained, directly or indirectly, an

interest in or control of the Yale Criminal Enterprise. All of these acts were related by design

to accomplish the goals of the Yale Criminal Enterprise – stealing loan money and title to the

collateral property at 829 Yale. Defendants have committed numerous proven predicate acts

from September of 2016 through the present.         All Defendants gained some interest in or

control of the Yale Criminal Enterprise or were employed or associated with the Enterprise.

All Defendants participated, either directly or indirectly, in the conduct of the affairs of the

Enterprise. All Defendants agreed to try to accomplish an unlawful plan to engage in a pattern

of racketeering activity, by fabricating evidence and conveyances, and agreed to the overall

objective of the conspiracy to steal Steadfast’s property, as well as agreed to commit the

predicate acts. In an ordinary case, the conspiracy’s existence and the Defendants’ intent is

properly inferred from the participants’ conduct; however, in this case, the whistleblower

evidence proves such intent as a matter of law.

158.   Defendants induced and stole nearly a million dollars in cash out of Steadfast’s loan,

destroyed the value of the remainder of the money loaned, defaulted on the six million dollar

principle balance and all fees, interest and other costs; denuded the value of an eight-million-

dollar judgment, precluded the sale of property originally worth over ten million dollars, stole

millions more from Alvarez, caused over two and a half million dollars in unnecessary

                                              102
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 103 of 146




attorney’s fees, several million dollars of depreciation to the collateral, over three million

dollars in fees and accrued interest, and caused over thirteen million dollars in total actual

damages, lost principal and interest, lost property value of the collateral.

159.   Defendants prevented the marketing or sale of the collateral by Steadfast, or other

mitigation of damages. Defendants reinvested money stolen from Steadfast and Alvarez to

pay bribes to further the Yale Criminal Enterprise, including to Fisher, his companies, Jetall,

Choudhri’s companies, Kelley and the attorneys and their employees whom the Enterprise

bribed to participate. They also used those funds to pay Fugedi’s bribe, Kelley’s bribe to

Alvarez, bribed Parker to perjure himself and keep quiet, and to avoid service, and paid for

fraudulent instruments, title abstracts, and other instances of fraud, together with likely paying

for improper judicial influence, all under § 1962(a). Defendants stole Steadfast’s money and

title to collateral, all as part of the Yale Criminal Enterprise, under § 1962(b). All Defendants

are liable persons under § 1962(c) proven to have conspired together under § 1962(d).

160.   But for Defendants conspiring to engage in all of the predicate acts against Steadfast,

its loaned funds, and its title, Steadfast’s loan would have been timely paid, or Steadfast would

have simply foreclosed and sold the property free and clear in 2016 or 2017, for its fair market

value then in excess of Steadfast’s loan principle, interest, fees, and attorney’s fees, and

without being subject to the dilapidation of the property, millions in legal fees unnecessary

but for the Yale Criminal Enterprise, and without dilapidation of the property from years of

neglect caused by all of the predicate acts of Defendants in conspiracy to create the Yale

Criminal Enterprise.



                                               103
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 104 of 146




Pattern
161.   A pattern may be established by showing two predicate acts of racketeering activity

within a ten-year period. See 18 U.S.C. § 1961(5). Defendants all committed numerous acts

within the pattern, comprising seventeen scams against Steadfast’s money and collateral, over

a five-year period, including acts that are (1) related and (2) amount to a historical patter, or

pose a threat of continued criminal activity, constitute a pattern. Snow Ingredients, 833 F.3d

at 524 (quoting St. Germain v. Howard, 556 F.3d 261, 263 (5th Cir. 2009) (per curiam). E.g.,

H.J. Inc. v. Nw. Bell. Tele. Co., 492 U.S. 229, 236 (1989). All of the acts set forth herein were

committed in furtherance of the attempt by the Yale Criminal Enterprise to fraudulently

induce and then steal Steadfast’s Loan money, engage in sham transactions to steal or cloud

title to Steadfast’ collateral, obstruct Steadfast’s loan and judgments, and fabricate claims

against or clouding Steadfast’s title to preclude Steadfast from being able to sell its collateral

or recover its lenders’ remedies.       Even after exposure and judicial admission of the

whistleblower tapes, they have not ceased their activities intended to damage and defraud

Steadfast and its collateral.

162.   Defendants continue to prepare and record fraudulent lis pendens, and pleadings to

this day, and have never given up attempting to defraud, steal, extort, and denude the value

of Steadfast’s property. Their actions pose a threat of continued criminal misconduct, though

given the long history of numerous predicate acts, no further threat is required for Plaintiff to

recover.

163.   This is not a new pattern for the Yale Criminal Enterprise, In addition to a sampling

of their fraudulent litigation in Exhibit 99, a recent scathing arbitration award clearly

                                               104
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 105 of 146




demonstrates the same pattern of fraud by the same players. An arbitration award on file

in a 2012 case, 2012-27197A, was recently made public. Exhibit 184. The arbitration

panel found that Kelley, Fraga, Choudhri, Parker, Pierce, and the other related cast of

characters committed fraud in a very similar pattern on another property, to quote the

arbitration panel:

“Choudhri engaged in numerous tactics designed to improperly delay and obstruct” the litigation.
“Choudhri repeatedly lied under oath and changed his positions and testimony as necessary to
suit his personal needs and without regard to the truth. Choudhri caused multiple documents to
be fabricated after the fact, and Choudhri unlawfully withheld evidence to protect himself and to
hide his wrongful conduct. Choudhri refused to participate as ordered in necessary discovery.”
Id.
“Choudhri intentionally hid his involvement in [the sham lienholder] and the foreclosure process,
and the Panel finds that his conduct was wrongful and improper. Choudhri tried to cover up his
wrongful conduct after the fact, including by intentionally withholding and secreting evidence that
he was ordered to produce…” Id.
“Choudhri hid his true ownership of [another sham lienholder entity] with his CFO, Brad Parker,
as the front man.” Id.
“Choudhri owned and controlled both entities to the agreements.” Id.
“Later, third parties produced documents revealing that Choudhri was the true owner of [the sham
company] and he had installed Zaheer, his alleged girlfriend, as the "front" to hide his ownership
and involvement in [the sham company] conducting the foreclosure and taking the Property away
from [the legitimate owner].” Id.
“Choudhri planned and orchestrated a plan to cause [his secretly owned company] to purchase
[liens] from [a legitimate party], to put [his target for the fraud holding a subordinate lien] into
a non-monetary default when it was not really in default, to falsely inflate the amount of the Note,
and to conduct a wrongful foreclosure of the Property…with the purpose and intent to deprive
[legitimate owners] of the Property and any lien on the Property, … for the sole benefit of
Choudhri.” Id.
       Sound familiar? This is an identical pattern executed by the same primary players

as those controlling the Yale Criminal Enterprise. Kelley and Fraga represented Choudhri

again, and their Enterprise clearly goes beyond just Yale.


                                                105
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 106 of 146




164.   The Criminal Enterprise forced that case into Arbitration because Judge Moore, then

handling the case, seemed prepared to do justice against them (the Enterprise also accuses

Judge Moore, Miller and others of misconduct on the audiotapes, Exhibit B(a-c)). The

Criminal Enterprise apparently undertook successful efforts to put Brittany Morris,

Choudhri’s alleged girlfriend and former employee, on the bench of the 333rd Court

handling the case, to replace Judge Moore. Then the Enterprise fought the arbitration tooth

and nail, seeking to have Morris rule on the case on their behalf. Morris refused to recuse

herself, and Mokaram had to have a special trial to recuse Morris from the case, just as

Steadfast had to do with Judge Carter. Id; see also Exhibits 90-91, media links, supra.

165.   The panel found that the Enterprise filed fraudulent lis pendens, extensive motions

for sanctions, and tried to bury that fraud in voluminous frivolous pleadings as well.

166.   The depths of deceit by the Yale Criminal Enterprise can hardly be believed, and

that has allowed this Criminal Enterprise to get away with their fraud for many years, but

it is time for justice to be done. They concealed all of this evidence from all of the other

Courts in this related litigation, the whistleblower coming forward (who was never

identified, named, or designated as a witness) after the trials were over. This Court finally

has the tools to do it.

Persons and Enterprise

167.   “An enterprise is a group of persons or entities associating together for the common

purpose of engaging in a course of conduct.” Whelan v. Winchester Prod. Co., 319 F.3d 225,

229 (5th Cir. 2003). RICO enterprises may consist of: 1) a legal entity, such as a corporation,

                                             106
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 107 of 146




or 2) an “association-in-fact,” which can include “any union or group of individuals.” 18

U.S.C. § 1961(4); United States v. Turkette, 452 U.S. 576 (1981); de Pacheco, supra, at 790.

There is no requirement that any particular conspirator “have committed or agreed to commit

the two predicate acts”; instead, the conspirator “need only have known of and agreed to the

overall objective of the RICO offense.” United States v. Delgado, 401 F.3d 290, 296 (5th

Cir. 2005); see 18 U.S.C. § 1962(d). The evidence set fort herein irrefutably proves the

Defendants all knew of the Enterprise objective to steal Steadfast’s funds, defraud Steadfast’s

title to the collateral, obstruct Steadfast’s loan, prevent Steadfast’s recovery of the money they

stole, interfere with Steadfast’s title in the collateral, prevent Steadfast from being able to sell

the collateral, and ultimately burying their crimes under the burden of vexatious litigation. 83

168.     Each of the Defendants is a “person” charged with violating § 1962(c), separate and

distinct from the “enterprise” through which the defendant is alleged to have conducted a

“pattern of racketeering activity.” 84 The Yale Criminal Enterprise was the scheme by

Choudhri, Kelley, Parker, Jetall, 2017 Yale and the other Defendants to defraud the lenders,

steal the loan money, steal the title to the collateral, and extort money from the lenders, each

playing their roles, mostly in secret and outside the light of day. Section 1962(c)’s distinctness

requirement is met in this circumstance. United States v. Goldin Indus., Inc., 219 F.3d 1271,

1274-77 (11th Cir. 2000).



83
   The Criminal Enterprise filed no less than twenty-five groundless motions for sanctions against every party in every
case, and regularly sought “emergency hearings” and filed voluminous pleadings to confuse the truth from every
Court.
84
   The person and enterprise need not be distinct in § 1962(b) cases. See, e.g., Landry v. Airline Pilots Ass’n Int’l AFL-
CIO, 901 F.2d 404, 425 (5th Cir. 1990) (finding no distinctness required). 1962(a) also does not contain a distinctness
requirement. See Schofield v. First Commodity Corp. of Boston, 793 F.2d 28, 30 (1st Cir. 1986).

                                                          107
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 108 of 146




169.     Whenever an attorney is alleged to be a participant in an enterprise with her client,

sufficient independence exists to satisfy § 1962(c)’s distinctness requirement. Thus,

distinctness is satisfied when a corporate client is pled as a RICO defendant and the client and

outside counsel are pled as the enterprise, or vice versa. Just as a corporate officer can be a

person distinct from the corporate enterprise, a purported client is separate from its legal

defense team. See Sever v. Alaska Pulp Corp., 978 F.2d 1529, 1534 (9th Cir.1992); Benny,

786 F.2d at 1415–16.

170.     An enterprise is basically any informal group coordinating with a common goal.

Boyle v. United States, 556 U.S. 938, 942-46 (2009). United States v. Turkette, 452 U.S. 576,

583 (1981). All of these Defendants undertook specific acts to assist in the Yale Criminal

Enterprise’s tortious acts against Steadfast, its lenders’ rights and loans, and title to Steadfast’s

property.

171.     All of the Defendants have been proven by their own admitted tapes and

whistleblower evidence to have agreed amongst each other to commit predicate acts, which

is a RICO conspiracy. Tel–Phonic, 975 F.2d at 1140 (citing Hecht v. Commerce Clearing

House, Inc., 897 F.2d 21, 25 (2d Cir.1990)). Crowe v. Henry, 43 F.3d 198, 206 (5th Cir.

1995).      Defendants’ conspiracy, predicate acts, and pattern of racketeering activity have

precluded Steadfast from recovering clear title to its collateral, or from selling it to mitigate

its damages. See Sherrin Affidavit, Exhibit 170. This is the result they agreed upon; they

participated in the fraud as something they all wished to bring about and sought by its actions

to make it succeed. Armco Industrial Credit Corporation v. SLT Warehouse Co., 782 F.2d



                                                108
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 109 of 146




475 (5th Cir.1986). All Defendants have worked together for years, and committed numerous

fraudulent acts to accomplish this purpose, continuing to this day.

172.   All Defendants are vicariously liable for the acts of the other conspirators committed

as their agents; such as Kelley for Fraga, Kelley and Choudhri for Parker, etc.; no barrier to

vicarious liability in this case as such liability has been found to be available under subsections

(a) and (b) when the principal has derived some benefit from the agent's wrongful acts.

Landry, 901 F.2d at 425; Liquid Air Corp. v. Rogers, 834 F.2d 1297, 1307 (7th Cir.1987),

cert. denied, 492 U.S. 917 (1989).

173.   Each Defendant either participated in or directed the Enterprise in violation of RICO

under 18 U.S.C. § 1962(b) and (c), by directly or indirectly maintaining an interest in or

control of an enterprise engaged in interstate commerce through a pattern of racketeering

activity or associating with any enterprise engaged in, or the activities of which affect,

interstate commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise's affairs through a pattern of racketeering activity. Further, Defendants worked in

concert as part of a conspiracy in violation of RICO, under 18 U.S.C. § 1962(d).

Racketeering Activity

174.   “Racketeering activity” means (A) any act or threat involving extortion, which is

chargeable under State law and punishable by imprisonment for more than one year; the

Defendants committed numerous acts in furtherance of the pattern in furtherance of the Yale

Criminal Enterprise, as specifically set forth in the Timeline above and the evidence filed

herewith reflecting such State law felonies, supra; (B) any act which is indictable under any

of the following provisions of title 18, United States Code: Section 201 (relating to bribery),

                                               109
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 110 of 146




section 1341 (relating to mail fraud), section 1343 (relating to wire fraud), section 1503

(relating to obstruction of justice), section 1512 (relating to tampering with a witness, victim,

or an informant), section 1951 (relating to interference with commerce, robbery, or extortion).

As evidenced and plead in detail in the Timeline set forth herein, each Defendant committed

numerous acts constituting all of those listed federal felonies in furtherance of the pattern of

fraud in furtherance of the Yale Criminal Enterprise.

175.    Defendants or their agents have caused or conspired to cause the transmission of

forged or fraudulent documents through the mail and/or by wire via facsimile, email, U.S.

mail, and by wire transfer. Such actions constituted:

a.      A scheme to defraud conducted through the mails and/or over wire transmissions;

b.      With the intent to defraud the Plaintiff, Alvarez, the Courts, and the local and state

government offices where these forged or fraudulent documents were ultimately filed, and

with the intent to defraud Steadfast out of its loaned money and collateral; and

c.      Defendants did in fact mail and/or transmit by wire materials in furtherance of this

scheme. Defendants or their agents have engaged or conspired to engage in use or investment

of stolen money and title by investing the proceeds of these activities into the Enterprise in

violation of RICO §1962(a), such that:

a.      Defendants knowing that the money involved in these financial transactions

represented the proceeds of unlawful activity, conducted or attempted to conduct financial

transactions involving the proceeds from the unlawful activities of the Defendants by paying

many of the co-conspirator’s bribes and investing the rest of the proceeds of these unlawful

activities in their Enterprise.

                                              110
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 111 of 146




b.      Defendants initially acquired an interest in money and real property through the

creation of the forged or fraudulent documents. After these fraudulent and forged documents

were created, they were used by the Defendants to the further injury of Plaintiff, by

fraudulently filing them in official records for their real property through the U.S. mail,

causing actual damages and damages as allowed by statute;

c.      Having set up a system through which fraudulent documents would be executed or

forged and mailed, wired or emailed for filing to create the appearance of an interest in real

property, through repeated sham transactions based on fraudulent documents, Defendants

intentionally misrepresented material facts to Courts, Steadfast, potential purchasers of

Steadfast’s collateral, and government officials.

d.      With the intent to promote the carrying out of these unlawful activities.

Additional information on State Law Crimes supporting Civil RICO relief:

        Extortion

176.    The Texas Penal Code § 31.03 encompassed all of the acquisitive conduct that had

previously been made unlawful in many separate offenses, establishing a single offense of

theft superseding the separate statutory offenses of theft, theft by false pretext, conversion by

a bailee, theft from the person, acquisition of property by threat, swindling, embezzlement,

extortion, among others. Tex. Penal Code § 31.02.

177.    Defendants have conspired to commit and engaged in a pattern of committing the

following violations pursuant to § 31.03, all of which are first degree felonies as the Property

they have stolen far exceeds $300,000.00, making each instance of this conduct a first-degree

felony. As such, Defendants’ misconduct qualifies as a state felony under RICO for state law

                                              111
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 112 of 146




criminal conduct: “(A) any act or threat involving extortion, which is chargeable under State

law and punishable by imprisonment for more than one year.”

178.   In Texas, “(a) An individual adjudged guilty of a felony of the first degree shall be

punished by imprisonment in the Texas Department of Criminal Justice for life or for any

term of not more than 99 years or less than 5 years. (b) In addition to imprisonment, an

individual adjudged guilty of a felony of the first degree may be punished by a fine not to

exceed $10,000. TEX. PENAL CODE § 12.32.

179.   The evidence shows that this criminal Enterprise committed the following crimes:

Hindering Secured Creditors § 33.33 – First Degree Felony, at least 5 counts, intent presumed.

Failing to release fraudulent instruments – § 32.49, Class A misdemeanor, at least 3 counts,

intent presumed. Theft of Loaned funds – § 31.03, First Degree Felony, proven by bank

records and recorded documents. Defrauding D & A Alvarez and bribing Transact Title,

Umitaya, Chaudhry, Huebner, Elberger, Herman, Carb Pura Vida, LLC, Norma Lopez, and

Fugedi, into signing numerous fraudulent documents – including releases purporting to

fraudulently release Steadfast’s lien. § 32.46 First Degree Felony.

       § 32.33. Hindering Secured Creditors

180.   The Yale Criminal Enterprise fraudulently conveyed deeds to their secured creditors’

collateral worth millions on multiple occasions: This first degree felony under Penal Code §

32.33 carries presumed intent as they never paid a penny of the debt or returned the property

on demand, which demand Steadfast repeatedly made to each of them (See e.g. Exhibit 170,

100, each notice of foreclosure posted, and admitted by each fraudulent lawsuit seeking

restraining orders against foreclosures): (b) A person who has signed a … mortgage or deed

                                             112
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 113 of 146




of trust creating a lien on property commits an offense if, with intent to hinder enforcement

of that interest or lien, he destroys, removes, conceals, encumbers, or otherwise harms or

reduces the value of the property. (obviously Exhibits 1 v. 3; 11b v. 86o, and of course

conspiracy for all the other fraudulent instruments) (c) a person is presumed to have intended

to hinder enforcement of the security interest or lien if, when any part of the debt secured by

the security interest or lien was due, he failed: (1) to pay the part then due; and (2) if the

secured party had made demand, to deliver possession of the secured property to the secured

party. (all judicially admitted) (d) An offense under Subsection (b) is a: (7) felony of the first

degree if the value of the property destroyed, removed, concealed, encumbered, or otherwise

harmed or reduced in value is $300,000 or more. (e) A person who is a debtor under a security

agreement, and who does not have a right to sell or dispose of the secured property or is

required to account to the secured party for the proceeds of a permitted sale or disposition,

commits an offense if the person sells or otherwise disposes of the secured property, or does

not account to the secured party for the proceeds of a sale or other disposition as required,

with intent to appropriate (as defined in Chapter 31) the proceeds or value of the secured

property. (all judicially admitted). A person is presumed to have intended to appropriate

proceeds if the person does not deliver the proceeds to the secured party or account to the

secured party for the proceeds before the 11th day after the day that the secured party makes

a lawful demand for the proceeds or account. An offense under this subsection is: (7) a felony

of the first degree if the proceeds obtained from the sale or other disposition are money or

goods having a value of $300,000 or more.



                                               113
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 114 of 146




181.     Fisher’s first Felony Transfer of title to Jetall violates this section, with Jetall, Parker,

and 2017 Yale conspiring to violate this section with Fisher and bribing him to do so. Kelley,

Parker, Choudhri, 2017 Yale, and Fraga’s fake tax lien assignment violates this section. 2017

Yale’s conveyance of Steadfast’s loaned funds to the other conspirators, Fisher, his

companies, Jetall, etc., violates this section. The Enterprise’s inducement of D&A Alvarez

to sign fraudulent lien releases violate this section. 2017 Yale’s fraudulent conveyance of

title to the collateral to the fake trust violates this section, with conspiracy by all the other

Defendants, including by filing the fraudulent lis pendens and correction deeds in 2020, 2021,

2022, all of which constitute separate violations of this section, and all are criminally liable

as they conspired to commit these crimes.

         § 32.49. Refusal to Execute Release of Fraudulent Lien or Claim

182.     The conspirators failed to execute releases of their fraudulent liens and claims: Penal

Code § 32.49, after demand. See Exhibit 100, supra. This Class A misdemeanor also carries

presumed intent. (a) A person commits an offense if, with intent to defraud or harm another,

the person (1) owns, holds, or is the beneficiary of a purported lien or claim asserted against

real or personal property or an interest in real or personal property that is fraudulent, as

described by Section 51.901(c),85 Government Code; and (2) not later than the 21st day after

the date of receipt of actual or written notice sent by either certified or registered mail, return

receipt requested, to the person's last known address, or by telephonic document transfer to


85
   This section does not define “fraudulent,” but presumes it if: (c) the document or instrument purports to create a
lien or assert a claim against real or personal property or an interest in real or personal property and: (B)is not created
by implied or express consent or agreement of the obligor, debtor, or the owner of the real or personal property or an
interest in the real or personal property, if required under the laws of this state, or by implied or express consent or
agreement of an agent, fiduciary, or other representative of that person.

                                                           114
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 115 of 146




the recipient's current telecopier number, requesting the execution of a release of the

fraudulent lien or claim, refuses to execute the release on the request of: (A) the obligor or

debtor; or (B) any person who owns any interest in the real or personal property described in

the document or instrument that is the basis for the lien or claim. (b) A person who fails to

execute a release of the purported lien or claim within the period prescribed by Subsection

(a)(2) is presumed to have had the intent to harm or defraud another. (c) An offense under

this section is a Class A misdemeanor, also qualifying as a RICO predicate crime as it carries

up to a year in jail. The enterprise Defendants have all been proven to have committed this

crime as a matter of law as well.

       § 31.03 Defendants stole over seven hundred thousand dollars out of the Loan

183.   (a) A person commits an offense if he unlawfully appropriates property with intent to

deprive the owner of property. (b) Appropriation of property is unlawful if: (1) it is without

the owner's effective consent; (c) For purposes of Subsection (b): (1) evidence that the actor

has previously participated in recent transactions other than, but similar to, that which the

prosecution is based is admissible for the purpose of showing knowledge or intent and the

issues of knowledge or intent are raised by the actor's plea of not guilty; (7) felony of the first

degree if the value of the property stolen is $300,000 or more. Jetall stole title without

effective consent, acting in conspiracy with Choudhri, Parker, Fisher. 829 Yale stole loan

money acting for Fisher. 2017 Yale acquired title by fraud and duress without effective

consent, and stole the loan money and distributed it among all of the Yale Criminal Enterprise.

Fraga and Tax Relief, Inc. fraudulently acquired a lien against the property. Fugedi, acting

for the other Yale Criminal Enterprise stole title to the property. The list goes on.

                                               115
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 116 of 146




          § 32.46 - Defendants fraudulently induced and deceived Steadfast and Alvarez into
          executing documents with the intent of defrauding Steadfast

184.       A person commits an offense if with the intent to defraud or harm any person, he, by

deception 86: (1) causes another to sign or execute any document affecting property or service

or the pecuniary interest of any person; (7) crimes under this section are a felony of the first

degree if the value of the property, service, or pecuniary interest is $300,000 or more. They

intentionally deceived Alvarez into signing fraudulent lien releases, made false promises to

induce a loan workout from Steadfast, made false promises and bribed witnesses to execute

fraudulent releases, deeds, title abstracts and other instruments.

185.       The tapes and whistleblower evidence prove their intent to deceive and defraud

Steadfast on all counts, steal Steadfast’s loan money, and steal title to Steadfast’s collateral.

The filed pleadings and false evidence, and the fraudulent recorded instruments clearly reflect

signatures induced by deception by all Defendants on multiple counts.

           Additional Offenses

186.       Defendants intentionally made materially false and misleading statements in

connection with a purchase or sale of property on multiple occasions, a Class A misdemeanor


86§ 31.01 Deceive means: creating or confirming by words or conduct a false impression of law or fact that is likely to affect the
judgment of another in the transaction, and that the actor does not believe to be true.
(B) failing to correct a false impression of law or fact that is likely to affect the judgment of another in the transaction, that the actor
previously created or confirmed by words or conduct, and that the actor does not now believe to be true.
(C) preventing another from acquiring information likely to affect his judgment in the transaction.
(D) selling or otherwise transferring or encumbering property without disclosing a lien, security interest, adverse claim, or other
legal impediment to the enjoyment of the property, whether the lien, security interest, claim, or impediment is or is not valid, or is
or is not a matter of official record; or
(E) promising performance that is likely to affect the judgment of another in the transaction and that the actor does not intend to
perform or knows will not be performed, except that failure to perform the promise in issue without other evidence of intent or
knowledge is not sufficient proof that the actor did not intend to perform or knew the promise would not be performed.
(2) “Deprive” means: (A) to withhold property from the owner permanently or for so extended a period of time that a major portion
of the value or enjoyment of the property is lost to the owner.
(3) “Effective consent” includes consent by a person legally authorized to act for the owner. Consent is not effective if:
(A) induced by deception or coercion; (B) given by a person the actor knows is not legally authorized to act for the owner.


                                                                   116
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 117 of 146




also qualifying as a RICO predicate act crime with punishment of one year. These Parties

filed fraudulent and fraudulently induced instruments in the Harris County real property

records, and U.S. Federal Court for the Southern District of Texas, Galveston Division.

Government Code Sec. 51.901 requires notice to the County or District Attorney once we

notify them. Each occurrence of this conduct is a second-degree felony under Penal Code §

37.10. The false title abstract and affidavit in Federal Court; the fraudulent deeds; the

fraudulently induced lien releases, and the fraudulent corrective instruments are all violations.

187.   These parties perjured themselves on numerous occasions in court, a third-degree

felony under § 37.02. These parties engaged in ex parte communications with at least one

Harris County judge and obtained absurd rulings resulting in the constitutional

disqualification and recusal of said judge. The District Clerk’s website was altered after the

fact to accommodate prejudicial rulings against the Steadfast parties, and other matters merit

investigation into felonious conduct under Penal Code §§ 39.02, 39.03; 18 U.S.C. § 201.

188.   Concealing the recorded title documents evidencing Steadfast’s valid first lien and

CTNL from the federal courts are clear violations of 18 U.S.C. § 1512.



Federal Crimes supporting RICO relief:

        Defendants violated 18 U.S.C. 1503 and 1512, supra.

189.   18 U.S.C. § 1503; (b) Whoever knowingly uses intimidation, threatens, or corruptly

persuades another person, or attempts to do so, or engages in misleading conduct toward

another person, with intent to— (1) influence, delay, or prevent the testimony of any person

in an official proceeding; (2) cause or induce any person to— (A) withhold testimony, or

                                              117
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 118 of 146




withhold a record, document, or other object, from an official proceeding; (B) alter, destroy,

mutilate, or conceal an object with intent to impair the object's integrity or availability for use

in an official proceeding; (C) evade legal process summoning that person to appear as a

witness, or to produce a record, document, or other object, in an official proceeding; shall be

fined under this title or imprisoned not more than 20 years, or both. (c) Whoever corruptly—

(2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do so,

shall be fined under this title or imprisoned not more than 20 years, or both.

190.   Defendants bribed each other to participate in the Yale Criminal Enterprise on

numerous occasions, coerced Alvarez to file fraudulent documents and releases, corruptly

persuaded Huebner, Fugedi, Hill, and the other counsel to file fraudulent title abstracts and

other fraudulent pleadings, verifications, evidence in real property records and federal and

state courts, and bribed Parker to do the same, as well as to perjure himself in furtherance of

the Yale Criminal Enterprise, all to steal Steadfast’s money and property. They bribed Parker

with a percentage of Yale to perjure himself and deceive Steadfast and the Courts, and then

apparently with five hundred thousand dollars cash to keep his mouth shut. They deceived

and/or bribed Alvarez into defaulting, changing his testimony, filing fraudulent documents,

and have generally conspired to dodge service and avoid testifying, all in furtherance of their

Criminal Enterprise.

       Defendants violated 18 U.S.C. §§ 1341 and 1343, supra.

191.   Defendants knew the scheme involved false representations, which related to material

information, engaged in through interstate commerce and emails. 18 U.S.C. § 1343; United

States v. Stalnaker, 571 F.3d 428, 436 (5th Cir. 2009) (“) (quoting United States v. Nguyen,

                                               118
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 119 of 146




504 F.3d 561, 568 (5th Cir. 2007)). Defendants also wired bribe money to Michigan, D&A

Alvarez in Dallas, through national banks and electronic transfers across state lines.

Defendants used interstate cell phone, text, email and other interstate communications to plan

their fraud and Enterprise, pay themselves money they stole from Steadfast, E-Filing in

Federal and State Courts, E-Filing with the Harris County district Clerk and Real Property

records, wiring money and sending checks by U.S. Mail, and sending fraudulent

communications to Steadfast and others by the same interstate commerce means. Defendants

mailed misleading letters to multi-state Steadfast lenders hoping to induce them into

participating in their fraud.          Defendants schemed by email, text, and cell phone calls to

commit criminal predicate acts and perjure themselves. Defendants also (1) intentionally, (2)

devised a scheme or artifice to defraud Steadfast, including the out of state Steadfast Parties

(3) to obtain Steadfast’s real property and loan money, and (4) used or caused to be used the

United States mail or an interstate commercial carrier to deliver original fraudulent title

instruments to themselves and the Harris County Clerk for recordation in the Real Property

Records and Official Public Records. Skilling v. United States, 130 S. Ct. 2896, 2926-27

(2010). 18 U.S.C. § 1341.87


87
   Whoever, intending to devise any scheme or artifice to defraud, or for obtaining money or property by means of
false or fraudulent pretenses, representations, or promises, or to sell, dispose of, exchange, give away, supply, or
procure for unlawful use any spurious obligation, security, or other article, for the purpose of executing such scheme
or artifice or attempting to do, places in any post office or authorized depository for mail matter, any matter or thing
whatever to be sent or delivered by the Postal Service, or deposits or causes to be deposited any matter or thing
whatever to be sent or delivered by any private or commercial interstate carrier, or takes or receives therefrom, any
such matter or thing, or knowingly causes to be delivered by mail or such carrier according to the direction thereon,
or at the place at which it is directed to be delivered by the person to whom it is addressed, any such matter or thing,
shall be fined under this title or imprisoned not more than 20 years, or both.

18 U.S.C. § 1343



                                                         119
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 120 of 146




192.     “[I]ntent to defraud,” is “imputed to civil RICO defendants who act with reckless

indifference to the truth or falsity of their representations.” Landry, 901 F.2d at 429 n. 87.

Here, this is not necessary as the whistleblower tapes prove their fraudulent intent beyond any

doubt. “The elements of a wire fraud claim under 18 U.S.C. § 1343 are the same as those for

a mail fraud claim….” Walsh v. America's Tele–Network Corp., 195 F.Supp.2d 840, 846

(E.D.Tex.2002). McPeters v. Edwards, 806 F. Supp. 2d 978, 990–91 (S.D. Tex. 2011), aff'd,

464 F. App'x 351 (5th Cir. 2012).

         Interstate Commerce


193.     The use of the wires “need not be an essential element” of the scheme; it can further

the fraud as long as it is “incident to an essential part of the scheme, or a step in the plot.”

United States v. Dowl, 619 F.3d 494, 499 (5th Cir. 2010) (quoting Schmuck v. United States,

489 U.S. 705, 710–11 (1989)). United States v. Hoffman, 901 F.3d 523, 547 (5th Cir. 2018),

revised (Aug. 28, 2018). Here, the mailed letters and title instruments, wired money, e-filed

documents, checks, emails, including perjured affidavits emailed from multiple states, and

phone calls across the country were necessary to pull off the goals of the Yale Criminal

Enterprise. See United States v. Rodriguez-Cruz, 681 Fed.Appx. 312, 313 (5th Cir. 2017) (cell

phones are “facilities of interstate commerce,” and even wholly intrastate use of a cell phone

can satisfy jurisdictional “commerce” element of federal crimes); BCCI Holdings



         (1) that a material misrepresentation was made; (2) the representation was false; (3) when the representation
was made, the speaker knew it was false or made it recklessly without any knowledge of the truth and as a positive
assertion; (4) the speaker made the representation with the intent that the other party should act upon it; (5) the party
acted in reliance on the representation; and (6) the party thereby suffered injury. Bradley v. Phillips Petroleum Co.,
527 F.Supp.2d 625, 648 (S.D.Tex.2007) (quoting In re First Merit Bank, N.A., 52 S.W.3d 749, 758 (Tex.2001)).

                                                          120
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 121 of 146




(Luxembourg) Societe Anonyme v. Khalil, 56 F.Supp.2d 14, 53 (D.D.C. 1999), aff'd in part,

rev'd in part on other grounds and remanded sub nom. BCCI Holdings (Luxembourg), S.A. v.

Khalil, 214 F.3d 168 (D.C. Cir. 2000) (“use of a facility in commerce” includes interstate wire

transfers and use of mail, telephone, or telegraphy). K&F Rest. Holdings, Ltd. v. Rouse, No.

CV 16-293-JWD-EWD, 2018 WL 3553422, at *19 (M.D. La. July 24, 2018), aff'd on other

grounds, 798 F. App'x 808 (5th Cir. 2020).           Defendants irrefutably used cell phones to

defraud Alvarez and Steadfast, conspire amongst themselves in furtherance of the fraudulent

Enterprise, and commit all of the other crimes set forth herein.

194.   It is a violation that Defendants used, or caused to be used, the U.S. mails; any private

or commercial interstate carrier; and/or interstate or intrastate wires (ii) in furtherance of, or

for the purpose of, executing the scheme to defraud. A person causes the mails to be used

when he or she acts “with knowledge that the use of the mails will follow in the ordinary

course of business” or where the mailing was reasonably foreseeable. Pereira v. United

States, 347 U.S. 1, 8-9 (1954). Plaintiff needs not show a defendant personally mailed or

received mail to prove the defendant caused the mails to be used. United States v. Ward, 486

F.3d 1212, 1222 (11th Cir. 2007). United States v. Ratliff-White, 493 F.3d 812, 818 (7th Cir.

2007) (“To satisfy the causation element, the [plaintiff] need only show that the defendant

knew that some use of the wires would follow. Our case law does not require that a specific

mailing or wire transmission be foreseen.”).

195.   Defendants regularly used interstate commerce to plan, scheme, implement their Yale

Criminal Enterprise.     For instance, they knew that they would be E-filing fraudulent

documents, mailing original fraudulent instruments for recordation, fraudulently inducing

                                               121
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 122 of 146




loans using email and cell phones, using email to circulate fraudulent documents for

signatures, etc.

196.   The defendants need not be aware of, or specifically intend, the use of the mails in

order to satisfy this element of the statute. If someone “does an act with knowledge that the

use of the mails will follow in the ordinary course of business, or where such use can

reasonably be foreseen, even though not actually intended, then he ‘causes' the mails to be

used.” Pereira, 347 U.S. at 8-9 (holding defendant who collected proceeds in El Paso from

check drawn on Los Angeles bank caused check to be mailed from Texas to California); see

also United States v. Cohen, 171 F.3d 796, 800 (3d Cir. 1999) (finding this element to be met

when defendant acts with knowledge that use of mails will follow in ordinary course of

business); United States v. Serang, 156 F.3d 910, 914 (9th Cir. 1998) (holding defendant need

not specifically intend to use mails). In short, specific intent not required for the “causing the

mails or wires to be used” element. United States v. Cusino, 694 F.2d 185, 188 (9th Cir.

1982) (“The specific intent requirement under 18 U.S.C. § 1343 pertains to the scheme to

defraud ... not to the causing of wire transmissions.”).

197.   This is an interstate criminal Enterprise among several corporations, trusts, LLC’s and

individuals, using mail and email communications to engage in a pattern of fraud in these and

other cases, as well as a conspiracy to engage in vexatious and frivolous litigation and

“extortion by courthouse.” Their fraudulent inducement of the deeds from Fisher, Releases

from Alvarez, Deed from Steadfast, etc., are clear violations of 18 U.S.C. § 1951(a). Their

witness tampering and fraudulent inducement of Alvarez, Fugedi, Parker, Fugedi, and others



                                               122
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 123 of 146




to testify is a clear violation of 18 U.S.C. §§ 1503 and 1512. These federal crimes all have

ten- or twenty-year punishments.

       No Attorney Immunity

198.   Kelley, Fraga and the other attorneys were the orchestrators of fraud for their own

benefit, and personally paid Hill and the others to secretly represent their personal interests,

posing as lawyers for the fake company or trust. No attorney immunity applies. Attorney

immunity “is not limitless.” Youngkin, 546 S.W.3d at 682. Attorneys are not “insulated from

all liability to nonclients for all wrongdoing in the name of a client.” Id. Specifically, attorneys

are not shielded from liability to nonclients for their actions when those actions “do not qualify

as ‘the kind of conduct in which an attorney engages when discharging his duties to his

client.’” Cantey Hanger, 467 S.W.3d at 482. The court has identified “several nonexhaustive

examples of conduct that may fall outside the reach of the attorney-immunity defense,”

including the attorney's participating in a fraudulent business scheme with a client, knowingly

assisting a client with a fraudulent transfer to avoid paying a judgment, stealing of goods or

services on the client's behalf, and assaulting opposing counsel during trial. Youngkin v.

Hines, 546 S.W.3d, 675, 682–83 (Tex. 2018); Cantey Hanger, LLP v. Byrd, 467 S.W.3d 477,

482–83 (Tex. 2015). Finally, the Supreme Court has specified that the attorney-immunity

defense “does not extend to fraudulent conduct that is outside the scope of an attorney's legal

representation of his client, just as it does not extend to other wrongful conduct outside the

scope of representation.” Cantey Hanger, 467 S.W.3d at 484; see also Troice v. Greenberg

Traurig, LLP, 921 F.3d 501, 507 (5th Cir. 2019) (“We conclude that … in the usual case

[criminal conduct] will be outside the scope of representation.”). Sullo v. Kubosh, 616 S.W.3d

                                                123
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 124 of 146




869, 896 (Tex. App.—Houston [1st Dist.] 2020), reh'g denied (Dec. 31, 2020). Here, the

attorneys were primary instigators of fraud, and the entire Enterprise, and secretly obtained

ownership of the borrower, causing the loan defaults, and orchestrating specific fraudulent

schemes to steal the property out of court, in addition of course to unethical conduct in court.

199.      Further, Defendants have filed frivolous lawsuits based on knowingly sham clients,

using fraudulent instruments and knowingly perjured testimony and affidavits. They intended

to benefit from their investment in such suits in furtherance of continued attacks on Steadfast’s

collateral, and were not paid legal fees by the clients the represented – if they were paid at all,

it was by the known real parties in interest, the Yale Criminal Enterprise, rather than their

clients whom they knew were a sham. Fraga, Kelley and others weren’t paid legal fees at all,

but instead took secret ownership of the borrower that was scamming Steadfast and the

Courts.

       RICO Damages

200.      Steadfast was injured by the wire fraud and other predicate acts, fraudulent transfers

of property, theft, fraudulent pleadings and real property instruments, and the investment of

the money and borrower ownership interests stolen from Steadfast to bribe additional

Defendants to participate in additional crimes and fraud in furtherance of the Yale Criminal

Enterprise. Defendants all took control of ownership of Steadfast’s borrower, or use of

Steadfast’s funds, membership interest in its borrower, or claims against its title, in order to

benefit from their fraud and crimes. Defendants’ overt acts damaged Plaintiff in excess of

thirteen million dollars in unpaid principle, interest, fees, property damage, and legal fees

caused by their Criminal Enterprise to date. Steadfast is also owed treble damages, costs of

                                               124
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 125 of 146




filing the lawsuit, and reasonable attorney's fees. 18 U.S.C. § 1962. All of Plaintiff’s damages

are a direct and proximate result of these acts and the Yale Criminal Enterprise, for which all

Defendants are jointly and severally liable. Further, Defendants are jointly and severally

personally liable for the Judgment by the Steadfast Parties against 2017 Yale Development,

LLC for its loan default, having all used 2017 Yale to perpetrate a fraud on the lenders.

201.   Steadfast is also entitled to divestiture of funds, dissolution, and reorganization of

corporations or other business structures, even restrictions on future activities. 18 U.S.C. §

1964(a), (c) (2006), and specifically pleads for T.R.O., appointment of receivers, and

prevention of future acts in the fraudulent litigation and against the collateral or Steadfast.

                                       CONVERSION

202.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

203.   Plaintiff, would show that 1.) it owned, possessed, or had the right to immediate

possession of property, being loaned funds, 2.) that the property was personal property, 3.)

that Defendants wrongfully exercised dominion or control over the property, and 4.)

Plaintiff suffered injury as a result of Defendants’ actions.

           FRAUD, FRAUDULENT TRANSFER, STATUTORY FRAUD,
                    AND FRAUD IN THE INDUCEMENT


204.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

205.   Pleading additionally, or in the alternative, Defendants made false representations

to Plaintiff that Plaintiff relied upon to their detriment. Plaintiff suffered harm as a result

                                               125
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 126 of 146




of the false representations made to it and would not have loaned any money or participated

in any transactions with the Defendants if not for those false representations.

                TORTIOUS INTERFERENCE WITH A CONTRACT
                  AND PROSPECTIVE BUSINESS RELATIONS

206.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

207.   Pleading additionally, or in the alternative, to recover for tortious interference

with an existing contract, Plaintiff had existing Loans, personal guarantees, Loan

Servicing Agreements and Loan Documents, constituting valid contracts subject to

interference; (2) Defendants committed willful and intentional acts of interference,

including deliberately transferring collateral and conspiring to default and obstruct

collection efforts; (3) these acts and others were the proximate cause of the Plaintiff’s

damages; and (4) that actual damage or loss occurred. Holloway v. Skinner, 898 S.W.2d

793, 795–96 (Tex.1995); Juliette Fowler Homes, 793 S.W.2d at 664; Armendariz v.

Mora, 553 S.W.2d 400, 404 (Tex.Civ.App.—El Paso 1977, writ ref’d n.r.e.).

208.   In the instant case, Defendants willfully and intentionally interfered with valid Loan

Service Agreements, deeds of trust, promissory notes, and guaranty agreements, collateral

transfers of note and lien, and other Loan Documents, as well as joint defense agreements

and attorney – client relationships, making performance impossible or more burdensome,

difficult or expensive, which was the proximate cause of Plaintiff’s actual damages and

loss. They also interfered with opportunities to sell the property to viable third parties for

market value.


                                             126
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 127 of 146




                                     QUANTUM MERUIT

209.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

210.   Pleading additionally, or in the alternative, Plaintiff would show that 1.) Plaintiff

provided valuable services, 2.) the services were provided for the Defendants, 3.) the

Defendants accepted the services, and 4.) the Defendants had reasonable notice that the

Plaintiff expected compensation for the services. Johnston v. Kruse, 261 S.W.3d 895, 901

(Tex.App. – Dallas 2008, no pet.).

                            MALICIOUS CIVIL PROSECUTION

211.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

212.   Pleading additionally, or in the alternative, Plaintiff has been injured by a wrongful

TRO and injunction and the continuation of prosecution of a wrongful suits. DeSantis v.

Wackenhut Corp., 793 S.W.2d 670, 685 (Tex. 1990). The actions filed by the Enterprise

were prosecuted without probable cause, or continued without good cause, and caused

Plaintiff’s damages. Id. See also Texas Beef Cattle Co. v. Green, 921 S.w.2d 203 (Tex.

1996). Malicious prosecution may be maintained where there is direct or circumstantial

proof that the prosecutors acted with malice, ill will, evil motive, or gross indifference or

reckless disregard for the rights of others. Dahl v. Akin, 645 S.W.2d 506 (Tex.App.—

Amarillo 1982), aff’d, 661 S.W.2d 917 (Tex. 1983).          It has now become clear that

Defendants all deliberately conspired together to create the default, to interfere with the

title and obstruct foreclosure in exchange for a share of any future profits from the

                                            127
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 128 of 146




collateral. As such, the entire intent and motive for the suits and Injunction were in

furtherance of that conspiracy to defraud their Creditors as they had done so many times

before, and not for any good faith pleading or assertion of fact.

213.   In the instant case, Plaintiff would show that it was injured by wrongful injunction

preventing the foreclosure of the 829 Yale Property and the continuation of prosecution of

wrongful suits, that the action was prosecuted without probable cause, or continued

without good cause, that Defendants acted with malice, ill will, evil motive, or gross

indifference or reckless disregard for the rights of others, and as a result, caused Plaintiff’s

damages. This scheme is part of a deliberate pattern of conduct and habit among

Defendants, having defrauded numerous creditors in similar fashion.

                                MONEY HAD AND RECEIVED

214.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

215.   Pleading additionally, or in the alternative, Plaintiff would show that Defendants

hold money which in equity and good conscience belongs to Plaintiff and seeks to recover

that money in this suit.

                                          CONSPIRACY

216.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

217.   Pleading additionally, or in the alternative, Plaintiff would show that each

Defendant was a member of a combination of two or more persons, the object of which

was to accomplish an unlawful purpose, or a lawful purpose by unlawful means, the

                                              128
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 129 of 146




members had a meeting of the minds on the object or course of action, one of the members

committed an unlawful, overt act to further the object or course of action, and the Plaintiff

suffered injury as a proximate result of the wrongful act.

                                   AIDING AND ABETTING

218.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

219.   Pleading additionally, or in the alternative, Plaintiff would show, the primary actors

committed torts, the Defendants had knowledge that the primary actor’s conduct

constituted a tort, the Defendants had the intent to assist the primary actor in committing

the tort, the Defendants gave the primary actor assistance or encouragement, and the

Defendants’ assistance or encouragement was a substantial factor in causing the tort.

                                  FRAUDULENT TRANSFER

220.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

221.   Pleading additionally, or in the alternative, Plaintiff would show, unbeknownst to

Plaintiff, Defendants purportedly conveyed the collateral for Defendants’ loan and Deed of

Trust numerous times, in an effort to defraud, delay, and hinder Defendants from recovery

of the Mortgaged Property. Such transfer was to an insider, Defendants retained control

over the property after the transfer, Defendants were indebted to Plaintiff at the time of the

transfer, the transfer was of substantially all of Defendants’ assets, and Defendant was or




                                             129
    Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 130 of 146




became insolvent as a result of the transfer. Defendants were aware that Defendant borrowers

were insolvent at the time the transfer was made.

                              PRINCIPAL-AGENT LIABILITY

222.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

223.   Pleading additionally, or in the alternative, Plaintiff would show that Defendants

were acting as agent for each other in making representations and signing agreements with

Plaintiff.

              TEXAS CIVIL PRACTICE & REMEDIES CODE § 12.002

224.   Defendants filed in Harris County, Texas, fraudulent court documents, a fraudulent

lien release, numerous fraudulent deeds and lis pendens, and/or a fraudulent claim against

real property situated in Harris County, Texas, with the intent that the documents or other

records fraudulently signed would be relied upon to evidence a valid claim against real

property by Defendants and with the intent to cause Plaintiff to suffer physical injury,

financial injury, mental anguish, and emotional distress. Plaintiff seeks $10,000.00 or

actual damages if greater for each such violation and all costs, fees, exemplary and

punitive damages as allowed by Texas Civil Practice & Remedies Code §12.001, et. seq.

Pursuant to Texas Civil Practice & Remedies Code 12.002(b), “[a] person who violates [§

12.002(a)] is liable to each injured person for (1) the greater of: (A) $10,000; or (B) the

actual damages caused by the violation; (2) court costs; (3) reasonable attorney's fees; and

(4) exemplary damages in an amount determined by the court.



                                            130
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 131 of 146




                   PIERCING THE CORPORATE AND LLC VEIL

225.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

226.   In the instant case, and pursuant to Section 101.002 of the Texas Business

Organizations Code, the corporate form of all of the Yale Criminal Enterprise entities

should be disregarded as the forms were used as a sham to perpetrate fraud, and the limited

liability companies were organized and operated as a mere tool or business conduit of

another (“alter ego”). In addition, all members of the Yale Criminal Enterprise are jointly

and severally liable for the acts of 2017 Yale Development, LLC, including the Final

Judgment in favor of the Steadfast Parties and all costs of suit and other present liabilities

of Fugedi and 2017 Yale Development, LLC. Every single one of the Defendant entities

was never used for anything other than as vehicles to perpetrate fraud.




              VIOLATION OF THE TEXAS THEFT LIABILITY ACT,
                         T.C.P.A. 134.001 ET SEQ.


227.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

228.   All members of the Yale Criminal Enterprise took cash, claims, and wrongful

interests in title to Steadfast’s collateral without Steadfast’s knowledge or effective

                                             131
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 132 of 146




consent, misappropriating Plaintiff’s property. The Yale Criminal Enterprise acted with

the intent to deprive Steadfast of exclusive possession, custody and control. As a direct

and proximate result of the Yale Criminal Enterprise’s misappropriation of Steadfast’s

property, Steadfast has suffered and continues to suffer damages in excess of thirteen

million dollars, with the exact amount to be proven at trial. As a direct and proximate

result of the Yale Criminal Enterprise’s theft of Steadfast’s property, Plaintiff is entitled

to recover its court costs and reasonable and necessary attorneys’ fees pursuant to TEX.

CIV. PRAC. & REM. CODE § 134.005(b), together with punitive, statutory damages,

interest, costs, and attorney’s fees, as also plead generally for all causes of action.



                                  VII.
               APPLICATION FOR APPOINTMENT OF RECEIVER

229.   Plaintiff re-alleges and by reference incorporate all allegations in the preceding

paragraphs.

230.   The Steadfast Parties seek the appointment of a receiver for all of the Defendant

entities, including but not limited to 2017 Yale Development, LLC, 2017 Yale Development

GP, LLC, Pabeshan, LLC, KAVAC Holdings, LLC, Carb Pura Vida, LLC, the Carb Pura

Vida Trust, Pabeshan Castle, LLC, Jetall Companies, Inc., BDFI, LLC, Cityscape, Transact

Title, and Assurance Home Warranty, and the Law Offices of the Yale Conspirator Attorneys.

Said Parties abused their legal forms and standing and used them as vehicles to defraud

Steadfast, the Courts, and the Public. It appears that Defendant entities have never been used

for anything other than fraud. See e.g. Exhibit 99, 184.         These Conspirators have all


                                              132
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 133 of 146




committed fraud on the Courts, filed fraudulent evidence, withheld evidence from discovery,

and used their existence to perpetrate fraud. The Steadfast Parties will, in all reasonable

probability, prevail in the underlying action. V.T.C.A. Civil Practice & Remedies Code

Section 64.001 et seq.     The non-exempt property is in danger of being lost, removed,

damaged, or materially injured, as evidenced by Defendants’ improper conveyance of the

Mortgaged Property in this case and in many other instances of similar schemes against other

lenders. A receiver is required to protect and preserve the Non-Exempt Property during the

pendency of this suit, and to protect the interest of the Steadfast Parties in the Non-Exempt

Property.   The Steadfast Parties request that a receiver be appointed and given powers

pursuant to Civil Practice & Remedies Code §§ 31.002, 64.031 et seq., 28 U.S.C. § 1292,

Federal Rule of Civil Procedure 66.

                                     VIII.
                             DECLARATORY JUDGMENT

231.   All of the Yale Criminal Enterprise used 2017 Yale to perpetrate a fraud, and

Choudhri, Parker, Kelley, and Fraga in particular used that entity to defraud Steadfast and the

Courts. Plaintiff seeks declaratory judgment that Defendants Choudhri, Parker, Fraga and

Kelley personally caused the loan default by 2017 Yale Development, LLC, through their

personal acts of fraud and use of the entity for fraud, and that they are therefore immediately

personally jointly and severally liable for Steadfast’s existing Final Judgment against 2017

Yale Development, LLC. Plaintiff requests declaratory judgment that the supersedeas bond

affidavits were fraudulent and perjurious. Plaintiff requests declaratory judgment that 2017




                                             133
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 134 of 146




Yale lacked standing to appeal as a corporate fiction, and that the entity was used solely to

perpetrate fraud upon the Judgment creditors in that suit.

232.    Plaintiff requests declaratory judgment adjudicating that Nicholas Fugedi was never

acting as a trustee; that the Carb Pura Vida Trust never existed; that Carb Pura Vida, LLC

was a fraudulent entity created and existing solely to perpetrate fraud and that it has no right,

title or interest in 829 Yale street property or any trust assets; that Fugedi’s acquisition of any

right, title, or interest in the property at 829 Yale was ineffective and fraudulent; that all of

the instruments recorded by or on behalf of 2017 Yale Development, LLC, Nicholas Fugedi

in any capacity, or the Carb Pura Vida Trust in any capacity, are void, as procured by fraud,

including all lis pendens, deeds, correction deeds, affidavits, or other instruments filed by the

Yale Criminal Enterprise; that all pleadings of any member of the Yale Criminal Enterprise

in any Court, which arise from 829 Yale, or 2017 Yale Development, LLC, or the Carb Pura

Vida Trust or any trustee, settlor, or beneficiary, or Jetall Companies, Inc., or Transact Title,

or relate in any way to the property known as 829 Yale Street were frivolous, founded upon

perjured testimony and affidavits, and fraudulent instruments.

233.    Texas law provides three broad theories or circumstances under which corporate

existence can be disregarded and shareholders, members, managers, or others abusing the

entity structure are held personally liable for corporate or limited liability company debts and

obligations88:


88
  S.E.C. v. Resource Development Intern., LLC, 487 F.3d 295 (5th Cir. 2007) (applying Texas law); Fidelity & Deposit
Co. of Maryland v. Commercial Cas. Consultants, Inc., 976 F.2d 272 (5th Cir. 1992) (applying Texas law; decided
under the Business Corporation Act); In re Arnette, 454 B.R. 663 (Bankr. N.D. Tex. 2011) (applying Texas law);
Durham v. Accardi, 587 S.W.3d 179 (Tex.. App.--Houston [14th Dist.] 2019).


                                                       134
       Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 135 of 146




                    • the entity as the alter ego of its shareholders or members;

                    • the entity is used for an illegal purpose; or

                    • the entity is used as a sham to perpetuate a fraud.

234.       Courts disregard the corporate or entity fiction in tort cases: (1) when the fiction is

used as a means of perpetrating fraud, (2) where a corporation is organized and operated as a

mere tool or business conduit of another, (3) where the corporate fiction is resorted to as a

means of evading an existing legal obligation, (4) where the corporate fiction is employed to

achieve or perpetrate a monopoly, (5) where the corporate fiction is used to circumvent a

statute, and (6) where the corporate fiction is relied upon as a protection of crime or to justify

wrong.89 Inadequate capitalization is another basis for disregarding the corporate fiction. 90

Obviously, all of the Defendant entities fit the very textbook definition of entities that must

be disregarded.

235.       Disregard of the corporate fiction is an equitable doctrine to which Texas takes a

flexible fact-specific approach focusing on equity.91 The underlying purpose of corporate

disregard generally is to prevent use of the corporate identity as a cloak for fraud or illegality

or to work an injustice. Id. These principles all apply to 2017 Yale Development, LLC in this




89
  SSP Partners v. Gladstrong Investments (USA) Corp., 275 S.W.3d 444 (Tex. 2008); Wilson v. Davis, 305 S.W.3d
57 (Tex. App.--Houston [1st Dist.] 2009) (decided under the Business Corporation Act); Carlson Mfg., Inc. v. Smith,
179 S.W.3d 688 (Tex. App.--Beaumont 2005) (decided under the Business Corporation Act).
90
     In re Ryan, 443 B.R. 395 (Bankr. N.D. Tex. 2010) (applying Texas law).
91
   Wilson v. Davis, 305 S.W.3d 57 (Tex. App. Houston 1st Dist. 2009) (decided under the Business Corporation Act).
R&M Mixed Beverage Consultants, Inc. v. Safe Harbor Benefits, Inc., 578 S.W.3d 218 (Tex. App.--El Paso 2019);
Richard Nugent and CAO, Inc. v. Estate of Ellickson, 543 S.W.3d 243 (Tex. App.--Houston [14th Dist.] 2018);
Freeman v. Harleton Oil & Gas, Inc., 528 S.W.3d 708 (Tex. App.--Texarkana 2017), review denied, (Sept. 28, 2018).


                                                        135
     Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 136 of 146




instance.92

                                         IX.
                          CONDITIONS PRECEDENT AND DAMAGES

236.     All conditions precedent to Plaintiff’s claims for relief have been performed or have

occurred. As a result of Defendants’ aforementioned actions and misconduct, Plaintiff has

suffered damages in excess of the minimum jurisdictional limits of this Court. Defendants’

conduct has directly resulted in the damages to Plaintiff described in this Petition. Further,

Plaintiff has been forced to retain counsel and seeks recovery of reasonable attorney’s fees

pursuant to Civil Practice Remedies Code § 37 and 38 et seq., RICO, the Texas statutory

regime set forth above, and otherwise as allowed at law or in equity and as otherwise plead

for herein.


92
   See, e.g., McCarthy v. Wani Venture, A.S., 251 S.W.3d 573, 590–91 (Tex. App. 2007). Texas courts and other
jurisdictions have applied to LLCs the same state law principles for piercing the corporate veil that they have applied
to corporations. See e.g., Pinebrook Props., Ltd. v. Brookhaven Lake Prop. Owners' Ass'n, 77 S.W.3d 487, 499
(Tex.App.--Texarkana 2002, pet. denied) (applying corporate alter ego veil piercing precedent in analyzing plaintiff's
attempts to pierce veil of LLC); In re Secs. Inv. Prot. Corp. v. R.D. Kushnir & Co., 274 B.R. 768, 775–76
(Bankr.N.D.Ill.2002) (concluding that nothing in statute bars piercing LLC veil on other grounds applicable to
corporations); Hamilton v. AAI Ventures, L.L.C., 768 So.2d 298, 302 (La.App.2000) (applying corporate veil piercing
principles in upholding trial court's piercing of LLC veil to hold member liable); Kaycee Land & Livestock v. Flahive,
46 P.3d 323, 327 (Wyo.2002) (holding that, while Wyoming LLC Act was silent as to veil piercing, there was no
policy or legal reason to treat LLCs different from corporations in this regard; when LLC has caused damage and has
inadequate capitalization, co-mingled funds, diverted assets, or used LLC as a mere shell, individual members are
immune from liability. Legislative silence cannot be stretched to condone such an illogical result.). Texas courts have
disregarded the corporate fiction and pierced the corporate veil when the corporate form has been used as part of an
unfair device to achieve an inequitable result. See Castleberry v. Branscum, 721 S.W.2d 270, 272 (Tex.1986),
superseded in part by statute, TEX. BUS. CORP. ACT ANN. ART. 2.21(Vernon Supp.2005). Specifically, courts have
disregarded the corporate form when it is used as a sham for perpetrating a fraud. Id. In re Giampietro (AE Rest.
Assocs., LLC v. Giampietro), 317 B.R. 841, 848 n.10 (Bankr. D. Nev. 2004); Kaycee Land and Livestock v. Flahive,
46 P.3d 323, 328 (Wyo. 2002); D.R. Horton Inc.-N.J. v. Dynastar Dev., L.L.C., No. MER-L-1808-00, 2005 WL
1939778, at *33-36 (N.J. Super. L. Aug. 10, 2005). Pinebrook Prop., Ltd v. Brookhaven Lake Prop. Owners Ass’n,
77 S.W.3d 487 (Tex. App.--Texarkana 2002, pet. denied). McCarthy v. Wani Ventures, A.S., 251 S.W.3d 573 (Tex.
App.--Houston [1st Dist.] 2007, pet. denied). 376 B.R. 500 (Bankr. N.D. Tex. 2007). See also In re Moore (Cadle Co.
v. Brunswick Homes, LLC), 379 B.R. 284 (Bankr. N.D. Tex. 2007) (applying corporate reverse veil piercing principles
to Texas LLC and stating that whether an entity is a corporation or an LLC is a “distinction without a difference” for
purposes of veil piercing); Arsenault v. Orthopedics Specialist of Texarkana, No. 06-07-00022-CV, 2007 WL 3353730
(Tex. App.--Texarkana Nov. 14, 2007). Bankruptcy No. 05-95161-H4-7, Adversary No. 06-03415, 2008 WL 2754526
(Bankr. S.D. Tex. Jul. 10, 2008) (mem. op.).


                                                         136
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 137 of 146




                                     X.
                    APPLICATION FOR T.R.O. AND INJUNCTION

237.   Plaintiff, by its attorney, moves this court to issue a temporary restraining order,

pursuant to FED. R. CIV. P. 65(b), without requiring the giving of notice to the Defendant or

its attorneys, restraining and enjoining Defendants, including their officers, agents,

employees, successors, attorneys, and all those in active concert or participation with them,

from filing any further real property records, releases, or other documents affecting title,

condition, or possession of the Property 829 Yale, or any of the personality foreclosed upon

by the Steadfast Parties (See e.g. Exhibit 97), pending a hearing and determination of

Plaintiff's motion for a preliminary injunction. Plaintiff further requests an Order expunging

the fraudulent Lis Pendens filed by Defendants on February 25, 2022, such that the pending

sale of the Collateral, at long last, by Steadfast can proceed. Plaintiff further requests an Order

requiring Defendants and counsel from filing any further frivolous or dilatory pleadings in

any court related to the Yale Criminal Enterprise.

238.   Plaintiff further requests temporary and permanent orders in the form of Exhibit 98,

and requiring immediate production of all documents related in any way to the Yale Criminal

Enterprise and/or the property at 829 Yale Street. This includes all communications with

Jermayne Mack, the City of Houston, CBRE, or anyone any member of the Yale Criminal

Enterprise ever communicated with regarding the property at 829 Yale, or among the Yale

Criminal Enterprise.




                                               137
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 138 of 146




239.     This Property is unique and is suffering severe and urgent dilapidation due to the Yale

Criminal Enterprise. There is a substantial likelihood that Steadfast will prevail on the merits,

given that Plaintiff has already proven its entire case by judicial admissions.

240.     Unless this Motion is granted, Plaintiff will suffer immediate and irreparable injury,

loss, and damage if Defendants, who never paid a dime for this property or to repay the loans,

are permitted to continue tortiously interfering with title to the collateral, until a hearing can

be had on Plaintiff's motion for a preliminary injunction, as more fully set forth in herein in

Plaintiff's verified complaint and the evidence attached. To show a likelihood of prevailing

on the merits, the party requesting injunctive relief must generally present a prima facie case

but need not show a certainty of winning. Janvey v. Alguire, 647 F.3d 585, 595-96 (5th Cir.

2011).

241.     TEX. CIV. PRAC. & REM. CODE ANN. § 65.011(5) provides that an injunction may be

granted if irreparable injury to real or personal property is threatened, irrespective of any

remedy at law. Graff v. Berry, No. 06-06-00065, 2006 Tex. App. (Tex. App.—Texarkana

Oct. 3, 2006). An applicant for temporary injunction must plead and prove four elements: “(1)

a substantial likelihood of success on the merits, (2) a substantial threat of irreparable injury

if the injunction is not issued, (3) that the threatened injury if the injunction is denied

outweighs any harm that will result if the injunction is granted, and (4) that the grant of an

injunction will not disserve the public interest.” Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir.

2011); Nichols v. Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008). Element 1 - Likelihood

of success on the merits. When ownership of real estate is at issue, existence of a cause of

action for damages is no basis for denying equitable relief such as a temporary injunction.

                                               138
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 139 of 146




Perales v. Riviera, No. 13-03-002-CV, 2003 Tex. App. (Tex. App.—Corpus Christi July 24,

2003). See substitute trustees’ deed and quiet title final judgment (Exhibit 97, 89 - showing

probable right to the property or to quiet title). (a) plaintiff is not required to prove it will

prevail at the final trial but need only show evidence tending to prove a probable right to

recovery and a probable injury if the injunction is not granted. Sun Oil Co. v. Whitaker, 424

S.W.2d 216, 218 (Tex. 1968); Transport Co. of Texas v. Robertson Transports, Inc., 261

S.W.2d 549, 552 (Tex. 1953).         Element 2 - Substantial threat of irreparable injury.

“Irreparable injury” is injury for which money damages cannot adequately compensate.

Wilson v. Whitaker, 353 S.W.2d 945 (Tex. Civ. App.—Houston 1962, no writ). Every piece

of real estate is unique, and if foreclosure is allowed before a full determination of the

underlying claims, a party would be irreparably harmed. Perales v. Riviera, No. 13-03-002-

CV, 2003 Tex. App. (Tex. App.—Corpus Christi July 24, 2003). The Yale Criminal

Enterprise has caused the property to dilapidate for years, and the property is at risk of

becoming a worthless liability if it is forced to sit unsold and undeveloped any longer by the

Criminal Enterprise. Plaintiff has the property under contract, finally. Defendants’ actions

have disrupted every prior attempt at sale, and are actively attempting to disrupt this sale, due

to close on March 28, 2022. Exhibit 170.

242.   Where plaintiff may lose or be unable to develop or sell his unique property there is a

substantial threat of irreparable harm. Element 3 - Probable injury in the interim outweighs

harm of granting TRO. The test for determining if an existing remedy is adequate (whether

the injury would be repairable) is whether it is as complete and as efficient as is equitable

relief. Perales v. Riviera, No. 13-03-002- CV, 2003 Tex. App. (Tex. App.--Corpus Christi

                                              139
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 140 of 146




July 24, 2003). The Yale Criminal Enterprise is infamous for failing to honor settlement

agreements, judgments, arbitration awards, and other Court actions, and the prospect of future

monetary remedies will not adequately protect Plaintiff.

243.   The threatened injury to Steadfast outweighs any possible damage to the Yale

Criminal Enterprise or any Defendant. No one in the Yale Criminal Enterprise ever spent a

cent on the property or the loan, and never used any money other than the money they stole

from Plaintiff. Steadfast has lost over thirteen million dollars they rightfully expected to be

secured by the property at 829 Yale, but for the fraud by the Criminal Enterprise. Defendants

can suffer no possible damages from granting the T.R.O. None of them has ever had any

interest in the property other than that procured by fraud, clearly and irrefutably proven by

judicial admission at this point.

244.   Element 4 - Granting injunction will not disserve the public interest. For the above

stated reasons, granting a TRO against further fraudulent interference with the collateral,

pending claims by Plaintiff as owner of this property, is appropriate and will not disserve the

public interest. The public interest is served by an injunction as fraud and theft should not be

rewarded, the filing of fake documents in the real property records should not be allowed to

obstruct justice, and the Courts of the United States and the State of Texas should not be

deliberately used as tools by criminals to perpetrate their fraudulent schemes. This property

is sitting as a blight on the City of Houston due to Defendants. No lender or developer has

been willing to loan sufficient funds, or purchase the property for its true market value, or

otherwise touch this property due to Defendants. The current sale is below market value,

pricing in the risk of Defendants’ fraudulent litigation, but must be consummated due to the

                                              140
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 141 of 146




extreme delay and dilapidation caused by years of neglect caused by Defendants. Exhibit

170.

245.   The injunctive relief requested is further specifically authorized by Texas Civil

Practice & Remedies Code Chapters 123, 134A, and 143. To warrant a TRO and temporary

injunction, Plaintiff needs only show a probable right to permanent relief and a probable

injury while the action is pending unless the injunction is issued. See Rugen v. Interactive

Business Systems, 864 S.W.2d 548, 551 (Tex. App.—Dallas 1993, no writ) (citing Sun Oil

Co. v. Whitaker, 424 S.W.2d 216, 218 (Tex. 1968)). The facts outlined in the preceding

paragraphs, as well as in the Affidavits of Marc Sherrin, attached hereto and incorporated

herein as Exhibit “170” will show that the Plaintiff will suffer immediate and irreparable

harm if the TRO is not issued.

246.   Plaintiff has already won all of the underlying contractual note default and title

claims and has proven all causes of action asserted herein by judicially admitted evidence.

There is likelihood of success as a matter of law.

247.   Defendants are sham vexatious litigants without assets. Defendants have already

attempted to fraudulently transfer or interfere with title to the collateral, on numerous

occasions, and attempted to fraudulently create a tax lien in front of Plaintiff, both in

violation of other Court orders, for the sole purpose of denuding Plaintiff’s recovery of the

money lent to Defendants and stolen by them. Defendants have threatened to destroy the

value of the collateral under oath, supra.

248.   Plaintiff requests that this Court immediately enter a TRO and Temporary and

Permanent Injunction enjoining Defendants, all entities subject to their control or right of

                                             141
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 142 of 146




control, and those with actual notice of the Order from:

       1.      Engaging in any activity calculated to impact any lien or title to the
Collateral, or take any action with respect to the Collateral, being the Real Property at 829
Yale as described above, together with all documents, permits, or other rights listed as
Collateral in the Loan Documents.

     2.     Entering into or participating in any way with any conveyance, loan,
encumbrance, lease, or other legal transaction associated with the Collateral or the Loan
Documents.

      3.      Taking any physical action with respect to the Collateral or entering the
Property.

      4.     Physically entering or altering, removing, destroying, or otherwise
modifying or affecting the Collateral.

       5.     Locking, or otherwise impacting Plaintiff’s full and immediate access to the
Collateral.

       6.     Physically interacting, confronting, touching, or approaching Plaintiff or any
representative, agent, broker, attorney, security guard, employee, lender, or any affiliate.

       7.      Representing to any entity that they have any affiliation with, ownership,
right of control, or control over the Collateral.

       8.    Communicating with anyone in any way related to Plaintiff or the property
at 829 Yale.

       9.      The Lis Pendens filed on February 25, 2022, at RP-2022-102975 is hereby
EXPUNGED and/or that Nicholas Fugedi shall immediately file a release of said
fraudulent lis pendens in form acceptable to Plaintiff.

       10.     Defendants must turn over for inspection and review all personal and
business computers, laptops, external hard drives, flash drives, external devices, cloud
based applications, services or resources, and phones for forensic review by a computer
forensic expert of Plaintiff’s choosing; specifically, Lloyd Kelley must further immediately
turn over all paper and electronic files and contents of all Storage Units, home, and office
                                            142
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 143 of 146




to the Receiver Appointed herein, such contents to remain privileged and confidential only
to the extent that Mr. Kelley proves that he has an actual, non-sham client with legitimate
privileges in a separate show cause hearing; and

       Further, that all Defendants herein shall:

       11. Immediately notify any entity of whom they have personal knowledge of any
relationship to any Party or the Collateral of the entry of this Order.

        12.     Immediately, within 48 hours of the date of this Order, produce to the
Plaintiff by and through its counsel of record all information in any format, including but
not limited to documents, communications, texts, emails, voicemails, or other
communications, drafts, final documents, and the entire final file associated with the
property, any party to any of the litigation, any judge or clerk, and any communications or
information of any kind among the parties hereto or any Defendant; including but not
limited to the conveyance to Carb Pure Vida Trust, together with all documents in their
possession evidencing all persons with any interest or obligation to such Trust and any of
its affiliates. Further, such production shall include all information related in any way to
829 Yale Street, or any transaction, loan, or interest related to such Property, including all
bank records reflecting any payment related in any way to the litigation associated with
such Collateral, to the Collateral itself, or to any transaction related in any way to the
Collateral.

       13.    Plaintiff herein and its authorized agents shall be entitled to full access to the
Collateral and to cut any locks or other physical devices obstructing their access.

       14.    That Defendants be required to post a bond of not less than Thirteen Million
Dollars prior to engaging in any further pleadings or litigation affecting the Collateral, in
any forum, as their obligation to indemnify and defend Plaintiff has gone unfulfilled by
fraudulent and sham entities, forced Plaintiff to already wrongfully incur over Two Million
Dollars in legal fees dealing with their frivolous and vexatious litigation tactics, and caused
millions of dollars of diminution in value to the Collateral by the delay their fraudulent and
vexatious conduct has caused.

       15.     Any additional relief this Court deems equitable and just.

       All such production shall be made electronically to Notice@RBlegalgroup.com, as

well as delivered to the office at 215 S. 4th Street, Wallis Texas 77485 during normal

                                              143
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 144 of 146




business hours and in communication with Plaintiff’s counsel, or as otherwise arranged

with Counsel for Plaintiff and agreed upon in writing in advance.

249.   Plaintiff will imminently suffer irreparable injury should the requested relief not be

granted, as set forth herein. Plaintiff is ready, willing and able to post a bond to secure its

requested injunctive relief; however, Plaintiff would argue that no such bond would be

proper as there is no prejudice to Defendants in any manner arising from the requested

relief. The bond amount is within the discretion of the Court and may properly be set at

zero. Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996). In the alternative,

Plaintiff would request that the bond be de minimus as there is no harm to Defendants by

requiring them to comply with basic legal and equitable obligations without such bond.

The Plaintiff has already been adjudicated to have and possess and hold all notes and

possess all rights in and to the Collateral and Property at 829 Yale arising under the Loan

Documents, pending foreclosure sale.       Following an evidentiary hearing with notice to

Defendants, the Court should enter a temporary injunction and permanent injunction

extending the restrictions provided in the temporary restraining order permanently.

                                        XI.
                                ADDITIONAL DAMAGES

250.   Plaintiff further specifically pleads that it is entitled to punitive damages, in addition

to actual, consequential, statutory damages, attorney’s fees, costs, expenses, and pre-and

post-judgment interest. The limitation on amount of recovery of punitive damages as set

out by § 41.008 of the Texas Civil Practice & Remedies Code does not apply to the cause

of action pled by Plaintiff in that forgery and fraud is specifically exempted from any


                                              144
   Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 145 of 146




limitation on recovery of punitive damages. Since the subject documents are fraudulent,

contain forged signatures and/or forged notary public signatures, there is no cap on punitive

damages. Plaintiff seeks pre-judgment and post-judgment interest as allowed by law.



                                           XII.
                                         PRAYER

251.   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court enter

judgment in their favor and against Defendants and that Defendants have judgment of and

against them for the following relief:

       1. That the Court Issue a Temporary Restraining Order as set forth herein, and after
          notice and a hearing, a temporary and permanent injunction as plead for herein;

       2. All actual, compensatory, and consequential damages of Plaintiff proven and
          supported by the Pleadings;

       3. All punitive, statutory and exemplary damages and remedies against Defendants
          proven and supported by the Pleadings;

       4. Awarding an order of disgorgement against Defendants;

       5. Prejudgment and post judgment interest as provided by law;

       6. Attorney's fees;

       7. Costs of suit;

       8. Appointment of a Receiver as set forth herein;

       9. Declaratory Judgment as set forth herein.

       10. Such other and further relief at law or in equity to which Plaintiff may be justly
          entitled.




                                            145
Case 4:22-cv-00905 Document 1 Filed on 03/20/22 in TXSD Page 146 of 146




                                Respectfully submitted,

                                RB LEGAL GROUP, PLLC

                                /s/ Christopher Ramey
                                _____________________________
                                Christopher Ramey
                                FBN: 2506
                                SBN: 00791480
                                215 S. 4th Street
                                Wallis, TX 77485
                                713/974-1333 (Telephone)
                                713/974-5333 (Facsimile)
                                Ramey@RBLegalGroup.com
                                Notice@RBLegalGroup.com

                                COUNSEL FOR PLAINTIFF

                                DESIGNATED E-SERVICE EMAIL ADDRESS
                                The following is the undersigned attorney’s
                                designated e-service email address for all eserved
                                documents and notices, filed and unfiled,
                                pursuant to Tex. R. Civ. P. 21(f)(2) & 21(a):
                                NOTICE@RBLEGALGROUP.COM. This is the
                                undersigned’s only e-service email address, and
                                service through any other email address will be
                                considered invalid.




                                  146
